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                             EXHIBIT B

                              Affidavit

                  Dr. S. Deborah Kang

                    December 22, 2021
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                                               Affidavit

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                                        December 22, 2021


Introduction

        I have been asked to research the legislative history of 8. U.S.C. 1326 and address the

question of whether racial animus motivated the passage of the original law and its subsequent

amendments. This affidavit provides a report of my findings, which are based on the relevant

historical scholarship, the events leading to the legislation, and legislative history. 1 In sum, the

Undesirable Aliens Act of 1929 and its amendments under the McCarran-Walter Act of 1952,

the Anti-Drug Abuse Act of 1988 (ADAA), the Immigration Act of 1990, the Violent Crime

Control and Law Enforcement Act of 1994 (VCCLEA), the Antiterrorism and Effective Death

Penalty Act of 1996 (AEDPA), and the Illegal Immigration Reform and Immigrant

Responsibility Act of 1996 (IIRIRA) were enacted with a discriminatory purpose. Whereas anti-

Mexican racism informed the passage of the Undesirable Aliens Act and its 1952 revision, a

combination of anti-Haitian and anti-Hispanic racism drove the enactment of the subsequent

amendments in 1988, 1990, 1994, and 1996. Part I focuses on the first two acts while Part II

supplies a history of the re-enactments under the 1988 and 1990 Acts. Part III discusses the

changes made to §1326 under the VCCLEA and AEDPA and Part IV addresses those rendered

by IIRIRA.




1
 Village of Arlington Heights v. Metropolitan Housing Development Corporation, 429 U.S. at 265
(1977).
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Part I: The Undesirable Aliens Act (1929) and the McCarran-Walter Act (1952)

Historical Background and Legislative History

        For more than a century, anti-Mexican racism has been a driving factor in the shaping of

America’s citizenship and immigration policies. Since the signing of the Treaty of Guadalupe

Hidalgo in 1848, racial animus led many Americans to harbor deep reservations about the fitness

of ethnic Mexicans for United States citizenship. 2 Thus, despite the promises of citizenship and

equal protection guaranteed by the Treaty and the Constitution, widespread racial discrimination

and racial violence prevented ethnic Mexicans from the full enjoyment of their political,

economic, and social rights. 3 Anti-Mexican racism also tainted nearly every immigration policy

pertaining to ethnic Mexicans, including admissions, deportation, enforcement, legalization, and

criminal prosecution under measures such as the Undesirable Aliens Act. From the late

nineteenth century to the present, the racist assumptions underlying the nation’s immigration

laws conveyed the perennial message that ethnic Mexicans did not belong and that they were

unfit for citizenship.

        In the early twentieth century, anti-Mexican racism took a new form. Whereas earlier

articulations of these sentiments denigrated the lifestyles of the Californios, Hispanos, and

Tejanos (former subjects of Mexico who became US citizens or legal permanent residents under

the Treaty), by the early twentieth century, a different form of xenophobia emerged in response

to the migration of 1.5 million Mexicans between 1910 and 1920. 4 In particular, American



2
  David G. Gutiérrez, Walls and Mirrors: Mexican Americans, Mexican Immigrants, and the Politics of
Ethnicity (Berkeley: University of California Press, 1995).
3
  Neil Foley, The White Scourge: Mexicans, Blacks, and Poor Whites in Texas Cotton Culture (Berkeley:
University of California Press, 1999); Monica Munoz Martinez, The Injustice Never Leaves You: Anti-
Mexican Violence in Texas (Cambridge: Harvard University Press, 2018).
4
  David Lorey, The U.S.-Mexican Border in the Twentieth Century (New York: Rowman and Littlefield),
69.


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industries, especially southwestern agribusiness, created and perpetuated a negative stereotype of

the new arrivals as a cheap, exploitable, and deportable labor force. In so doing, they relied upon

the ideas of contemporary eugenicists who argued that Mexican migrants were mentally and

morally inferior to European immigrants. 5 These qualities, they further claimed, made Mexicans

the ideal work force, particularly for the corporate farms that began to proliferate throughout the

American Southwest. As historian Lawrence Cardoso writes, the farmers

        claimed that the braceros' physical and mental makeup ideally suited them for manual
        labor. The hot climate of Mexico and the demanding tasks of hacienda labor had
        conditioned them to withstand high temperatures and carry out stoop labor. This being
        the case, the 'betters' of society, the whites, were allowed to pursue occupations more
        appropriate to their superior station in life. 6

Growers further asserted that this work force would be a submissive one; they claimed that

"braceros were a unique docile group of people, denuded of ambition and complacent with their

status in life as a result of centuries of servitude and brutal exploitation on the haciendas." 7

Eugenicist ideas also led American employers to believe that nature or biology had rendered

Mexican migrants “birds of passage.” In other words, their so-called biological instincts made it

impossible for Mexicans to settle in one locale for long periods of time; as a result, it was alleged

that Mexicans would never want to remain in the United States as permanent residents and, in

turn, pursue American citizenship.

        Southwestern agribusiness organizations and their congressional representatives

employed these racist stereotypes in lobbying for immigration policies in the early twentieth

century. Most prominently, until 1965, they successfully defeated the efforts of other



5
  Daniel J. Tichenor, Dividing Lines: The Politics of Immigration Control in America (Princeton:
Princeton University Press, 2002), Kindle Loc. 226-262.
6
  Lawrence A. Cardoso, Mexican Emigration to the United States,1897-1931 (Tucson: University of
Arizona Press, 1980), 125 (paraphrasing statements of farmers interviewed by Paul S. Taylor).
7
  Cardoso, Mexican Emigration to the United States, 124.


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congressional lawmakers who, while like-minded in their racist antipathy toward Mexican

migrants, wanted to establish an explicit ban against the entry of Mexican nationals into the

United States. Their victory hinged on their repeated reassurances that Mexican nationals would

never remain in the country and thereby threaten the nation’s so-called racial stock. Others added

that if Mexican nationals chose to remain, their removal, unlike the deportation of unwanted

Chinese and European migrants, would be relatively easy given the proximity of Mexico to the

United States. 8 Indeed, by agreeing to the creation of an immigration Border Patrol in 1924 and

the Undesirable Aliens Act, which established the first criminal penalties for the acts of illegal

entry and re-entry, they demonstrated that their commitment to the elimination of unwanted

Mexicans was not merely symbolic. 9 In addition to placating their opponents, these measures

also served agribusiness interests by providing them with a state-financed mechanism to manage

their workforce or, more concretely, to detain and/or deport their Mexican employees when they

were no longer needed at the end of the harvest season. In short, by 1929, anti-Mexican

stereotypes drove the creation of immigration policies that limited their access to permanent

residence and citizenship and consigned ethnic Mexicans to a perpetual cycle of welcome and

return.

          By the early 1930s, the Great Depression triggered another shift in anti-Mexican

sentiment by hardening the association between an ethnic Mexican identity and undocumented

immigration; as historian Mae Ngai writes, Mexican immigrants became the nation’s iconic



8
 Tichenor, Dividing Lines, Kindle Loc. 228, 252-254.
9
 For an extended discussion of the racial animus that motivated the passage of the Undesirable Aliens
Act, see Brief for Professors Kelly Lytle Hernández, Mae Ngai, and Ingrid Eagly as Amici Curiae
Supporting Respondent, United States of America v. Refugio Palomar-Santiago,
https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/20-437.html; Eric
S. Fish, “Race, History and Immigration Crimes,” Iowa Law Review, forthcoming, available at SSRN:
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3827488.


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illegal alien. 10 Although anti-Mexican forces pronounced that Mexican migrants would never

stay in the United States, they ultimately did settle throughout the country, building families,

livelihoods, and communities. 11 Yet, in the Depression era, these communities became a source

of resentment among nativists who sought a scapegoat for the economic crisis. Wrongly blamed

for taking the jobs of native-born Americans and consuming an unfair share of welfare benefits,

the federal government, states, and localities used scare tactics to force undocumented Mexican

immigrants into leaving the United States. 12 These campaigns generated so much fear that

Mexican American citizens and Mexican immigrants, as well as undocumented Mexican

migrants, were driven out of the country; by the end of the decade, it’s estimated that nearly half

a million ethnic Mexicans were forcibly repatriated. 13 On the impact of these removals, historian

Erika Lee writes, “An entire generation of American citizens of Mexican descent were de-

Americanized and exiled to the country of their parents’ birth.” 14

        The federal government further cemented the link between Mexican identity and

illegality through the enforcement of the Undesirable Aliens Act. In the decade following the

law’s passage, “seventy-one percent (71%) of all Mexican federal prisoners [were] charged with


10
   Mae Ngai, Impossible Subjects: Illegal Aliens and the Making of Modern America (Princeton:
Princeton University Press, 2004).
11
   George J. Sanchez, Becoming Mexican American: Ethnicity, Culture, and Identity in Chicano Los
Angeles, 1900-1945 (New York: Oxford University Press, 1995); Kelly Lytle Hernández, City of Inmates:
Conquest, Rebellion, and the Rise of Human Caging in Los Angeles, 1771-1965 (Chapel Hill: University
of North Carolina Press, 2017), 131-32
12
   Abraham Hoffman, Unwanted Mexican Americans: The Great Depression Repatriation Pressures,
1929-1939 (Tucson: University of Arizona Press, 1974); Francisco E. Balderrama and Raymond
Rodríguez, Decade of Betrayal: Mexican Repatriation in the 1930s (Albuquerque: University of New
Mexico Press, 1995); Deirdre Maloney, National Insecurities: Immigrants and U.S. Deportation Policy
Since 1882 (Chapel Hill: University of North Carolina Press, 2012); Cybelle Fox, Three Worlds of
Welfare Relief: Race, Immigration and the American Welfare State, from the Progressive Era to the New
Deal (Princeton: Princeton University Press, 2012); Adam Goodman, The Deportation Machine:
America’s Long History of Expelling Immigrants (Princeton: Princeton University Press, 2020)
13
   Goodman, Deportation Machine, 46.
14
   Erika Lee, America for Americans: A History of Xenophobia in the United States (New York: Basic
Books, 2019), Kindle Loc. 3007.


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immigration crimes.” 15 As historian Kelly Lytle Hernández observes, “no other federal

legislation—not prohibition, not drug laws, and neither laws against prostitution nor the Mann

act—sent more Mexicans to federal prison in those years.” 16 Taken together, the disparate

prosecution of Mexicans under the Undesirable Aliens Act and local, state, and federal removal

campaigns transformed the United States into a “’deportation nation’ that made no distinction

between foreign-born Mexican aliens who had entered the United States without documentation,

lawful residents, naturalized citizens, and American-born citizens of Mexican descent.” 17

       Yet, as World War II loomed on the horizon in the late 1930s, southwestern agribusiness

began to resuscitate old arguments regarding the need for a temporary farm labor work force

from Mexico. 18 Unwilling to pay the wages that would attract a native-born workforce,

southwestern agribusinesses lobbied the government to create what would become the Bracero

Program, a federally-sponsored farm labor program that led to the admission of approximately

4.5 million temporary workers from Mexico between 1942 and 1964. 19 In creating the Bracero

Program, the federal government secured the Mexico’s assent and, through a series of bilateral

treaties, the US pledged that Mexican nationals who signed Bracero contracts would receive a




15
   Declaration of Professor Kelly Lytle Hernández, United States v. Bruno Rios-Montano, 8.
16
   Declaration of Professor Kelly Lytle Hernández, United States v. Bruno Rios-Montano, 8.
17
   Lee, America for Americans, Kindle Loc. 3005.
18
   Mireya Loza, Defiant Bracero: How Migrant Workers Fought for Racial, Sexual, and Political
Freedom (Chapel Hill: University of North Carolina Press, 2016), 34.
19
   Kirstein, Anglo over Bracero, 89; Grover C. Wilmoth, District Director, El Paso to Maurice T. Van
Hecke, Chairman, President's Commission on Migratory Labor, October 29, 1950, file 56302/267, pt. 1,
RG 85, National Archives; Grover C. Wilmoth, District Director, El Paso to Central Office, October 13,
1950, file 56302/267, pt. 1, RG 85, National Archives; Grover C. Wilmoth, "Statement prepared by
Grover C. Wilmoth, District Director, Immigration and Naturalization Service, El Paso District, for the
President's Commission on Migratory Labor, Holding Sessions at El Paso, Texas on August 4 and 5,
1950,” file 56302/267, pt. 1, RG 85, National Archives; Carson Morrow, Chief Patrol Inspector to Grover
C. Wilmoth, District Director, El Paso, October 13, 1950, file 56302/267, pt. 1, RG 85, National
Archives.


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fair minimum wage and humane working and living conditions. 20 In the aftermath of the mass

deportation drives of the 1930s, both nations viewed the Bracero Program as a fresh chapter in

U.S.-Mexico relations, a chapter in which the two nations would act as wartime allies and in

which Mexican national workers would be treated with dignity and respect.

         Yet, these optimistic pronouncements belied the ways in which anti-Mexican racism

shaped the Bracero Program itself. US officials admitted that the pervasive racism faced by

ethnic Mexicans in the United States jeopardized the very signing of the Bracero accords and

their subsequent renewal. 21 George S. Messersmith, the US ambassador to Mexico, expressed

these reservations shortly after the signing of the Bracero agreement, “The question of

discrimination against Mexicans in the United States is one of the few outstanding problems we

have with Mexico.” 22 For its part, Mexico, long cognizant of the anti-Mexican animus in the

United States, sought to protect its nationals by demanding the inclusion of humanitarian

protections in the Bracero accords and banning Texas, where anti-Mexican racism took

particularly violent forms, from the Bracero Program. 23 These efforts, however, failed to shield

Mexican braceros from discrimination. From the onset of the Program, braceros complained



20
   These protections were not observed in practice. S. Deborah Kang, The INS on the Line: Making
Immigration Law on the U.S.-Mexico Border (New York: Oxford University Press, 2017), 134.
21
   Having commissioned multiple studies on the issue of anti-Mexican racism in the late 1930s and 1940s,
federal officials were keenly aware of the discrimination and racism faced by ethnic Mexicans in the
United States. For an account of these studies, see Emilio Zamora, Claiming Rights and Righting Wrongs
in Texas: Mexican Workers and Job Politics During World War II (College Station, Tex.: Texas A & M
Press, 2010), 73-75; 89-93.
22
   Justin Hart, “Making Democracy Safe for the World: Race, Propaganda, and the Transformation of
U.S. Foreign Policy during World War II,” Pacific Historical Review, vol. 72, n. 1 (February 2004):65
(citing George S. Messersmith to the Secretary of State, November 12, 1942, 811.4016 Decimal File,
1940-1944, RG 59, National Archives, College Park, MD). Federal officials were also very concerned
that entrenched anti-Mexican racism would disrupt Roosevelt’s efforts to create hemispheric unity,
especially after the US entered World War II. As the War continued, they feared that Axis powers would
campaign for the hearts and minds of Latin American nations by drawing attention to the anti-Latin
American animus in the United States. Hart, “Making Democracy Safe for the World,” 59, 62.
23
   Zamora, Claiming Rights and Righting Wrongs in Texas, 68-71.


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about “receiving ‘a lower rate of pay for the same work’; on-the-job segregation between

Mexicans and Anglos; separate recreational and toilet facilities; and a glass ceiling that

prevented them from advancing beyond ‘certain low-paying jobs.’” 24 In a widely circulated op-

ed, Sumner Welles, former Under Secretary of State to President Franklin Delano Roosevelt,

excoriated the “poisoning discriminations” faced by bracero workers and equated their

experiences with those of ethnic Mexicans in the United States:

       . . . Mexican children are not permitted in some places to attend the public schools. They
       do not realize that Mexicans are not permitted in certain regions to travel in cars set aside
       for “white persons.” They do not know that in some communities they are not permitted
       entrance into hotels or moving-picture theaters. They would be amazed to learn that only
       recently a high official of the Mexican government was refused service in the restaurant
       of a leading hotel in one of our Southwestern States. They would be shocked to hear that
       the proprietors of a public recreation center announced that they would not permit the
       entrance of Mexicans or persons of Mexican origin, “regardless of their state of culture,
       either social or economic.” They are probably not aware that the slum conditions in
       which many thousands of Mexicans are forced to live in some of our Southwestern States
       are solely due to the unwillingness of the authorities and residents of those communities
       to afford them the same opportunity for betterment afforded their neighbors of United
       States origin. They do not know of the exploitation to which some Mexican laborers have
       been subjected.” 25

Over the twenty-two-year course of the Bracero Program, multiple investigations and complaints

filed by the braceros themselves demonstrated the failure of the Program to protect workers from

workplace abuses and discrimination. 26

       By 1943, the Bracero Program triggered an unprecedented increase in the number of

undocumented entries; over the twenty-two-year course of the Program, approximately five



24
   Hart, “Making Democracy Safe for the World,” (citing Ernest W. Trimble to Lawrence Cramer,
October 26, 1942, 811.4016, Decimal File, 1940-1944, RG 59 NARA; William P. Blocker, “Some Places
Where Mexicans are Discriminated Against in Texas Either by Denying Them Service or by Segregating
Them from Anglo-Americans,” January 15, 1945, in ibid.).
25
   Sumner Welles, “Mexican Nationals: Unfriendly Treatment,” Washington Post, February 16, 1944, 10.
26
   Maggie Elmore, In the Name of the Father: Catholic Bureaucrats and Human Rights in the
Borderlands, Draft book manuscript presented at the Clements Center for Southwest Studies, Southern
Methodist University, Dallas, Texas, December 11, 2021, 63-121.


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million undocumented immigrants would cross the U.S.-Mexico border. By serving as an

indicator of the availability of jobs in the United States, the Bracero Program acted like a

magnet, drawing workers to the country. Yet, the overwhelming demand for Bracero contracts

and the dehumanizing screening process created strong incentives for migrants to pursue

employment outside of the confines of the Bracero Program. Photographer Leonard Nadal, for

example, documented the fumigation of braceros with DDT at the processing centers in the

United States 27 Upon the completion of their medical and immigration inspections, braceros

found themselves further humiliated by growers and their representatives who applied a racist

logic in selecting hires; as Elvon De Vaney, a contractor for Texas cotton growers explained:

       There was only one type of individual or group of individuals we kinda shied away from
       and this was the little bitty short Indian fellas from way down on the southern end of
       Mexico. . . . So we had to shy away from them little guys especially in the [irrigation]. . .
       . They were kinda dwarf, midget type . . . .We tried to get boys. . . if they were from the
       states of Durango or Zacatecas, San Luis Potosi. . . what we’d call the mountain states . . .
       those boys were generally bigger and stronger. They were meat eaters, ranch country-
       type folk. . . . They were bigger and stronger and more stable. A lot of time, Chihuahua
       and border state boys were kinda rascals, just a little bit a lot of times, so if we had a
       choice we’d get your mountain type fellars.” 28

More recently, hundreds of former braceros have attested to their experiences of abuse and

discrimination in oral histories collected by the Bracero History Archive, a digital repository that

serves as one of the primary sources of information about the Bracero Program. 29


27
   Leonard Nadel, "Braceros were fumigated with DDT while others stand in line at the Hidalgo
Processing Center, Texas," in Bracero History Archive, Item #3000,
http://braceroarchive.org/items/show/3000, accessed December 6, 2021. For a short documentary on the
history of “gasoline baths” used against Mexican migrants and braceros, see Ranjani Chakraborty, “The
dark history of “gasoline baths” at the border: Toxic chemicals—and Nazis—are part of US border
history,” Vox, July 29, 2019, https://www.vox.com/2019/7/29/8934848/gasoline-baths-border-mexico-
dark-history, accessed December 6, 2021.
28
   Loza, Defiant Bracero, 43 (citing Interview with Elvon De Vaney by Jeff Townsend on March 9, 1974,
SWC).
29
   Roy Rosenzweig Center for History and New Media, George Mason University, the Smithsonian
Institution National Museum of American History, Brown University, and the Institute of Oral History at
the University of Texas at El Paso, Bracero History Archive, http://braceroarchive.org/, accessed
December 17, 2021.


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        In crossing without a Bracero contract, many Mexicans sought not only to avoid the

indignities of the contracting process but also were encouraged by southwestern growers to make

unauthorized entries. Due to the state’s banishment from the Program, Texas growers increased

their hiring of undocumented Mexican workers. Given that of all farmworkers in the US,

undocumented Mexicans typically received the lowest wages and endured the worst working

conditions, some Texas growers preferred to hire unauthorized workers rather than be bound by

labor protections stipulated in the Bracero contracts. 30 They had become so dependent on this

workforce that many, echoing the language of Southern slaveholders, felt that it was their right to

employ Mexicans whom they pejoratively referred to as “wetbacks.” As the New York Times

observed, ”They [the farmers] assert boldly that this 3,000 square-mile agricultural empire, with

300,000 inhabitants and an annual income of more than $3,000,000, was built on cheap

‘wetback’ labor like the Southern slave owners of a century ago—it is a violation of their rights

to take it away even if the ‘wetbacks’ are lawbreakers.” 31 Facing enormous pressure from federal

lawmakers who represented southwestern agribusiness interests, the Immigration and

Naturalization Service (INS) facilitated growers’ access to undocumented labor by suspending

their enforcement operations during the harvest season. At the same time, many INS officials,

particularly those stationed in the Southwest, shared the worldview of southwestern growers

regarding their so-called entitlement to undocumented Mexican labor.




30
         Of undocumented Mexican workers, a government investigation wrote, "Last in order of security
and first in order of exclusion from the community is the illegal Mexican alien, commonly referred to as a
"wet back." Under constant threat of apprehension and deportation, his life is one of furtive insecurity. In
the hands of employers inclined to make use of the wetback's disabilities, the result is virtually peonage."
President's Commission on Migratory Labor, Migratory Labor, 5, 65-89, 105, 130, 137.
31
   Juan Ramon García, Operation Wetback: The Mass Deportation of Mexican Undocumented Workers in
1954 (New York: ABC-CLIO, 1980), 214 (citing Gladwin Hill, “’Wetback’ Drive Irks ‘The Valley,’”
New York Times, August 2, 1954, 8.)


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        Despite the complicity of many federal officials in the undocumented entries of Mexican

nationals, the federal government ultimately responded to the perceived border crisis by

developing an immigration enforcement strategy. Motivated by the same anti-Mexican impulses

that informed the immigration enforcement policies of the 1920s, American and Mexican

policymakers deployed punitive measures, such as deportation and criminal prosecution for

illegal entry and re-entry, to scare Mexican migrants and induce them into signing Bracero

contracts. In short, the immigration enforcement policies of the Bracero era powerfully

reinforced longstanding racist notions that Mexican migrants deserved admission into the United

States not as prospective citizens but instead as a cheap, exploitable, and deportable labor

force. 32 These policies began to take shape in the 1940s as the Mexican government, concerned

about losing a source of low-cost labor for its own domestic economy, stipulated that future

extensions of the Bracero Program would be contingent on US efforts to halt undocumented

migration across the border. To keep the Bracero Program alive, the US government, via the

INS, implemented two border control strategies: with the occasional assistance of the Mexican

government, the sporadic mass deportation of undocumented workers (particularly at the end of

the harvest season); and so-called legalization, which did not provide Mexican migrants with a

pathway to citizenship, but instead funneled them back into the Bracero Program as temporary

laborers. Thus, for example, during the infamous “El Paso Incident” of October 1948, the INS

unilaterally opened the border to the thousands of bracero hopefuls who had gathered upon a

rumor that a new recruiting center would open along the line. But instead of granting them




32
  Department of Justice, Annual Report of the Immigration and Naturalization Service for the Fiscal
Year Ended June 30, 1949, 32.


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bracero contracts, the INS arrested them on the spot and then paroled them to waiting

employers. 33

        By the late 1940s, federal policymakers began to adopt a harder vision of immigration

law enforcement thanks to the lobbying efforts of the INS. 34 As many historians have observed,

anti-Mexican racism long drove the policies and practices of immigration officials, particularly

members of the Border Patrol. 35 During the Bracero era, the agency clearly shared the anti-

Mexican biases of its contemporaries. In a 1949 tribute to the twenty-fifth anniversary of the

Border Patrol, agency leaders reiterated negative stereotypes of Mexican migrants as passive and

unintelligent laborers, “. . . each year the number of Mexican farm laborers illegally entering the

United States is alarmingly larger than that of the preceding year. The reasons, of course, are that

the Mexican farm laborers are more docile and are willing to work for lower wages than are the

domestic farm laborers.” 36 The agency also helped to dehumanize undocumented Mexican

migrants; its correspondence and annual reports, which were available to federal policymakers

and the public, routinely used the racist slur “wetback” to refer to undocumented Mexican

migrants. The agency not only denigrated Mexican migrants through its words but also its

practices. Its treatment of Mexicans during the Bracero era, particularly its unilateral decision to

hire out undocumented Mexican migrants to southwestern growers, plainly evidenced the

agency’s view of Mexican migrants as an exploitable workforce.

        The agency’s objectification of Mexican migrants enabled it to imagine and implement

highly militarized immigration enforcement strategies. Thus, even though Mexican migrants,


33
   Kang, INS on the Line, 112-113.
34
   Kang, INS on the Line, 114-138.
35
   Kelly Lytle Hernández, Migra!: A History of the U.S. Border Patrol (Berkeley: University of California
Press, 2010); Martinez, The Injustice Never Leaves You.
36
   Department of Justice, Annual Report of the Immigration and Naturalization Service for the Fiscal
Year Ended June 30, 1949, 32.


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like the hundreds of thousands of European, Asian, and African migrants who came to the

United States since its founding, migrated to the United States in search of better lives for

themselves and their families, they were regularly described as an “invasion” and treated as

such. 37 During the Bracero era, the agency acquired military jeeps, aircraft, and radar to detect

undocumented entries on the line, and redesigned its approach to deportation based on combat

strategies.

        At the same time, the INS worked vigorously to bolster its enforcement authority under

law. In 1946, agency officials, particularly those stationed in the Southwest, lobbied for the

creation of the so-called 100-mile zone in order to legalize practices, such as its car stops, that it

admitted were illegal. 38 By 1949, INS leaders also won the ear of the Truman administration

and, as a result, played a central role in helping it to define a response to undocumented

immigration on the U.S-Mexico border. 39 This response included the following policy proposals:

the increased statutory authority for the INS to enter places of employment to locate

undocumented migrants; the creation of employer penalties; a ban on the legalization of

undocumented migrants for the purposes of employment in the United States; and a bilateral

approach to migration control that included immigration enforcement support from the

government of Mexico. The Truman administration published these recommendations as part of

its broader effort to investigate the plight faced by undocumented migrants and migrant farm

workers in general. In the process, the administration, despite its own use of the term “wetback”

and reference to undocumented Mexican migration as an “invasion,” tried to present a sensitive

portrait of undocumented immigrants in a report titled, Migratory Labor in American


37
   Kitty Calavita, Inside the State: The Bracero Program, Immigration, and the I.N.S. (New York:
Routledge, 1992), 47 (citing President’s Commission on Migratory Labor, Migratory Labor, 69).
38
   Kang, INS on the Line, 123-25.
39
   Kang, INS on the Line, 114-138.


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Agriculture. 40 More specifically, it explained the hardships that led many to seek employment in

the United States and the discrimination and exploitation they faced as farmworkers. Moreover,

the report argued that the Mexican government and American growers created the conditions that

drew undocumented workers to the United States in the first place and, as a result, recommended

that they, rather than the migrants themselves, bear the principal responsibility for the so-called

crisis on the border.

        Although the Truman administration appeared to take a more humanitarian approach to

the issues of undocumented Mexican migration and immigration law enforcement, it is important

to note that it was far from averse to adopting punitive measures vis-a-vis undocumented

migrants. As historians have observed, the Truman administration and his wing of the

Democratic Party adopted a bifurcated approach to immigration policy. 41 On the one hand,

Truman’s Cold War priorities led him to advocate for the dismantling of the racist national

origins quota system of 1924, which barred Asian immigration and limited migration from

southern and European nations. Yet, on the other hand, the Party’s labor union constituents

compelled it to adopt a hardline approach to immigration law enforcement, one that included

more funding for the Border Patrol, a robust deportation policy, an extensive detention system,

and employer penalties. In short, it was an approach that perpetuated the so-called deportability

of Mexican migrants. When the Truman administration failed to win passage of an employer

sanctions measure in Congress, it made clear its commitment to deportation as an alternative



40
   President's Commission on Migratory Labor, Migratory Labor in American Agriculture (Washington,
D.C.: U.S. Government Printing Office, 1951). For photos of the working and living conditions faced by
Bracero workers, see, Smithsonian National Museum of American History, “Broken Promises/Promesas
Rotas,” Bittersweet Harvest: The Bracero Program 1942-1964/Cosecha Amarga Cosecha Dulce: El
programa Bracero 1942-1964, Digital history exhibit, https://americanhistory.si.edu/bracero/introduction,
accessed December 6, 2021.
41
   Kang, INS on the Line, 114-138.


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response to undocumented Mexican immigration; in a telephone call with Border Patrol

supervisor Willard F. Kelly, David Stowe, assistant to President Truman, declared, “we should

enforce the law and continue to enforce it as hard as we can, and clean out every wetback in the

United States, right now.” 42

        Ultimately, congressional conservatives, particularly southern and western Democrats,

played a key role in weakening or blocking immigration enforcement bills. As in the 1920s,

racist conceptions of Mexican migrants as the ideal agricultural workforce led congressional

conservatives to cut appropriations for the Border Patrol and reject efficacious employer penalty

proposals. 43 Thus, during a conference committee on P.L. 78 (the 1951 statute that authorized the

extension of the Bracero Program until its termination in 1964), Senator Allen Ellender (D-LA),

chair of Senate Committee on Agriculture, deleted an amendment that would have penalized

employers for hiring undocumented immigrants. 44 The son of Louisiana plantation owners, a



42
   Typed notes regarding meeting between Willard F. Kelly and David Stowe at the White House, July 6,
1951, 3:30pm, file 56321/448, RG 85, National Archives. At the same time, the administration,
congressional Democrats, and the INS worked closely, albeit in vain, to craft a bill that would appropriate
$12 million for the construction of immigration detention facilities. Kang, INS on the Line, 133.
43
   The longevity of this orientation toward Mexican migrants was not coincidental; as political scientists
have explained, nativist, pro-agribusiness senators and congressmen had held the chairs of the
Immigration and Judiciary committees in both chambers where they regularly deployed parliamentary
procedures to block the passage and even release of measures that would exercise oversight over and even
terminate the Bracero Program and enable the Border Patrol to close the border to undocumented
migrants. At the same time, they used their committee chairmanships to block legislation that would
abolish the 1924 national origins quota system. Tichenor, Dividing Lines, Kindle Loc. 269
44
   On his racism, Ellender’s biographer writes: “For his treatment of black Americans alone, he fell short,
even if one makes a scrupulous effort to judge him by the standards of his times. During his tenure of
office, many striking changes in race relations occurred; he simply refused to change with the times and
recognize that most Americans had reached a consensus and agreed at least that racial segregation should
end and blacks be given the right to vote. Ellender favored racial segregation all of his political life. By
this measurement alone, he could never be considered a great senator.” Thomas A. Becnel, “Allen J.
Ellender, Consensus Politician,” Louisiana History: The Journal of the Louisiana Historical Association,
vol. 32, n. 3 (1991): 237-238.
         On Ellender’s staunch opposition to desegregation and civil rights, his biographer recounts:
Ellender believed in segregation to the end and denounced decisions that struck down laws to reenforce
segregation. He liked blacks as individuals, but he feared giving the race special legal status. Starting with
his 1937 filibuster of antilynch legislation, Ellender maintained a consistent policy on race: he opposed


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lifelong segregationist who opposed civil rights legislation, and an "aggressive [ally] of

agribusiness," 45 Ellender played a key role in ensuring that growers had easy access to Mexican

labor. He not only defeated the employer sanctions amendment to P.L. 78, he also successfully

convinced reluctant Mexican officials to sign a new set of Bracero accords in 1951, facilitated

the swift passage of S. 984 (P.L. 78), and blocked increased appropriations for the Border

Patrol. 46 For southern and western Democrats like Ellender, segregation and weak immigration

law enforcement were two halves of a whole; both policies reinforced a racist worldview that

relegated ethnic and racial minorities to the bottom of the socioeconomic ladder and justified the

denial of their civil and human rights.

        As the chair of the Senate Judiciary Committee and the co-author of the McCarran-

Walter Act of 1952 (the first major overhaul of the nation’s immigration laws since the passage

of the Immigration Act of 1924), Senator Pat McCarran (D-NV) was keenly aware of the debates

regarding Mexican immigration. For the most part, McCarran expressed his own views on

Mexican migration during the hearings of the Senate Appropriations committee. A shrewd

political tactician, McCarran must have known that in this venue he could exert more control

over the development of Mexican migration policy than he could in the Judiciary Committee

(through which he oversaw the debates on the McCarran Walter Act). 47 In the Appropriations

Committee, he heard INS leaders repeatedly plea for increased appropriations that would allow




the Federal Employment Practices Commission and voted against funding it; he voted against all civil
rights bills passed by Congress from 1947 to 1968, he opposed the Voting Rights Act of 1965, and he
signed the 1956 Southern Manifesto which denounced the 1954 Brown decision.” Thomas Becnel,
“Louisiana Senator Allen J. Ellender and IWW Leader Covington Hall: An Agrarian Dichotomy,”
Louisiana History: The Journal of the Louisiana Historical Association, vol. 23, n. 3 (1982): 268.
45
   Calavita, Inside the State, 45.
46
   Calavita, Inside the State, 43-45.
47
   Von V. Pittman, Jr., “Senator Patrick A. McCarran and the Politics of Containment,” (Ph.D. diss.,
University of Georgia, 1979): 1.


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the agency to strengthen its enforcement capacities along the US-Mexico border. The agency

specifically requested funds for the hiring of more Border Patrol agents, the execution of more

deportations via air, and the construction of detention facilities for the processing of deportees

and incarceration of those awaiting criminal prosecution. Agency leaders particularly stressed

that by augmenting the airlift program and building detention centers, it could control the

increasing number of undocumented entries of Mexican nationals along the U.S.-Mexico

border. 48 Yet, like Ellender, McCarran worked to remove obstacles to the undocumented

crossings of Mexican workers. In the Senate Appropriations committee, he and his allies

routinely supported reductions in funding for border enforcement operations. 49

       McCarran’s support of INS budget cuts were not motivated by a desire to reform the

racially discriminatory features of US immigration law vis-à-vis Mexican nationals. Instead,

McCarran defended a widespread system of labor exploitation premised upon racist notions of

Mexican migrants as expendable farmworkers. Indeed, during 1951 appropriations hearing

McCarran himself referred to both legal and undocumented Mexicans as “wetbacks”:

       Except when you get down to the Mexican boundary. Of course, you have all kinds of
       deportations there and removals from the territory of the United States. But that is a
       come-and-go proposition. In other words, there is a flood of people who come across the
       boundary. They are called wet-backs, and they come across legally or illegally during the
       various harvest seasons. Then they go back, and so you have this come-and-go drifting
       there. 50




48
   See, for example, Hearings before the Subcommittees of the Committee on Appropriations House of
Representatives: The Supplemental Appropriation Bill for 1952, Part 2, Eighty-Second Congress, First
Session, May 29, 1951, 751-56.
49
   Calavita, Inside the State, 36. See also García, Operation Wetback, 121. (citing Ernesto Galarza,
Merchants of Labor: The Mexican Bracero Story (Charlotte: McNally and Loftin, 1964, 61).
50
   Hearings before the Subcommittee of the Committee on Appropriations United States Senate: Making
Appropriations for the Departments of State, Justice, Commerce, and the Judiciary for the Fiscal Year
ending June 30, 1952, Part I, Eighty-Second Congress, first session, March 8, 1951, 124.


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Relying on this racial slur, McCarran justified a 1952 denial of an INS appropriations request by

explaining that the “desire for these wetbacks” among growers in US border states took

precedence over the agency’s enforcement needs. 51 In the same hearing, Ellender complained

about the strictures imposed by the Bracero Program: “. . . the Mexican Government has gone so

far as to make us, in a contract, agree to feed these people while en route, take them back,

provide minimum wages, and give them health insurance, and all that. It is something they do

not get at home.” In reply, McCarran added that growers’ demands for undocumented Mexican

workers superseded the well-being of the migrants themselves; as Ellender concurred, McCarran

stated, “The wetback is little interested in that sort of thing. In other words, a farmer can get a

wetback and he does not have to go through that red tape.” 52

        While congressional conservatives worked to preserve growers’ access to a steady supply

of legal and undocumented Mexican workers, they also fought to preserve the racist national

origins quota system during the debates regarding the McCarran Walter Act of 1952. Proposals

to eliminate or modify the national origins quota system, according to Representative Rankin of

Mississippi, threatened to “destroy the white race,” and discriminated against “White

Gentiles.” 53 Leading the defense of the quota system, McCarran stated on the floor of the Senate,

““the national origins quota formula was a rational and logical method of numerically restricting

immigration in such a manner as to best preserve the sociological and cultural balance in the

population of the United States.” 54 Immigration restrictionists further argued that the dismantling


51
   Hearings before the Subcommittee of the Committee on Appropriations United States Senate: H.R.
4974-Making Appropriations for the Departments of State, Justice, and Commerce for the Fiscal Year
ending June 30, 1954, Eighty-Third Congress, first session, March 25, 1953, 245.
52
   Hearings before the Subcommittee of the Committee on Appropriations United States Senate: H.R.
4974, 246.
53
   98 Cong. Rec. 4318, 4320 (April 23, 1952)..
54
   99 Cong. Rec.1517-18 (March 2, 1953). McCarran’s racism and anti-Semitism also led him to work
vigorously to limit European refugee admissions in the 1940s. Thus, for example, as a co-sponsor of the


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of the national origins quota system would expose the nation to the entry of communists, as

McCarran averred, “by opening the floodgates of unlimited immigration, without screening and

without curtailment, we will have destroyed the national security of the United States.” 55

        As chairman of the Senate Judiciary Committee, McCarran regularly wielded his

authority to delay and block the passage of any liberal immigration reforms. 56 With respect to

Truman’s reform proposals, one historian observes that “. . . the Nevada Democrat used tactics

of obstruction, amendment, and congressional investigation to challenge the presidential

ascendancy.” 57 During a series of Joint Hearings by the Senate and House Subcommittees on

Immigration (which fell under the aegis of the Judiciary Committees) to discuss the McCarran

and Walter bills (S. 716 and H.R. 2379, respectively), McCarran blocked debate on Celler’s

reform bill (H.R. 2816) 58 and refused to even report out the Humphrey-Lehman bill (S. 2842). 59

Ultimately, the liberals failed to pass any major amendments to the McCarran and Walter bills.

By 1956, Senator James Eastland (D-MS), a cotton planter, strident segregationist, and

xenophobe, assumed the chair of the Senate Judiciary Committee until 1978. 60 Along with



Displaced Persons Act of 1948, McCarran linked refugee admissions to the quota system. Given the
volume of refugee admissions, some quotas were quickly filled and many others were mortgaged for
decades. McCarran also drafted the provisions which restricted the issuance of Displaced Persons visas to
Jews from the Soviet Union and other Eastern European countries. Tichenor, Dividing Lines, Kindle Loc.
278.
55
   Joint Hearings, 2.
56
   McCarran characterized his role as chairman of the Judiciary Committee as follows, “[t]he chairman of
a committee or a subcommittee cannot always assure passage of a bill which has been referred to his
group, but can almost always kill the bill if he wishes to do so.” Frank Elmer Whited, Jr., “The Rhetoric
of Senator Patrick Anthony McCarran,” (Ph.D. diss., University of Oregon, 1973), 23.
57
   Von V. Pittman, Jr., “Senator Patrick A. McCarran and the Politics of Containment,” (Ph.D. diss.,
University of Georgia, 1979): 1.
58
   Joint Hearings, 6.
59
   McCarran and his cohort rarely remained in chambers long enough to take questions and debate the
merits of his bill. As a result, liberals held the floor for much of the two-week debate. When he was
present in chambers, McCarran refused to yield to questions or simply repeated his own points in answer
to a question. 98 Cong. Rec. 5765 (May 22, 1952).
60
   Eastland himself hired both legal and undocumented Mexican workers and worked directly with the
INS to obtain those workers. Thus, for example, INS records reveal that in 1948, an Eastland staffer


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Representative Walter, the Chair of the House Judiciary Committee, Eastland blocked any major

reform or repeal of the McCarran Walter Act, staunchly opposing the elimination of the national

origins quota system during debates over the Immigration and Nationality Act of 1965 and

preventing the passage of an employer sanctions measure well into the 1970s. 61

        Realizing that they did not have the political clout to enact any comprehensive

immigration reform, no liberal congressman introduced a bill eradicating the national origins

quota system during the debates over the McCarran Walter Act. In his autobiography,

Congressman Emanuel Celler (D-NY), a longtime opponent of national origins, observed, “. . . I

knew that a really liberal immigration bill, particularly the discarding of the national origins

theory, had no more chance of being enacted this session than could a bit of butter remain intact

on a hot stove.” 62 In the Senate, Lehman noted with regret that his amendment to the McCarran

bill retained the national origins quota system “as a practical matter, designed to achieve what

can and must be achieved now.” 63 Thus, all of the liberal reform bills contained some variation

of the national origins quota system. Some tried to mitigate its effects by changing the base year

for the calculation of the immigration ceiling from 1920 to 1950. 64 Most of the reform bills tried

to ameliorate the quota system’s impact by re-pooling and redistributing unused quotas on the

basis of preference classes or for the sake of family reunification and refugee relief. 65




contacted A. R. Mackey to follow up on a promise that “he would get 50 Mexican laborers from
Monterey.” In lieu of these legally contracted workers, however, Eastland’s office indicated that the
Senator could procure “50 ‘wetbacks’” from his uncle who had a ranch in Texas. A.R. Mackey,
Memorandum of telephone call between A. R. Mackey and Mr. Payce, Staff Member for Senator
Eastland of Mississippi, September 16, 1948, 1:50p.m., file 56246/339B, RG 85, National Archives.
61
   Tichenor, Dividing Lines, Kindle Loc. 308, 315, 337.
62
   Celler, You Never Leave Brooklyn, 101. See also, 98 Cong. Rec. 5102 (May 13, 1952).
63
   98 Cong. Rec. 5102 (May 13, 1952).
64
   98 Cong. Rec. 4407 (April 24, 1952)..
65
   98 Cong. Rec. 4414 (April 24, 1952); 98 Cong. Rec. 5607-10 (May 21, 1952).


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        In this context, Congress remained largely silent with respect to the recodification of the

criminal entry and re-entry provisions of the immigration laws in the 1952 Act. It made no effort

to examine or cleanse the anti-Mexican racism that infected the Act of March 4, 1929. Indeed,

McCarran’s structural position in Congress as well as the xenophobia among congressional

conservatives would have rendered such an examination nearly impossible. Such an exploration,

moreover, would have compelled both congressional conservatives and liberals to ask difficult

questions about the nation’s engagement with the Bracero Program and whether it also

perpetuated anti-Mexican animus. In sum, the recodification of the laws under the McCarran

Walter Act did not purge the racial animus of the criminal entry and re-entry provisions.

        The changes made to the 1952 Act, moreover, strengthened the clauses regarding

unlawful entry and re-entry by making them easier to prosecute. With respect to re-entry, it

combined what had been three disparate provisions regarding anarchism, prostitution, and illegal

reentry into one general illegal re-entry clause. It also revised the 1929 law by penalizing

migrants for being “found in” the United States after a previous deportation. This clause allowed

prosecutors to try defendants in the districts in which they were found by the INS, thereby

freeing the agency and prosecutors from the task of determining the place of reentry. 66 In

addition, the change saved the INS the expense of transporting defendants from the districts in

which they were found to the districts in which they re-entered the United States. 67

        Congress also made a minor alteration to the illegal entry provision of the 1952 Act. It

specifically lessened the penalty for a first unauthorized entry from one year to six months and

thereby rendered it a petty offense. As a result of this revision, defendants, charged under Section


66
   Joint Hearings on S. 716, H.R. 2379, and H.R. 2816 Before the House and Senate Subcommittees of
the Committees on the Judiciary, Eighty Second Congress, first session, (1951), 716.
67
   United States, Department of Justice, Immigration and Naturalization Service, Regional Conference, El
Paso, Texas, May 7-10, 1951, 13, file 56316/925, RG 85, National Archives.


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275 of the 1952 law, lost their right to a jury trial. Legal scholar Ingrid Eagly explains that the

INS, seeking a way to manage the increasing number of criminal prosecutions under the 1929

Act, pursued this revision; she writes, “[the INS] lobbied Congress to establish a misdemeanor

court that would allow for criminal immigration enforcement ‘at less expense and with a greater

amount of effectiveness’ than was possible with Article III courts.” 68 As part of this effort, the

agency also urged Congress to lessen the sentence for a first offense. For the INS, decoupling the

criminal prosecution of illegal entry cases from juries was essential since they typically shared

the sentiments of southwestern agribusiness regarding Mexican farm workers 69 and, as a result,

often refused to indict. 70 This change persisted in the ensuing reenactments to the statute and

“eventually opened the door to having magistrate judges, rather than Article III judges, preside

over illegal entry trials.” 71

        The Undesirable Aliens Act and its subsequent revision in 1952 were passed in a

historical period when anti-Mexican racism was explicit and widespread. White House officials,

members of Congress, and the INS articulated eugenicist stereotypes of Mexican migrants as an

exploitable and deportable workforce and, through their policy innovations, treated them as such.

Farm labor programs like the Bracero Program and measures such as the Undesirable Aliens Act

and Sections 275 and 276 of Public Law 414 cemented the second-class status of Mexican

nationals in America. Instead of welcoming them as prospective permanent residents and citizens

or providing them with a pathway to citizenship in acknowledgement of their contributions to the


68
   Ingrid Eagly, “Prosecuting Immigration,” Northwestern University Law Review, vol. 104, n. 4 (Fall
2010), 1326
69
   For example, Eagly notes that “in El Paso, Texas in the late 1940s, over 90% of immigration crime
cases sent to the grand jury were returned as ‘no bills.’” Eagly, “Prosecuting Immigration,” 1327.
70
   Eagly, “Prosecuting Immigration, 1327, n. 269.
71
   Brief for Professors Kelly Lytle Hernández, Mae Ngai, and Ingrid Eagly as Amici Curiae Supporting
Respondent, United States of America v. Refugio Palomar-Santiago,
https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/20-437.html, 25.


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American economy and society, lawmakers ensured the contingency of Mexican migrants’

presence in the United States, summarily admitting and deporting them at the will and whim of

southwestern growers. The racist stereotype of Mexicans as an exploitable workforce also

exposed them to a variety of abuses, from their fumigation with poison gas at Bracero processing

centers to the unsafe and unsanitary working and living conditions they faced on the nation’s

farms.

         Just as important, in 1952, Washington lawmakers consciously chose not to erase the

racial animus from the nation’s immigration laws, including §1326. Those congressmen who

were most likely to attack the racist premises of the nation’s immigration laws admitted that such

a challenge would fail due to the pervasive racism among their fellow members in Congress and

the institutional advantage wielded by the nativists and segregationists. In particular, as the chair

of the Senate Judiciary Committee, Senator Pat McCarran wielded a tremendous amount of

power to shape the nation’s immigration laws to his liking. Cognizant of McCarran’s power and

their lack of support among congressional nativists and segregationists, congressional liberals

admitted that no truly anti-racist immigration measure could pass under McCarran’s watch. As a

result, none of the congressional liberals dared to propose a bill that completely eradicated the

racist national origins quota system and, instead, drafted bills that perpetuated it. In sum, both

congressional conservatives and liberals played an active and deliberate role in extending the

racism that inhered in the nation’s immigration laws via the passage of the McCarran Walter Act

of 1952.




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Part II: The Anti-Drug Abuse Act (1988) and the Immigration Act of 1990
Historical Background

       The 1965 Immigration and Nationality Act marked a watershed in US history. It

eliminated the discriminatory national origins quota system and outlawed racial discrimination

based on race, sex, nationality, place of birth, or place of residence in the admission of

immigrants to the United States. Although the measure was celebrated as a symbol of racial

justice and equality, its drafters won the law’s passage by reassuring congressional detractors

that it would not change the ethnic and racial composition of the United States. 72 To that end, the

new law imposed the first cap on migration from the Western Hemisphere. 73 It also created an

admissions system that favored elite migrants or those with higher degrees and specialized

skills. 74 Finally, members of Congress argued that the family reunification provisions would

principally benefit white ethnics rather than non-Europeans, as Rep. Emanuel Celler (D-NY)

explained, “Since the people of Africa and Asia have very few relatives here, comparatively few

could immigrate from those countries . . . [There is] no danger whatsoever of an influx from the

countries of Asia and Africa.” 75

        Yet, in the ensuing decades, the 1965 law wrought several unanticipated consequences

that changed the size and composition of the nation. The Act sparked an unprecedented increase

in arrivals from Asia, Latin America, and the Caribbean. 76 Asian migrants entered the country

via the family reunification and employment-based provisions of the law. Meanwhile, set at



72
   Lee, America for Americans, Kindle Loc. 3937.
73
   On the racial animus that informed the creation of the ceiling on Western Hemisphere migration, see
Lee, America for Americans, Kindle Loc. 3836, 3895-3936.
74
   Tichenor, Dividing Lines, Kindle Loc. 319.
75
   Lee, America for Americans, Kindle Loc. 3947 (citing Congressional Record, August 25, 1965,
21758).
76
   David M. Reimers, Unwelcome Strangers: American Identity and the Turn against Immigration (New
York: Columbia University Press, 1998), 28-29.


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120,000, the Western Hemisphere quota failed to reflect the actual number of crossings that had

transpired along the US-Mexico border for decades. As a result, the quota transformed former

legal border crossers into undocumented immigrants overnight. Finally, from the 1970s through

the 1990s, refugees from Vietnam, Cuba, Haiti, and Central America would further change the

face of the nation. These new immigrants triggered recurring waves of nativism and racism 77 and

fueled the conservative reaction to the legislative victories, including the 1965 Immigration and

Nationality Act, of the Civil Rights era. Their antipathy to the reforms of the Kennedy and

Johnson administrations led to a fundamental transformation of the nation’s immigration laws

and immigration law enforcement

       In the late twentieth century, Florida’s congressional contingent played a key role in

expanding federal immigration enforcement capacities. Although immigration scholars have

focused on more widely known figures such as President Ronald Reagan and California

Governor Pete Wilson, the research undertaken for this affidavit underscores the importance of

examining the part of local and state officials in immigration law reform. As explained below,

Senator Lawton Chiles (D-FL), Senator Bob Graham (D-FL), and Rep. Bill McCollum (R-FL)

authored the bills that would substantially revise 8 U.S.C. §1326 in 1988, 1990, 1994, and 1996.

Their common role in the revision of §1326 was no mere coincidence. Like legislators of other

border states in this period, Chiles, Graham, and McCollum tried to respond to a perceived crisis

that the nation had “lost control of its borders.” 78 In Florida, the arrival of so-called Mariel

Cuban refugees and Haitian asylum seekers in the early 1980s led federal policymakers




77
  Tichenor, Dividing Lines, Kindle Loc. 326.
78
  Tichenor, Dividing Lines, Kindle Loc. 376 (citing William French Smith, Law and Justice in the
Reagan Administration (Stanford: Hoover Institution, 1991), 194-95).


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 to take draconian steps to prevent their resettlement in the United States and deter additional

arrivals. These included the routine denial of asylum, long-term detention in facilities in the

United States, Puerto Rico, and Guantanamo, and interdiction at sea. 79

        Many contemporaries, however, criticized these policies for racially discriminating

against both the Mariel Cubans and Haitians. As part of its effort to win the loyalties of citizens

in communist and incipient communist states during the Cold War, the United States had been

admitting Cuban refugees and easing their pathways to citizenship since the mid-1960s. 80 In

contrast, upon their arrival in the spring of 1980, Mariel Cubans were indefinitely detained on

US military bases throughout the country. 81 Although they left Cuba due to their political

opposition to the Castro regime, Castro sought to stoke a crisis in the United States by

characterizing the Mariel refugees as “’scum,’” undesirables, prisoners, troublemakers, and

homosexuals.” 82 Indeed, prior to their departure, Castro forced the refugees to “sign documents

confessing that they were social deviants and had committed crimes against the state.” 83 Since

the Mariel Cubans tended to be “more working-class, blacker, and far less elite than earlier

Cuban migrants,” 84 American policymakers and the media “[took] Castro’s lead and bait” and

disseminated negative images of the refugees on the basis of their race, class, and sexuality. 85

Perhaps most prominently, policymakers and the public associated the refugees with criminality


79
   Jana K. Lipman, “The Fish Trusts the Water, and It is in the Water That It Is Cooked”: The Caribbean
Origins of the Krome Detention Center,” Radical History Review, vol. 115 (Winter 2013): 131.
80
   Lipman, “The Fish Trusts the Water,”120 (citing to the Cuban Adjustment Act of 1966).
81
   Lipman, “The Fish Trusts the Water,” 120.
82
   Jana Lipman, “A Refugee Camp in America: Fort Chaffee and Vietnamese and Cuban Refugees, 1975-
1982,” Journal of American Ethnic History, vol. 33, n. 2 (Winter 2014):71.
83
   Maria Cristina Garcia, Havana, USA: Cuban Exiles and Cuban Americans in South Florida, 1959-1994
(Berkeley: University of California Press, 1997), Kindle Loc. 915.
84
   Lipman, “The Fish Trusts the Water,” 139, fn. 39. Garcia, Havana, USA, Kindle Loc. 981
85
   Lipman, “The Fish Trusts the Water,” 71. Perhaps most famously, the Hollywood film Scarface
popularized negative stereotypes of these Cuban refugees. In response, Miami Cubans protested and
formed Facts about Cuban Exiles (FACE), an organization that challenged these negative images and
stereotypes. Garcia, Havana, USA, Kindle Loc. 1003, 1115.


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even though the “vast majority were working-class men and women without any criminal

background.” 86

        Haitian asylum seekers also experienced racially disparate treatment upon their arrival in

the United States. Even though they fled political persecution under the political regimes of

François Duvalier and Jean-Claude Duvalier, American lawmakers routinely defined them as

economic migrants rather than refugees. 87 As historian Jana Lipman writes, “[c]ountless

scholars, activists, and legal advocates have noted the hypocrisy and Cold War narrowness of US

refugee policy: the US government presumed that Cubans were “refugees” and presumed that

Haitians were not.” 88 Through nation-wide marches, hunger strikes, and letters and visits to

Carter administration officials, these advocates tried to draw attention to the racially

discriminatory treatment of the Haitians. 89 Despite their efforts, in the 1970s and 1980s, only 25

of the approximately 50,000 Haitians who pursued an asylum claim succeeded. 90 In lieu of relief,

the United States employed a set of harsh strategies designed to expel the Haitians from the

United States and deter future arrivals from that country. Under a so-called “Haitian Program,”



86
   Lipman, “The Fish Trusts the Water,” 71 (citing Garcia, Havana, USA, 54-68; James Stuart Olson and
Judith Olson, Cuban Americans: From Trauma to Triumph (New York, 1995), 78-91; and Carl Bon
Tempo, Americans at the Gate: The United States and Refugees during the Cold War (Princeton:
Princeton University Press, 2015), 179-84). Maria Cristina Garcia explains that less than 4 percent of the
Cuban refugees had committed serious felonies; despite this figure, the media chose to “[focus] an
exaggerated amount of attention on those with mental disabilities and on the hardcore felons.” She
continues, “Few journalists ever mentioned the fact that up to 80 percent of the Mariel Cubans had no
criminal history.” Garcia, Havana, USA, Kindle Loc. 933
87
   On the repression and violence of the François Duvalier and Jean-Claude Duvalier regimes, see Laurent
DuBois, Haiti: The Aftershocks of History (New York: Metropolitan Books, Henry Holt and Company,
2010), 311-359.
88
   Lipman, “The Fish Trusts the Water,” 121.
89
   Alex Stepick, “Haitian Boat People: A Study in the Conflicting Force Shaping U.S. Immigration
Policy,” Law and Contemporary Problems, vol. 45, n. 2 (1982): 188.
90
   Lipman, “The Fish Trusts the Water,” (citing Joyce A. Hughes and Linda R. Crane, “Haitians: Seeking
Refuge in the United States,” Georgia Immigration Law Journal 7 (1993): 766-67 and Cheryl Little,
“United States Haitian Policy: A History of Discrimination,” New York Law Journal of Human Rights,
vol. 10, n. 2 (1993): 273-76).


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the US developed an expedited asylum procedure that deported more Haitians than it admitted;

as Lipman writes, “At its peak, INS held up to eighty deportation hearings a day, and Haitians

were offered as little as fifteen minutes to consult with their lawyers. Of the more than 4,000

Haitians involved, none received asylum.” 91 In 1980, the program ended after a judge issued an

injunction in response to a class action lawsuit, Haitian Refugee Center v. Civiletti, 503 F. Supp.

442 (S.D. Fla. 1980). In its opinion, the court drew immediate attention to the discrimination of

the Program:

        The Haitians allege that the actions of INS constitute impermissible discrimination on the
        basis of national origin. They have proven their claim. This court cannot close its eyes,
        however, to a possible underlying reason why these plaintiffs have been subjected to
        intentional "national origin" discrimination. The plaintiffs are part of the first substantial
        flight of black refugees from a repressive regime to this country. All of the plaintiffs are
        black. In contrast, for example, only a relatively small percent of the Cuban refugees who
        have fled to this country are black. Prior to the most recent Cuban exodus, all of the
        Cubans who sought political asylum in individual 8 C.F.R. Sec. 108 hearings were
        granted asylum routinely. None of the over 4,000 Haitians processed during the INS
        "program" at issue in this lawsuit were granted asylum. No greater disparity can be
        imagined. 92

Continuing to condemn the program, the court concluded:

        Those Haitians who came to the United States seeking freedom and justice did not find it.
        Instead, they were confronted with an Immigration and Naturalization Service
        determined to deport them. The decision was made among high INS officials to expel
        Haitians, despite whatever claims to asylum individual Haitians might have. A Program
        was set up to accomplish this goal. The Program resulted in wholesale violations of due
        process, and only Haitians were affected. This Program, in its planning and executing, is
        offensive to every notion of constitutional due process and equal protection. The Haitians
        whose claims for asylum were rejected during the Program shall not be deported until
        they are given a fair chance to present their claims for political asylum. 93

Yet rather than afford Haitian refugees an opportunity to seek relief as stipulated by the court,

the new Carter administration “developed a plan to circumvent the landmark ruling.” 94 It


91
   Lipman, “The Fish Trusts the Water,” 121.
92
   Haitian Refugee Center v. Civiletti, 503 F. Supp. 442, 451.
93
   Haitian Refugee Center v. Civiletti, 503 F. Supp. 442, 522.
94
   Lindskoog, Detain and Punish, 31.


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determined that the ruling only applied to Haitians in the Southern District of Florida and, by

September 1980, resumed the streamlined processing of Haitians abroad at a highly controversial

detention center at Fort Allen, Puerto Rico. 95

        By refusing to grant asylum to Mariel Cuban and Haitian refugees, the Carter

administration contravened both the spirit and substance of the Refugee Act of 1980. Signed by

Carter only a few weeks before the arrival of the Mariel Cubans, it signaled the nation’s

commitment to refugee relief, authorized the admission of 50,000 refugees per year, enabled the

president to admit refugees above this cap in response to humanitarian emergencies, and adopted

the United Nations’ definition of a refugee as an individual who has a “well-founded fear of

persecution on account of race, religion, nationality, membership in a particular social group, or

political opinion.” 96 To bypass the 1980 law, US officials created a new legal status—“Cuban-

Haitian entrant (status pending)” that maintained the legal fiction that the asylum seekers had not

yet entered the country despite their physical presence on U.S. soil. 97 This legal designation

enabled US officials to detain Cubans and Haitians in prisons and military bases, which became

functional equivalents of the border. In addition, as individuals deemed not to have entered the

United States, they, under law, were considered excludable rather than deportable. As excludable

noncitizens, they had far fewer rights than deportees and “[could] be detained indefinitely.” 98




95
   The detention of Haitians at Fort Allen and sites throughout the country led the migrants to file multiple
lawsuits against the government, see Lipman, “The Fish Trusts the Water,” 130-134.
96
   The refugee definition under the 1980 Act also aimed to broaden the nation’s approach to refugee
admissions that, since World War II, served American geopolitical interests during the Cold War by
favoring migrants fleeing communist and proto-communist states. Lipman, “The Fish Trusts the Water,”
122.
97
   Lipman notes that the Carter administration created this designation in response to charges that the
Mariel Cubans received “preferential treatment” vis-à-vis Haitian asylum seekers who arrived at the same
time. Lipman, “The Fish Trusts the Water,”122. For criticisms of the Carter administration’s
unwillingness to process Haitian refugees under the 1980 Act, see Lindskoog, Detain and Punish, 38.
98
   Lipman, “The Fish Trusts the Water,” 123.


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        In creating the “Cuban-Haitian entrant” category, the Carter administration aimed to

convey the impression that both groups were treated equally. Yet, as it sought ways to expand

the nation’s detention capacities in response to refugee arrivals, the administration acknowledged

that Haitians continued to receive disparate treatment. In detention centers such as Florida’s

Krome Avenue site, administration officials admitted in August 1980:

        Newly arriving Haitians are either housed in inadequate, unsafe facilities, such as Krome
        South, or detained in jails and prisons. Cubans are being sent to army camps or being
        reunified with their families. Grants of $300 per person have been provided to the
        [voluntary agencies] for the Cubans. The CAA, if it “resettles” the 18,000 Haitians which
        the grant covers, will be given $27 per person for resettlement. The Cubans have been
        and are being resettled while the Haitians have not. Cubans are still being processed by
        INS as applicants for political asylum while Haitians are not. The INS processing itself is
        done differently for both groups. 99

Meanwhile, journalists, immigration advocates, and administration officials also documented the

disparate treatment faced by Haitian refugees at Krome. Ian Kurzban, a prominent advocate for

the Haitian refugees, reported the verbal and physical abuses inflicted by INS officials at

Krome. 100 Secretary of Health and Human Services Patricia Roberts Harris wrote to the White

House to express her concerns about the inhumane conditions faced at the Florida site:

        For example, no running water is available in the open housing area, water from
        temporary showers remains stagnant in pools near the tents, toilet facilities are inadequate
        and stench permeates the air. The Haitians were not provided sheets, towels,
        soap, toothbrushes or toothpaste. Women and children are housed in an overcrowded
        administrative building where many of the women sleep on soiled mattresses placed
        directly on the floor. The males sleep outdoors in open, dirty tents in areas where both
        mosquitos and coral snakes are prevalent. Housing Haitians, or any other people, in such
        an intolerable and unsanitary environment is totally unacceptable from the perspective of
        both health and human decency. 101


99
   Lindskoog, Detain and Punish, 42 (citing Phyllis Dichter to Syl Ligsukis, “Policy Issues for the Haitian
Entrant Program,” August 5, 1980, reel 12, Records of the Cuban-Haitian Task Force).
100
    Lindskoog, Detain and Punish, 43 (citing Christian R. Holmes to David Crosland, “Haitian INS
Processing and Procedures,” ca. August 28, 1980, reel 26, Records of the Cuban-Haitian Task Force).
101
    Lindskoog, Detain and Punish, 43 (citing Patricia Roberts Harris to Victor H. Palmieri, August 9,
1980, reel 12, Records of the Cuban-Haitian Task Force; Patricia Roberts Harris to Eugene Eidenberg,
August 19, 1980, reel 3, Records of the Cuban-Haitian Task Force).


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Joseph Innocent, a 23-year-old Haitian carpenter, shared with a Miami Herald reporter: “The

conditions here are very bad. We live like animals. The food is bad. At night there is no light and

we fight the snakes. There are no telephones. We have no way to let our families know that we

made it here alive.” 102

        Subsequent administrations built upon the precedents established by Carter. In a renewed

effort to deter Haitian arrivals, the Reagan administration, in October 1980, redefined them as

excludable aliens. 103 He also initiated an interdiction policy whereby the US Coast Guard

stopped sailing vessels transporting Haitians, conducted interviews to assess their eligibility for

asylum, and pushed back the vast majority to Haiti. Under this policy, “INS officials deemed less

than 1 percent of Haitian migrants to have a legitimate ‘fear of persecution.’” 104 As a further

deterrence measure, the administration, with the Haitians foremost in mind, began searching for

sites that could serve as permanent detention centers. 105 In response to these developments,

advocates and journalists harshly criticized the Reagan administration. In a letter to the White

House, the National Association for the Advancement of Colored People (NAACP) charged the

administration with violating Civiletti and the Refugee Act of 1980 and discriminating against

the Haitian refugees: “the Haitians alone have been singled out for a peculiar classification and

treatment.” 106 Despite the widespread condemnation of its interdiction and detention policies, the

Reagan administration continued its efforts to “contain a single group [Haitian refugees].” 107


102
    Lipman, “The Fish Trusts the Water,” 123 (citing Sarah Rimer, “Haitian, Cuban Camps Side by Side,
Worlds Apart,” Miami Herald, September 13, 1980, Carter, RG 220, box 42, Press Clippings).
103
    Lipman, “The Fish Trusts the Water,” 130.
104
    Lipman, “The Fish Trusts the Water,” 131.
105
    Lindskoog, Detain and Punish, 67; Lipman, “The Fish Trusts the Water,” 131.
106
    Lindskoog, Detain and Punish, 68 (citing to NAACP to Ronald Reagan, November 25, 1981, box 24,
folder 3, Haitian Refugee Collection). For other criticisms of Reagan’s Haitian policies, see Lindskoog,
Detain and Punish, 51-70.
107
    Lindskoog, Detain and Punish, 50. On the precedents set by the Haitian detention for immigration
detention more generally, see Lindskoog, Detain and Punish, 70, 74. See also, Kristina Shull, “Reagan’s


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Moreover, the Haitian migration led Reagan and restrictionist lawmakers in Congress to

undertake the “monumental transformation of immigration policy.” 108

       The animus toward the Haitian migrants was a local phenomenon as much as it was a

federal one. In the penumbra of the Civil Rights Movement, Floridians feared the cultural,

economic, and social impacts of racial integration in their communities. The arrival of the

Haitian refugees further triggered their anti-Black sentiments, as historian Carl Lindskoog writes,

“The prospect of large numbers of poor black refugees frightened many residents of South

Florida.” 109 Locals scapegoated the Haitians, blaming them for the economic and public health

crises of the 1970s and 1980s, as one contemporary observed, “negative stereotypes and fears of

Haitians became firmly embedded in the general South Florida population. Haitians were

perceived by many to be not only disease-ridden, but also uneducated, unskilled peasants who

could only prove [to be] a burden to the community.” 110 South Floridians’ anxieties about the

new immigrants led them to initiate the nation’s first English-only movement. 111 As one scholar

observes, “Miami’s English-only campaign was ‘a vehicle for the expression of mass native

white resistance to Latinization’ and a ‘political project aimed at symbolically reestablishing

Anglo dominance.’” 112




Cold War on Immigrants: Resistance and the Rise of a Detention Regime, 1981-1985,” Journal of
American Ethnic History, vol. 40, n. 2 (Winter 2021).
108
    Lindskoog, Detain and Punish, 50.
109
    Lindskoog, Detain and Punish, 16.
110
    Lindskoog, Detain and Punish, 17 (citing Alex Stepick, “The Refugees Nobody Wants: Haitians in
Miami,” in Miami Now! Immigration, Ethnicity, and Social Change, edited by Guillermo J. Grenier and
Alex Stepick III (Gainesville: University Press of Florida, 1992), 58-60).
111
    Lindskoog, Detain and Punish, 39.
112
    Lindskoog, Detain and Punish, 39 (citing Max J. Castro, “The Politics of Language in Miami,” in
Miami Now! Immigration, Ethnicity, and Social Change, edited by Guillermo J. Grenier and Alex Stepick
III (Gainesville: University Press of Florida, 1992, 119-123, 128).


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        As the state’s nativist movement grew, Floridians placed enormous pressure on federal

lawmakers to remove Haitians from their communities, as Lindskoog writes:

        Local political groups goaded national authorities into an unparalleled campaign to
        repress the flow of Haitians into Miami and to deport those Haitians already in Florida.
        Members of south Florida’s political elite—including Democratic party members, elected
        officials and some Cubans—believed that the boat people were a disruptive force,
        destroying the community and draining resources. They appealed to their local
        members of Congress, who apparently pressured the INS into a response. The INS
        thereafter began to expend a far greater effort in controlling the flow of Haitians than was
        expended on nearly any other group of illegal immigrants. 113

Whether Democrat or Republican, members of Florida’s congressional delegation echoed the

anti-immigrant concerns of their constituents. Senator Paula Hawkins (R-FL) was particularly

outspoken in her attacks on Florida’s refugee community, as Lindskoog explains:

        Paula Hawkins added to the sense of crisis by painting a sordid picture of life in South
        Florida amid wave after wave of refugee arrivals. She referred to ‘reports that diseases
        have been brought into this country by the entrants’ and cited one report that claimed that
        80 to 90 percent of Haitian refugees were infected with parasites . . .Senator Hawkins
        warned, ‘The greatest concern to Floridians is the increase in crime that has accompanied
        the arrival of the Cubans and Haitians in this latest influx.’114

Chiles added further fuel to the nativist fire when, during a July 31, 1981 hearing of the Senate

Subcommittee on Immigration and Refugee Policy, he described how many South Floridians felt

that the refugees’ arrival forced them to move:

        There is a new bumper sticker that you will see on more and more cars in the Miami area.
        It says, “Will the last person to leave please bring the flag.” That sums up a lot of the
        feeling of frustration that is down there presently, and I would say with the tremendous
        movement that we have in Florida and people buying new homes—I now find that people
        in the central part of the State, the real estate agents are telling me, it is not the people
        that are coming from out of State that they are selling homes to, it is the migration from



113
    Lindskoog, Detain and Punish, 17 (citing Alex Stepick, “The Refugees Nobody Wants: Haitians in
Miami,” in Miami Now! Immigration, Ethnicity, and Social Change, edited by Guillermo J. Grenier and
Alex Stepick III (Gainesville: University Press of Florida, 1992), 58-60). See also, Stepick, “Haitian Boat
People,” 179.
114
    Lindskoog, Detain and Punish, 53 (citing Paula Hawkins, United States as a Country of Mass First
Asylum, 37).


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        south Florida that they are selling homes to, people that are leaving the county. This is
        bad. It is a situation that we have to reverse. 115


At the 1981 hearing, both Hawkins and Chiles recommended approaches, including interdiction,

detention, and abbreviated exclusion procedures, that had been castigated by policymakers,

advocates, and even the courts as discriminatory and inhumane. 116 Even more important, Florida

lawmakers sated the nativist demands of their constituents and supported the anti-Haitian agenda

of the Reagan administration through statutory means. As the White House developed punitive

enforcement practices, Florida’s congressional delegation rewrote the law on the books in ways

that reclassified asylum seekers as undocumented migrants and criminals who merited

perpetually increasing civil and criminal penalties.

        It was in this xenophobic context that members of Florida’s congressional delegation

amended 8 U.S.C. § 1326 in 1988, 1990, 1994, and 1996. The following legislative history

reveals that their racial animus toward Haitian and Mariel Cuban refugees motivated them to

revise the criminal penalties for the reentry of removed aliens. The legislative history further

indicates that, by the early 1990s, their anti-Hispanic animus, in addition to their ongoing anti-

Haitian sentiments, informed the 1994 and 1996 changes to the law. Finally, during the 1988,

1990, 1994, and 1996 legislative debates, lawmakers made no effort to acknowledge and/or

amend the racial animus that informed earlier iterations of this provision of Title 8.

        In tracing the racial animus that informed the late twentieth-century revisions to § 1326,

it is important to note that this animus took different forms. The racial reforms of the Civil



115
    United States as a Country of Mass First Asylum: Hearing before the Subcommittee on Immigration
and Refugee Policy of the Committee on the Judiciary, United States Senate, 97 Cong., 1st sess., July 31,
1981, 48.
116
    Chiles also expressed his frustration that the Reagan administration was not doing enough in response
to the so-called Haitian crisis. Lindskoog, Detain and Punish, 54.


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Rights movement slowly instantiated a cultural shift that rendered unacceptable overt

expressions of racism. In contrast to the early twentieth century congressional debates regarding

§ 1326, the late twentieth century debates yield fewer instances of manifest racism. Lawmakers,

for example, ceased using the racial slur “wetback” to refer to Mexican migrants. The following

discussion, then, examines at least three types of racial animus that emerged in the debates over §

1326. First, it recounts the moments when policymakers did resort to the use of racial slurs,

explicitly racist language, or racial stereotypes. Second, it describes racial animus in terms of

racially disparate impact; thus, for example, it traces the divergent application of US refugee and

asylum policies based on nationality and race. Third, it explores the proxies that supplied

policymakers with a race-neutral vocabulary to express their antipathies toward immigrants and

racial minorities. Such proxies included anti-population growth movements, the War on Drugs,

English-only movements, and anti-birthright citizenship campaigns, among others.



Legislative History

       In the 1980s, the Federation for American Immigration Reform (FAIR), a Southern

Poverty Law Center designated hate group, played a pre-eminent role in the effort to “[upend]

the Immigration and Nationality Act of 1965.” 117 From its founding to the present, FAIR has

lobbied local, state, and federal lawmakers to pass anti-immigration measures premised on

eugenics and racism. 118 In 2009, Dan Stein, who assumed the leadership of FAIR in 1988,




117
    Southern Poverty Law Center, “Federation for American Immigration Reform,”
https://www.splcenter.org/fighting-hate/extremist-files/group/federation-american-immigration-reform,
accessed April 18, 2021
118
    Deepa Fernandes, Targeted: Homeland Security and the Business of Immigration (New York: Seven
Stories Press, 2007), 212.


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“boasted that FAIR leaders had testified before Congress about 100 times.” 119 In these public

venues, FAIR made a concerted effort to cloak its white supremacist agenda in neutral terms so

as to appeal to ordinary Americans. 120 They frequently referred to the impacts of immigration on

the environment, population growth, and the economy in order to make their extremist message

more palatable. 121 Yet as the SPLC and scholars have repeatedly reported, a combination of

eugenics, racism, and xenophobia clearly motivated its policy goals. 122

        In 1979, John Tanton, a self-described environmentalist, founded FAIR with the specific

aim of reducing non-white immigration to the United States. 123 He believed that the increasing

numbers of family-sponsored visas, refugees, and undocumented migrants 124 threatened the

white race, as he explained to fellow eugenicist Garrett Hardin in 1993, “I’ve come to the point

of view that for European-American society and culture to persist requires a European-American



119
    Southern Poverty Law Center, “Federation for American Immigration Reform,”
https://www.splcenter.org/fighting-hate/extremist-files/group/federation-american-immigration-reform,
accessed April 18, 2021
120
    Southern Poverty Law Center, “Federation for American Immigration Reform,”
https://www.splcenter.org/fighting-hate/extremist-files/group/federation-american-immigration-reform,
accessed April 18, 2021.
121
    Tichenor explains that in the aftermath of the Civil Rights Movement nativists had to articulate their
anti-immigrant sentiments in the race-neutral terms of “environmentalists, population control activists,
and cultural protectionists.” Tichenor, Dividing Lines, Kindle Loc. 724.
122
    Southern Poverty Law Center, “Federation for American Immigration Reform,” 237.
https://www.splcenter.org/fighting-hate/extremist-files/group/federation-american-immigration-reform,
accessed April 18, 2021; Carly Goodman, “The shadowy network shaping Trump’s anti-immigration
policies,” Washington Post, September 27, 2018; Carly Goodman, “John Tanton has died. He made
American less open to immigrants – and more open to Trump,” Washington Post, July 18, 2019; Southern
Poverty Law Center, “John Tanton is the Mastermind Behind the Organized Anti-Immigrant Movement,”
The Intelligence Report, June 18, 2002; Tichenor, Dividing Lines, Kindle Loc. 349.
123
    Tichenor explains that Tanton’s own approach to environmental studies was tainted by racism. In an
oral history, Tanton remarked, “The cultural values that led to the conservation ethos that’s typified by the
Sierra Club . . . are values that are characteristic of American society. We could probably trace their roots
back through Western civilization. If we look at the conservation ethic of some of the countries from
which large numbers of immigrants are coming, we don’t find the same sort of respect for the land and
our fellow creatures that has developed here. We certainly don’t see this in many of the southeastern
Asian cultures or in Latin America.” Tichenor, Dividing Lines, Kindle Loc. 349 (citing Oral History of
John Tanton, 72-73).
124
    Tichenor, Dividing Lines, Kindle Loc. 349.


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majority, and a clear one at that.” 125 Stein, who succeeded Tanton as the head of FAIR, shared

Tanton’s white supremacist views, as the SPLC notes, “He told Tanton that those who supported

the 1965 reform wanted to ‘retaliate against Anglo-Saxon dominance’ and that this ‘revengism’

against whites had created a policy that is causing ‘chaos and will continue to create chaos.’” 126

        Shortly after FAIR’s founding, Tanton and Roger Conner, FAIR Executive Director,

aggressively pursued an anti-immigration policy agenda. In meetings with members of Congress

and their staff, appearances at congressional hearings on immigration, op-eds and advertisements

in print media, and televised interviews on network news programs, FAIR advocated for the

following: limits to legal immigration and refugee admissions; controls on undocumented

immigration; and the termination of public benefits for undocumented immigrants. In response to

several federal court decisions regarding undocumented immigration, Tanton also attacked what

he dubbed the “civil rights movement of the 1980s” and claimed that the Supreme Court’s




125
    Southern Poverty Law Center, “Federation for American Immigration Reform,”
https://www.splcenter.org/fighting-hate/extremist-files/group/federation-american-immigration-reform,
accessed April 18, 2021.
126
    Southern Poverty Law Center, “Federation for American Immigration Reform,”
https://www.splcenter.org/fighting-hate/extremist-files/group/federation-american-immigration-reform,
accessed April 18, 2021. By 1994, Stein also expressed his anti-Haitian sentiments during a congressional
hearing on Haitian asylum seekers. In an alarmist tone, he urged the exclusion of Haitian and Global
South refugees, arguing that their admission would lead to the nation’s downfall. These migrants, Stein
argued, would transplant to the United States the crises of their home countries – ecological disaster, civil
and political unrest, economic collapse, anarchy, and war. Lindskoog, Detain and Punish, 132 (citing
Haitian Asylum Seekers: Hearing before the Subcommittee on International Law, Immigration, and
Refugees of the Committee on the Judiciary, House of Representatives, 103rd Congress, 2nd Session, on
H.R. 3663, H.R. 4114, and H.R. 4264, June 15, 1994, 221-222, 233.)


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holding in Plyler v. Doe, 452 U.S. 202 (1982) 127 and a federal district court ruling in FAIR v.

Klutznick, 486 F. Supp. 564 (1980) 128 were “against the law.” 129

        In the 1980s, Senator Lawton Chiles (D-Florida), the drafter of the immigration

provisions of the Anti-Drug Abuse Act of 1988, coordinated with FAIR. An oral history of

Roger Conner reveals that Chiles and his staff helped to brief other members of Congress on an

immigration bill backed by FAIR. Conner specifically recalls that on March 11, 1983:

        We were going around to members of Congress and their staffs, briefing them on our
        positions on an immigration bill because we were anticipating this as coming out of
        committee and we were trying to lay the groundwork for what later would be floor votes
        in both the House and the Senate by going to offices . . . We had a briefing on the 11th of
        March where we had Simpson, Huddleston, and Lawton Chiles speak. 130

Conner’s decision to have Chiles speak most likely stemmed from FAIR’s belief that because of

the “Mariel problem,” the “Florida delegation would always be the strongest delegation for

immigration reform. A combination of the Southerners and the people in Miami who had been

affected by the Mariel flotilla.” 131 Chiles worked with not only Conner and FAIR but also




127
    In Plyler, the Supreme Court struck down a Texas law that prohibited the use of state funds for the
education of undocumented children in the United States. FAIR also filed an amicus brief in Plyer.
128
    In Fair v. Klutznick, the US District Court for the District of Columbia concluded that FAIR lacked
standing to pursue its claim that the “exclusion of illegal aliens from the apportionment population base is
mandated . . . by the Constitution.” FAIR v. Klutznick, 486 F. Supp. 564 (1980).
129
    John Tanton, “Illegal Aliens’ Movement Gains Support,” Daily Record (Morristown, New Jersey),
February 7, 1982, B3.
130
    Roger Conner, Tenth Anniversary Oral History Project for the Federation for American Immigration
Reform, interviewed by Otis Graham Jr., January 27, 1989, box 23, folder 4, Federation for American
Immigration Reform Records, Special Collections MS2195, George Washington University. 131. The
author wishes to thank Dr. Carly Goodman for sharing this source, a copy of which is in her possession.
         Senator Alan Simpson (R-WY) remains on FAIR’s National Board of Advisors to this day; see
https://www.fairus.org/about-fair/board-directors, accessed September 17, 2021. Senator Walter
Huddleston (D-KY) also served on the Board and, upon his death, was highly praised by Dan Stein for his
service to FAIR and his work on immigration policy in the Senate. Dan Stein, “Sen. Walter Huddleston
was a reminder that immigration used to be a bipartisan issue,” The Hill, October 19, 2018.
131
    Roger Conner, Tenth Anniversary Oral History Project for the Federation for American Immigration
Reform, interviewed by Otis Graham Jr., January 27, 1989, box 23, folder 4, Federation for American
Immigration Reform Records, Special Collections MS2195, George Washington University. 131.


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Senator Walter Huddleston (D-KY) who “worked closely with FAIR and other restrictionist

groups, which helped his office draft restrictive immigration bills.” 132

        The bills introduced and co-sponsored by Chiles served FAIR’s immigration policy

agenda. Several of these bills, for example, aimed to reduce immigration and refugee admissions.

As the co-sponsor of a 1981 comprehensive immigration reform bill (S. 776), Chiles criticized

the exclusion of certain migrants—specifically, refugees and recipients of family reunification

visas, from the yearly immigration cap, which, in 1981, was set at 270,000. In turn, he called for

the creation of a 350,000 cap on yearly immigration that would include refugee admissions and

family members of U.S. citizens. On this point, Chiles received Conner’s endorsement.

Testifying on behalf of FAIR before the Select Commission on Immigration and Refugee Policy

(SCIRP), 133 Conner expressed FAIR’s concern that the exclusion of refugees and family

members led to the undue admission of hundreds of thousands of immigrants over and above the

annual immigration cap and, as a response to this purported problem, “support[ed] the kind of

ceiling set in the Immigration and National Security Act of 1981, which is S. 776 and H.R.

2782.” 134

        Later that year, Chiles pursued other approaches to reducing the number of entries into

the United States. In December, Chiles and Huddleston co-sponsored S. 2003 which, in


132
    Tichenor, Dividing Lines, Kindle Loc. 350. Huddleston also firmly supported Reagan’s detention
policy vis-à-vis Haitian refugees in Florida. Lindskoog, Detain and Punish, 53.
133
    The Select Commission helped to define the parameters of immigration law and policy in the 1980s.
Tichenor, Dividing Lines, Kindle Loc. 367. See also Maggie Jane Elmore, “Wielding the Cross: How
Mexican American Organizations and the Catholic Church Made Immigration Reform a Civil Rights
Issue,” in Claiming the Cross: How Mexican Americans, Mexican Immigrants, and the Catholic Church
Worked to Create a More Inclusive National State, 1923-1986 (Ph.D. Diss., University of California at
Berkeley, 2017): 158-189.
134
    Final report of the Select Commission on Immigration and Refugee Policy: joint hearings before the
Subcommittee on Immigration and Refugee Policy of the Senate Committee on the Judiciary and
Subcommittee on Immigration, Refugees, and International Law of the House Committee on the
Judiciary, Ninety-seventh Congress, first session, on the final report of the Select Commission on
Immigration and Refugee Policy, May 5, 6, and 7, 1981, 342, 338.


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Huddleston’s words, sought to close “one of the biggest loopholes in our immigration laws,”

specifically the recently passed Refugee Act of 1980. 135 Expanding upon Huddleston’s claim,

Chiles discussed the “refugee crisis” in Florida and charged that the weaknesses of federal

immigration statutes and immigration authorities placed economic burdens upon the state of

Florida for the care and education of the refugees. Chiles further argued that the remedy included

stronger immigration laws and immigration enforcement capacities, a fixed cap on immigration

to the United States, and the rescission of “special rights” accorded to undocumented immigrants

(which, for Chiles, referred to Mariel Cuban and Haitian asylum seekers in Florida). 136 By

enabling states and localities to assist the federal government in setting the annual refugee

ceiling, S. 2003, Chiles averred, would begin the work of reducing migration to the United

States.

          Two years later, Chiles and Huddleston co-sponsored two bills that intended to staunch

the entries of asylum seekers and refugees through the expansion of the nation’s immigration

enforcement capacities. Although they titled S. 588, “A bill to amend the Immigration and

Nationality Act to prevent the unauthorized entry into, and the transportation to and within, the

United States of illegal aliens,” it clearly targeted the Mariel Cubans and the family members

who had helped them to leave Cuba. 137 The so-called lapses of illegal entry statutes, Chiles

concluded, made it impossible to deter their arrival, as he stated on the floor of the Senate:

          One U.S. district court concluded that the current law against illegal entry only applies to
          “surreptitious entries.” In the court’s view, the thousands of Cubans who came with the


135
    A bill to amend the Immigration and Nationality Act with respect to procedures for the annual
admission of refugees, S. 2003, 97th Cong., December 16, 1981.
136
    127 Cong. Rec. 32202 (December 16, 1981).
137
    A bill to amend the Immigration and Nationality Act to prevent the unauthorized entry into, and the
transportation to and within, the United States of illegal aliens, S. 588, 98th Cong, February 24, 1983. See
also 129 Cong. Rec. 2925-26 (February 24, 1983). On the role of families in the flight of refugees from
Cuba, see Garcia, Havana, USA, Kindle Loc. 668-1148.


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        flotilla did not come surreptitiously and, therefore, those who assisted them were not
        guilty of violating immigration law. 138

Targeting the individuals who assisted the refugees’ entry into the United States, S. 588, then,

created criminal penalties for the “bringing in and harboring of illegal aliens in this country.” 139

        On the same day, Chiles and Huddleston sponsored S. 592, “Immigration Emergency

Powers and Procedures Act of 1983,” which proposed an even more draconian response to the

arrival of asylum seekers and refugees. More specifically, in the event of a sudden increase in

asylum arrivals at the nation’s borders, it authorized the President to declare an immigration

emergency, employ various forms of deterrence (such as the interdiction and/or return of sailing

vessels transporting migrants), enforce the nation’s admission and asylum laws “beyond the

territorial limits of the United States, including the high seas,” and deploy the United States

military to assist in the execution of the stipulated emergency powers. 140 In short S. 592, largely

encompassed the much maligned practices the Reagan administration had already undertaken

vis-à-vis the Haitian refugees. 141 In 1981, the Congressional Black Caucus led the critique of

Reagan’s policy, charging that it violated the Universal Declaration of Human Rights and

“[compared] the forceful return of refugees to Haiti with the United States’ earlier refusal to

accept Jewish refugees fleeing Nazi Germany.” 142 Rep. Shirley Chisholm (D-NY), the chair of

the Caucus’s task force on refugees testified before a Senate committee in July 1981, ‘”We




138
    129 Cong. Rec. 2925 (February 24, 1983).
139
    129 Cong. Rec. 2925 (February 24, 1983).
140
    Immigration Emergency Powers and Procedures Act of 1983, S. 592, 98th Cong, February 24, 1983.
See also 129 Cong. Rec. 2930-31 (February 24, 1983).
141
    It is possible that Chiles and Huddleston proposed this measure because the Reagan administration had
qualms about the lack of statutory authority for its Haitian interdiction program. See Lindskoog, Detain
and Punish, 58-59.
142
    Lindskoog, Detain and Punish, 60.


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cannot hope to retain the respect and admiration of the world if our immigration and refugee

policies are discriminatory on the basis of ideology or skin color.’” 143

        Meanwhile, Chiles continued to sound the alarm about the increasing number of

immigrants, whether legal or undocumented in the United States. During debates regarding a

1982 comprehensive immigration reform bill (S. 2222 144), Chiles argued that legal and

undocumented migrants made undue contributions to the nation’s population growth; he stated,

“In fact, the reports of the Judiciary Committee indicate that the immigration, legal and illegal, is

now amount to 30 to 50 percent of the annual population growth in the United States. Those

figures show us that our present immigration policy is, in fact, not a policy at all.” 145 With

respect to legal immigration, Chiles particularly objected to the large numbers of immediate

relatives of US citizens admitted to the United States and proposed to limit their entries by

counting their admissions against the annual immigration cap. 146 Although Chiles did not

reference any particular racial or national group, his proposal would have singled out Asian and

immigrants who, thanks to the family reunification provisions of the 1965 Immigration and

Nationality Act, constituted one of the fastest growing immigrant groups in the late twentieth

century. As he had in earlier years, Chiles also called for the inclusion of refugee admissions

within the new immigration cap; reiterating Huddleston’s earlier attacks on US refugee policy,

Chiles claimed that this approach would close “one of the loopholes in legal immigration policies

today.” 147 By the mid-1980s, Chiles’s views continued to propagate the eugenicist ideas


143
    Lindskoog, Detain and Punish, 60 (citing Statement by New York member of Congress Shirley
Chisholm, in United States as a Country of Mass First Asylum, 113, 115).
144
    Immigration Reform and Control Act of 1982, S. 2222, 97th Cong, March 17, 1982. Tichenor,
Dividing Lines, Kindle Loc. 371-72.
145
    128 Cong. Rec. S10320 (August 12, 1982).
146
    Chiles specifically stated, “Between 1976 and 1980, the number of immediate relatives increased 40
percent from 114,000 to 152,000.” 128 Cong. Rec. S10322 (August 12, 1982).
147
    128 Cong. Rec. S10323 and S10359 (August 12, 1982).


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elaborated by groups such as FAIR; in a 1985 Time Magazine cover story on the increasing

number of legal and undocumented arrivals, Chiles spoke in an “alarmist” tone about

undocumented migration along the U.S.-Mexico border, stating, “If we do not regain control of

our borders . . . I think that within ten years, we will not recognize the United States as the

United States we see today.” 148

        Finally, like FAIR, Chiles criticized what he characterized as an excessive expansion of

immigrant rights. During the debate regarding S. 2222, he created a sense of anxiety about the

Supreme Court’s decision in Plyler: “The word is going out that the Texas case says we now

provide educational benefits to all illegal alien children.” 149 In a moment when Haitian asylum

seekers vigorously fought against the immigration policies of the Reagan administration

(particularly with respect to detention), 150 Chiles denounced their habeas corpus petitions as

ploys that allowed them to “tie that process up forever”; he further warned:

        If we do not do something to close off the process of allowing the alien to have all the
        constitutional rights of a citizen, then, again, we might as well admit that we have given
        up the game, we might as well get ready for the deluge of people who are going to come
        because that word is beginning to go out. 151

He also firmly supported the ongoing detention of the Haitian asylum seekers, despite clear

empirical evidence and the subsequent decision of the Eleventh Circuit Court that such detention

was racially discriminatory. 152 While testifying in support of S. 2222, he expressed his



148
    Otto Friedrich, Douglas Brew, and Sidney Urquhart, “The Changing Face of America,” Time
Magazine, July 8, 1985, 26.
149
    128 Cong. Rec. S. 10322 (August 12, 1982).
150
    Lindskoog, Detain and Punish, 63-64, 68-69, 71-98.
151
    128 Cong. Rec. S10322 (August 12, 1982).
152
    Jean v. Nelson, 683 F.2d 1311 (11th Cir. 1982). See also, Jeffrey C. Gilbert and Steven Kas, Jean v.
Nelson: A Stark Pattern of Discrimination, University of Miami Law Review, vol. 36, n. 5 (September
1982): 1012. The New York Times compared the Haitian detention to the incarceration of Japanese
Americans during World War II. Lindskoog, Detain and Punish, 72 (citing “Release the Haitians,” New
York Times, April 19, 1982). Prominent legal scholars also condemned immigration detention as did the
United Nations High Commissioner for Refugees, the U.S. Committee for Refugees, the Lawyers


                                                   43
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opposition to the June 1982 decision of federal district court judge Eugene P. Spellman to release

Haitian refugees from detention, 153 “The word is now going out from the Spellman case that we

cannot hold an illegal alien, we cannot detain them while they are seeking to determine their

status.” 154

        In many ways the immigration provisions of the Anti-Drug Abuse Act of 1988 mark the

culmination of Chiles’s efforts to expand federal immigration enforcement capacities to exclude,

deport, and detain asylum seekers, refugees, and immigrants, particularly from Haiti. 155 Indeed,



Committee for Human Rights and fifty-six members of Congress. Lindskoog, Detain and Punish, 29, 86-
89.
153
    Gregory Jaynes, “Parole of Haitians Ordered; U.S. Balks and Sets Appeal,” New York Times, June 30,
1982.
154
    128 Cong. Rec. S10322 (August 12, 1982).
155
          It is important to note that Chiles, Graham, and McCollum pursued aggressive crime control
agendas; Chiles and Graham, for example, were both active participants in the War on Drugs of the
Reagan and Bush eras while McCollum staunchly advocated for the expansion of the death penalty. These
crime control initiatives served a critical purpose for these elected officials as social scientists in the
1970s found that “racial attitudes—not crime rates or likelihood of victimization—are an important
determinant of white support for ‘get tough on crime’ and antiwelfare measures.” The War on Drugs thus
offered lawmakers and their constituents a race-neutral language for expressing their antipathies toward
racial minorities, particularly Black Americans and Black immigrants.
         Indeed, when the Reagan administration announced its War on Drugs, “less than 2 percent of the
American public viewed drugs as the most important issue facing the nation.” (62) By 1985, it seized on
the emergence of crack cocaine (a commodity that was being sold out of economic desperation by
residents of the nation’s deindustrializing cities) as an opportunity to expand its drug war. Whereas other
nations chose to invest in economic revitalization campaigns or drug treatment, prevention, and education
programs, the Reagan administration prioritized “an all-out war on an ‘enemy’ that had been racially
defined years before.” (65) As Alexander explains, Reagan’s rhetoric on drugs, as well as crime and
welfare, enabled him to stoke anti-Black sentiment without explicit references to race. This, in turn,
enabled Reagan to win the votes of working-class whites, former Democrats angered by the perceived
gains made by African Americans in the post-civil rights era.
         The Anti-Drug Abuse Acts of 1986 and 1988 were the legislative centerpieces of Reagan’s
campaign. The former appropriated $2 billion and authorized the military to participate in drug control
efforts, sanctioned the death penalty for certain drug crimes, and weakened the exclusionary rule for drug
trials. The Anti-Drug Abuse Act of 1988 also took an “extraordinarily punitive” (68) approach to drug
crimes by permitting public housing authorities to evict tenants, revoking public benefits such as student
loans, expanding the death penalty for certain drug crimes, and establishing severe mandatory minimum
sentences for drug offenses. Thanks to Chiles, the 1988 law also drew immigrants into the ambit of the
War on Drugs by establishing new criminal penalties for noncitizens convicted of drug offenses and
engaging the INS in the work of drug control.
         Michelle Alexander, The New Jim Crow: Mass Incarceration in the Age of Colorblindness (New
York: New Press, 2012), 61-69.


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it would be one of the last measures Chiles would present before his retirement from the Senate

in 1989 and the commencement of his tenure as the governor of Florida—where he would

continue to pursue his anti-immigrant agenda. Chiles presented the law as an essential tool in the

nation’s war on drugs; by engaging the nation’s immigration laws and the INS in the work of

criminal law enforcement, it would enhance the capacities of the federal government to pursue

and prosecute so-called criminal aliens. It specifically required mandatory detention for those

convicted of aggravated felonies (defined as murder, rape, kidnapping, and drug trafficking);

created a criminal offense for failure to appear at an immigration proceeding; expanded the

criminal penalties against those who assisted immigrants convicted of drug offenses in entering

the United States; enhanced cooperation between state and local law enforcement, the FBI, DEA,

and INS through the sharing of databases regarding criminal offenders; and greatly expanded the

criminal penalties for illegal re-entry.

         As Chiles defended these measures (S. 972, S. 973, S. 974, S. 975, S. 976) in Congress,

he explained how they would help states like Florida penalize undocumented immigrants for the

nation’s putative drug crisis. 156 In so doing, he racially profiled Florida’s Haitian and Jamaican

migrant communities as the sources of the state’s so-called drug problem. Appearing before the

Senate Subcommittee on Immigration and Naturalization to explain the five bills, he began:




156
   S. 972, A bill to amend the Immigration and Nationality Act to require, pending deportation
proceedings, the detention of aliens who have been convicted of aggravated felonies; S. 973, A bill to
provide for additional criminal penalties for deported aliens who reenter the United States, and for other
purposes; S. 974, A bill to impose criminal penalties upon persons who neglect or refuse to appear before
certain proceedings under the Immigration and Nationality Act; S. 975, A bill to impose criminal
penalties against persons aiding aliens violating certain laws to enter the United States; S. 976, A bill to
amend the Immigration and Nationality Act to establish a connection between certain computerized
indexes containing information on deportable aliens.


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        A year ago when I introduced my package on alien felons, I found I had to describe these
        criminals. Today, I simply have to say: Jamaican posses. Haitian crack syndicates. [A]nd
        there is immediate recognition. 157

In describing these “alien felons” the year prior, Chiles once again zeroed in on the role of

Haitian migrants and called witnesses, including local police officials and a police informant,

who supported his claims that Haitians bore responsibility for Florida’s drug trade. 158 At the

same time, the hearings reinforced racist stereotypes of the Haitian refugees as criminals. Thus,

for example, the police informant perpetuated negative images of the refugee community when

he claimed, “Many Haitians are brought into the United States illegally for the sole purpose of

dealing drugs and to recruit other Haitians for the drug business. These dealers are mixed with

political refugees to hide their identity.” 159

        During the Senate subcommittee hearings, the American Civil Liberties Union (ACLU)

challenged Chiles’s claims. In his written testimony, Wade J. Henderson, Associate Director of

the ACLU Washington office, began the organization’s assessment of Chiles’s bills by noting,

         Chiles’ proposals are offered as a modest step at correcting perceived flaws in the
        existing system of immigration law enforcement . . . However, the bills misperceive the
        problem. There is only limited evidence to suggest that the magnitude of the criminal
        alien problem is as significant as the proposed legislation would suggest. 160

He based this conclusion on a November 1987 report from the General Accounting Office that

examined INS enforcement operations vis-à-vis criminal aliens. While the GAO conceded that




157
    United States, Senate, Subcommittee on Immigration and Refugee Affairs of the Committee on the
Judiciary, The Implementation of the Immigration Reform and Control Act, April 14, 1988, Serial No. J-
100-60 (US GPO, 1989), 26.
158
    Illegal alien felons: a federal responsibility: hearing before the Subcommittee on Federal Spending,
Budget, and Accounting of the Committee on Governmental Affairs, United States Senate, One
Hundredth Congress, first session, March 12, 1987.
159
    Illegal alien felons: a federal responsibility, 13.
160
    The Implementation of the Immigration Reform and Control Act, 38.


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INS officials in five cities believed that “alien involvement in crime is a serious problem,” it also

discovered that there was no objective basis for such a belief; as Henderson explained:

       The GAO also found generally that crime statistics identify individuals as foreign-born
       rather than as aliens. Accordingly, the GAO report examined the problem by using FBI
       arrest statistics related to foreign-born individuals (which includes aliens and naturalized
       citizens) reported by law enforcement agencies as an indicator of the problem. As a
       result, in cities which have experienced immigration-related demographic change, the
       percentage of criminal aliens may seem higher in comparison to localities which have not
       experienced such demographic change. 161

Henderson continued to cast doubt on the perceived increase in the number of criminal aliens:

       For example, FBI statistics indicate that in fiscal year 1985, in Harris County (Houston)
       and Los Angeles County, more than 20 percent of the arrests in which the offender’s
       place of birth was known involved foreign-born individuals. In Dade County (Miami) the
       comparable figure was 38 percent. However, each of these localities has recently
       experienced a relatively high volume of immigration and each has changed dramatically
       within the last several years which may render percentage assessments of this kind
       somewhat meaningless. 162

During his spoken testimony, Henderson offered a summary of the above findings and

concluded, “As a result, there are frequently hyperbolic exaggerations of the volume of the

problem which frequently distorts the way Congress and the public look at these issues.” 163

       Henderson then scrutinized each one of Chiles’s bills and concluded that they raised

serious civil liberties concerns and failed to achieve the goals of the nation’s immigration laws.

On this latter point, Henderson observed that the bills “may be counterproductive in terms of our

immigration policy objectives” 164 and singled out S. 973 (which increased the penalties for

illegal re-entries). He specifically wrote:

       The question presented is whether stiffer fines or greater prison terms will itself solve the
       problem presented by the failure to deport “illegal alien felons.” The answer may well be
       that such a proposal will have only a marginal impact on the problem since the real


161
    The Implementation of the Immigration Reform and Control Act, 38.
162
    The Implementation of the Immigration Reform and Control Act, 38-39.
163
    The Implementation of the Immigration Reform and Control Act, 32.
164
    The Implementation of the Immigration Reform and Control Act, 40.


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       difficulty seems to be found in the INS’ inability to adequately identify and apprehend
       persons subject to deportation. 165

As legal scholars have observed, multiple congressional investigations of the criminal alien

removal system traced its weaknesses to INS identification procedures, database systems, and a

lack of detention space. But, reluctant to appropriate the funds to address these implementation

problems and desirous of a quick fix that would satisfy a nativist electorate, Congress repeatedly

chose to curtail the procedural rights of immigrants. 166

        He also criticized the bills as “redundant” since the Anti-Drug Abuse Act of 1986 and

Immigration Reform and Control Act of 1986, in Henderson’s words, “[placed] primary

emphasis on the expeditious removal of aliens convicted of serious crimes.” 167 Henderson ended

his written statement with a broad critique of Chiles’s proposals, asking whether the INS ought

to be involved in the work of drug enforcement in the first place. Indeed, he, referring to an

October 9, 1987 letter from Assistant Attorney General John Bolton to Vice President George H.

W. Bush, observed that there was “some doubt as to the statutory authority of the INS’ drug and

other enforcement activity.” 168 Henderson continued,

       The point here is that the INS has an important responsibility for the enforcement of the
       nation’s immigration laws. The agency was never intended to become a front-line soldier
       in the war on drugs. To the extent that the INS may play a role in the enforcement of
       other criminal laws, this function should not overshadow the agency’s principal mission.
       In that regard, proposals for change in the present immigration law should be evaluated
       first on the merit of its impact on immigration policy. 169




165
    The Implementation of the Immigration Reform and Control Act, 43.
166
    Peter H. Schuck and John Williams, “Removing Criminal Aliens: The Pitfalls and Promises of
Federalism,” Harvard Journal of Law and Public Policy, vol. 22, (1999): 423.
167
    The Implementation of the Immigration Reform and Control Act, 40.
168
    The Implementation of the Immigration Reform and Control Act, 48 (enclosing letter from John R.
Bolton, Assistant Attorney General, to Honorable George Bush, President of the Senate, October 9,
1987).
169
    The Implementation of the Immigration Reform and Control Act, 49-50. On the longer history of the
precise parameters of the INS’s authority, see Kang, INS on the Line, 36-61.


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        Congress continued to debate Chiles’s proposals and the issue of drug trafficking more

generally in a Senate hearing, “Haitian Narcotics Activities,” which was held on May 21, 1988, a

month after Chiles introduced his bills. 170 During the hearing, Edward Piou, Charge D’Affaires

of the Embassy of Haiti criticized lawmakers’ approach to hemispheric drug smuggling as racist.

Piou specifically expressed his nation’s concerns about “attempts to single out [Haiti] for any

special blame” and the “inordinate and undeserved attention that this hearing focuses on the

Haitian people, undeserved attention that reminds us the AIDS propaganda that stigmatizes our

people.” 171 Piou outlined the steps the Haitian nation had taken to assist the United States in

combatting hemispheric drug trafficking and expressed his dismay that the hearing’s organizers

did not extend an invitation to his office; as he testified, “I am, it is true, the representative of a

small country, but of a sovereign country that deserves recognition.” 172 Yet, despite Piou’s pleas,

the hearing continued to perpetuate racist stereotypes of Haitian immigrants by linking an entire

community with criminality. The hearing created a narrative arc whereby Haitian immigrants,

while once deserving of sympathy for the hardships they suffered at the hands of their political

leaders, succumbed to the temptations of the drug trade. 173

        At the same time, the hearing served an important function in validating Chiles’s bills (S.

972, S. 973, S. 974, S. 975, S. 976) as the best solution to the problem of Haitian drug

trafficking. The INS lauded Chiles’s for “look[ing] for loopholes in the existing law that would

allow for Immigration and Naturalization Service to get a better handle on criminal aliens, on

convicted offenders, on re-entrants after previous deportation, or against aliens who have


170
    Haitian narcotics activities: hearing before the Caucus on International Narcotics Control of the United
States Senate, One Hundredth Congress, second session, on the magnitude of Haiti's role as a
transshipment point for narcotics in the United States, May 21, 1988, Miami, FL, 4.
171
    Haitian narcotics activities, 4.
172
    Haitian narcotics activities, 4-5.
173
    Haitian narcotics activities, 6, 12.


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absconded from the present process.” 174 The agency also praised his efforts to expand the

agency’s detention capacities and asserted that S. 973 would put an end to the re-entry of

undocumented drug smugglers: “That is one of Senator Chiles’ provisions. If we can catch those

guys coming back in, and if we can identify them with a different set of identification documents

and nail them, and give them a mandatory 15 or 10 years as opposed to the circular process.” 175

Ultimately, the INS and Chiles won the day as Congress expressed its resounding support for the

Anti-Drug Abuse Act in a 346-11 vote. 176

        The Anti-Drug Abuse Act of 1988 constituted a major turning point in the history of

American immigration law. According to legal scholars Peter Schuck and John Williams, it

“created a new class of criminal alien: the ‘aggravated felon’” 177 and created the foundation for

the ensuing amendments to the criminal penalty provisions of the nation’s immigration laws. 178

These revisions, moreover, failed to expunge the racial animus that drove the passage of the

1988 law. The legislative history of the modifications made in 1990, 1994, and twice in 1996

demonstrate that lawmakers made no effort to examine and acknowledge the legacy of racism

that informed the passage of the Undesirable Aliens Act of 1929, the Immigration and

Nationality Act of 1952, and the Anti-Drug Abuse Act of 1988. Instead, they perpetuated the

anti-Mexican and anti-Black racism that informed the passage of these earlier laws.


174
    Haitian narcotics activities, 44.
175
    Haitian narcotics activities, 42, 49.
176
    Alexander, The New Jim Crow, 68.
177
    Schuck and Williams, “Removing Criminal Aliens,” 434.
178
    See also Keller who writes that after 1987, “crimes of illegal entry and re-entry saw a shift at the
conceptual level, as the crimes were reconceived as a way to target individuals likely to commit crimes
while in the United States illegally.” Doug Keller, “Re-thinking Illegal Entry and Re-Entry,” Loyola
University of Chicago Law Journal, vol. 44 (Fall 2012): 92; Schuck and Williams, “Removing Criminal
Aliens,” 433. Schuck also observes that the 1988 Act “curtail[ed] the procedural rights of aliens” (433); it
specifically, “limited relief for aggravated felons, forced them to file expedited appeals, and subjected
them to more stringent re-entry conditions and penalties. Had a conference with the House not revised it,
the law also would have created an expedited “administrative deportation procedure” allowing for
removal without a hearing before an immigration judge.” (434)


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       While the legislative history of the 1990 amendment to 8 U.S.C. § 1326 is very thin,

another Floridian--Senator Bob Graham (D-FL), sponsored the amendment to the law. Like

Chiles, Graham adopted a hardline strategy on immigration enforcement in response to Mariel

Cuban and Haitian migrants in Florida in the 1980s and 1990s. Prior to taking his seat in the

Senate, Graham served as the governor of Florida where he criticized the federal government for

shifting the costs of immigration law enforcement to states like his own. By 1981, Graham sued

the Reagan administration for failing to prevent the entry of Mariel Cuban and Haitian asylum

seekers and asserted that federal inaction led to the overcrowding of Dade County jails. 179 As he

sought to expand federal immigration enforcement capacities, he occasionally perpetuated racist

stereotypes of Haitians and Cubans as criminals and drug traffickers. Thus, for example, in a

1982 letter President Reagan, Graham wrote:

       More than two years ago, I proposed a plan to return these criminals and other
       undesirables through the gates at our Naval base at Guantanamo Bay. This would show
       that our country is serious and tough with Castro in finding a resolution to a major
       problem. By taking action on the matter of these criminals, you would show all Floridians
       of your concern. 180

By the time Graham joined the Senate in 1987, he continued to characterize Hispanic asylum

seekers in a negative light. As Nicaraguan refugees began making their way from the U.S.-

Mexico border to Florida in 1989, newspapers reported, “Graham told President Reagan in a

message that Florida has suffered enough [and that] ‘America must regain control of its

borders.’” Graham continued by effectively urging asylum seekers to remain at home and




  Graham v. Smith, Case No. 81-1497-CIV-JE (S.D. Fla.).
179

  Jenna M. Loyd and Alison Mountz, Boats, Borders, and Bases: Race, the Cold War, and the Rise of
180

Migration Detention in the United States, 130 (citing Graham to Reagan, September 9, 1982, “Case
097544,” White House Office Records Management Central Files: Subject Files:
Immigration/Naturalization, Ronald Reagan Presidential Library, Simi Valley, California).


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“[abiding] by our strict law on asylum . . . [that] states immigrants must prove persecution at

home in order to be granted asylum.” 181

        In the Senate, Graham quickly joined forces with others seeking to enhance not only

federal immigration enforcement capacities but also local, state, and federal cooperation on the

so-called criminal alien problem. More broadly, Graham, like the drafters of the ADAA, worked

to yoke the nation’s immigration agencies in the work of criminal law enforcement, particularly

to make use of these agencies’ broad legal authority to detain and expel unwanted migrants in the

war on drugs. In May 1988, Graham co-chaired the Senate committee hearing on “Haitian

Narcotics Activities” 182 with Senator Alfonse D’Amato (R-NY) who, like Graham, blamed state

prison overcrowding on noncitizens and worked to obtain federal compensation for their

detention. 183 Together, Graham and D’Amato would lead the legislative effort “to more closely

align state corrections and federal migration authorities.” 184 With Chiles, Graham also co-

chaired a bipartisan task force on law enforcement and interdiction that culminated in the

passage of the ADAA. 185 Upon its passage in November of 1988, Graham described it as taking

“’important steps toward solving a major problem faced by Federal and State criminal justice




181
    Register Wire Services, “Refugee influx pushes Miami to its threshold,” Des Moines Sunday Register,
January 15, 1989, 3A.
182
    Haitian narcotics activities.
183
    Loyd and Mountz, Boats, 132. D’Amato is a key figure in the development of so-called crimmigration
law. Representing a state experiencing high immigrant inflows, D’Amato, like his border state peers,
worked vigorously to expand the nation’s immigration enforcement capacities. In the process, he
contributed to the racialization of immigrants as lawbreakers and criminals which, in turn, enabled him to
justify the deployment of the INS in the work of crime control and the expansion of civil and criminal
penalties vis-à-vis criminal aliens. Loyd and Mountz, Boats, 131-35.
184
    Loyd and Mountz, Boats, 129. On D’Amato’s legislative agenda and the ways it sought to bring local
law enforcement officials into greater coordination with federal officials, see Loyd and Mountz, Boats,
131-42; Schuck and Williams, “Removing Criminal Aliens,” 369-70.
185
    Jacquelyn Swearingen, “Senate Oks alien-felon penalties: Chiles proposed tough measures,” The
Miami Herald, October 16, 1988.


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systems—the problem of how to expeditiously remove from our streets those aliens who are

convicted of murder, or trafficking in drugs and weapons.’” 186

       Yet, many policymakers, including Graham, soon argued that ADAA and the

Immigration Reform and Control Act of 1986 (IRCA) did not go far enough. 187 Indeed, two

prominent investigations of the nation’s deportation system discovered that a lack of resources,

particularly appropriations, prevented the implementation of the ADAA’s criminal alien

provisions. 188 Even before the publication of these reports, however, Graham began preparing

amendments to the law that would remedy the perceived lapses of the ADAA and federal

immigration enforcement more generally. As Graham explained in broader terms, “[a]ll too

often, these nomadic criminals—who are involved in the drug trade—slip away from justice

because they move faster than our immigration system.” 189 These amendments included an

expanded definition of “aggravated felony,” increased enforcement authority for INS officers,

and the removal of aggravated felon noncitizens from eligibility for suspended deportation or

stays of deportation, among others. 190

       Between 1989 and 1990, he sought to incorporate iterations of these amendments into

two drug bills—S. 1711: A bill to implement the President’s 1989 National Drug Control

Strategy and S. 2652: National Drug Control Strategy Implementation Act of 1990. In addition,



186
    Loyd and Mountz, Boats, 134 (citing Feldman, 202).
187
    The Immigration and Reform Control Act of 1986 was a comprehensive immigration reform measure
that aimed to control undocumented immigration. See Tichenor, Dividing Lines, Kindle Loc. 326-421.
188
    Schuck and Williams, “Removing Criminal Aliens,” 434-435; Criminal aliens : hearing before the
Subcommittee on Immigration, Refugees, and International Law of the Committee on the Judiciary,
House of Representatives, One Hundred First Congress, first session, on H.R. 3333, November 1, 1989;
United States, General Accounting Office, Report to the Chairman, Subcommittee on Immigration,
Refugees, and International Law, Committee on the Judiciary, House of Representatives: Immigration
Control, Deporting and Excluding Aliens from the United States, October 26, 1989.
189
    United States, General Accounting Office, Immigration Control, Deporting and Excluding Aliens from
the United States, October 26, 1989, 132.
190
    136 Cong. Rec. 35621 (October 26, 1990).


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during the debates regarding S. 1711, Graham and D’Amato co-sponsored S. Amdt 972 (“To

direct the United States Sentencing Commission to establish penalties that constitute a

meaningful deterrence to deported aggravated felons reentering the United States” 191), a “ ‘sense

of the Congress’ recommendation to the Federal Sentencing Commission that would upgrade the

penalty for an aggravated criminal felon who after conviction returns to the United States in

violation of Federal law.” 192 Although neither S. 1711 nor S. 2652 became law, Graham’s

amendments found a place in S. 358, which would become the Immigration Act of 1990. 193 It is

also likely that his “sense of the Congress” recommendation to the Federal Sentencing

Commission led to the 1990 modifications of 8 U.S.C §1326.



Part III: Violent Crime Control and Law Enforcement Act (1994) and the Antiterrorism and

Effective Death Penalty Act (1996)

Historical Background

       By the 1990s, Floridians, once again, led the effort to revise 8 U.S.C §1326. Representing

a deeply conservative and predominantly white district in Central Florida, Rep. Bill McCollum

(R-FL) authored the 1994 and 1996 revisions to §1326. These revisions, in conjunction with his

contributions to the 1996 Antiterrorism and Effective Death Penalty Act, marked the pinnacle of

a career dedicated to the reconfiguration of the nation’s criminal and immigration laws. 194 As




191
    135 Cong. Rec. S12799 (October 5, 1989).
192
    Criminal aliens: hearing before the Subcommittee on Immigration, Refugees, and International Law of
the Committee on the Judiciary, House of Representatives, One Hundred First Congress, first session, on
H.R. 3333, November 1, 1989, 120.
193
    Immigration Act of 1990, P.L. 101-649, United States Statutes at Large 104 (1990): 4978-5088.
194
    According to Schrag, McCollum’s district was 81% white. Philip G. Schrag, A Well-Founded Fear:
The Congressional Battle to Save Political Asylum in America (New York: Taylor and Francis Group,
2000), 44; James G. Gimpel and James R. Edwards, Jr. The Congressional Politics of Immigration
Reform (Needham Heights, MA: Allyn and Bacon, 1999), 164.


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McCollum explained in a 1993 C-SPAN interview, he adopted a “weed and seed” approach to

crime control. 195 Rather than implement programs that focused on crime prevention, he

vigorously supported harsh punitive measures that would effectively remove a wide range of

convicted individuals from civil society. He specifically sought to limit habeas corpus appeals in

death penalty cases, enable the use of evidence collected in violation of the exclusionary rule,

abolish parole through “truth-in-sentencing” measures, implement “three strikes” sentencing

rules that mandated life imprisonment for repeat offenders, and incarcerate children and

teenagers. 196 At the same time, McCollum applied the logic and language of the criminal law to

his immigration law enforcement proposals, especially because he believed that many asylum

seekers and refugees were lawbreakers and criminals. As he sought to end what he called the

“revolving door” in the criminal law context, he also pursued tough criminal penalties for

undocumented entry and re-entry. He harbored few qualms about the indefinite detention of low-

level offenders, children and teenagers, asylum seekers, and undocumented immigrants or, in his

words, “lock[ing] them up and throw[ing] away the key.” 197 To eliminate what he considered

time-consuming and frivolous appeals, McCollum worked vigorously to end collateral attacks in

death penalty appeals and in challenges to deportation orders.

        In their empirical analysis of late twentieth century congressional debates, Smita Ghosh

and Mary Hoopes found that “asylum policy was transformed by congressional rhetoric that




195
    Crime Legislation, C-SPAN, November 3, 1993, https://www.c-span.org/video/?52008-1/crime-
legislation, accessed December 1, 2021.
196
    With respect to the latter, McCollum stated on the floor of the House, “. . . these violent youthful
offenders, young people 12, 13, 14, 15 years of age. We need to take those very violent criminals,
whatever age they are off the streets, lock them up and throw away the key.” 139 Cong. Rec. 30466
(November 19, 1993).
197
    139 Cong. Rec. 30466 (November 19, 1993).


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stigmatized asylum seekers as dangerous, risky criminals.” 198 McCollum played a critical role in

this shift. His efforts were buoyed by the rampant xenophobia of the 1990s that was triggered by

a confluence of factors, including an economic recession, the bombing of the World Trade

Center in February of 1993, the arrival of nearly 300 Chinese asylum seekers on the Golden

Venture a few months later, the 1995 bombing of the Alfred P. Murrah Federal Building in

Oklahoma City, and increases in legal and undocumented immigration that had changed the

demography and culture of communities throughout the nation. While anti-Haitian and anti-

Cuban efforts informed McCollum’s immigration enforcement agenda, he found common cause

with legislators, particularly from border states, who lobbied for tough sanctions against

undocumented Mexican immigrants. Their combined efforts led to the amendment of §1326

under the VCCLEA in 1994 and AEDPA in 1996.

       During his twenty years in Congress, McCollum worked tirelessly to pass laws that

blocked the admission of refugees and asylum seekers and curtailed their rights in the United

States. Attuned to the anti-immigrant sentiments of his Florida constituents, McCollum

supported legislation that took an enforcement-minded rather than humanitarian approach to the

arrival of Cuban and Haitian asylum seekers. At the same time, his legislative agenda reflected

an aversion toward Latin American migrants in general; the arrival of Salvadoran and

Nicaraguan asylum seekers and undocumented immigrants from Mexico drove McCollum to

pursue harsh sanctions for unauthorized entry and severely limit access to asylum. McCollum’s

sustained attack on Latin American migration led many observers to criticize his immigration

policy proposals for their racially discriminatory impacts and the racist ideas that informed them.



  Smita Ghosh and Mary Hoopes, “Learning to Detain Asylum Seekers and the Growth of Mass
198

Immigration Detention in the United States,” Law and Social Inquiry, vol. 46, n. 4 (November 2021):
1013.


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       McCollum’s stand on Latin American migration often aligned him with FAIR. Indeed,

very early in his term, he appeared to be working with them on a 1983 measure that would strip

undocumented immigrants of welfare benefits. 199 In the ensuing years, he would go on to co-

sponsored or endorse measures drafted by FAIR. His own bills occasionally received FAIR’s

endorsement. While FAIR publicly described its legislative agenda in race-neutral terms, by the

mid-1980s, its position on Latin American migration became widely known with the leak of the

WITAN memos, a series of writings by Tanton and Connor. 200 Law professor Philip Schrag

describes Tanton’s views as follows:

       Tanton had agonized over the supposed consequences of Latin American immigration.
       “Will Latin American migrants bring with them the tradition of the mordida (bribe), the
       lack of involvement in public affairs, etc?” the memo asked. It suggested that if Latin
       American Catholics reproduce more quickly than other citizens and “get a majority of the
       voters,” they might “pitch out” the concept of the separation of church and state. And on
       the declining political influence of older immigrant groups with lower rates of
       reproduction than Hispanic Americans, Tanton’s memo warned that “this is the first
       instance in which those with their pants up are going to get caught by those with their
       pants down.” 201

In the early 1980s, McCollum came to prominence for his unrelenting opposition to legalization,

a procedure that, at the time, would principally benefit Hispanic immigrants in the United States.

FAIR supported McCollum by giving him the chance to educate fellow members of Congress

about the issue during a FAIR-sponsored congressional briefing held at the House Rayburn



199
    Barnaby Zall, Federation for American Immigration Reform, to Hon. Bill McCollum, Esq. and Hon
Hal Daub, Esq., March 18, 1983, box 23, folder 4, Federation for American Immigration Reform
Records, Special Collections MS2195, George Washington University.
200
     WITAN stands for “witenagemot,” an old English word for a council of wise men. Tanton and
Connor wrote the memos in 1986 and they were leaked shortly thereafter. The memos explain Tanton’s
views on immigration policy, his plans for gaining influence in Congress and the judiciary to implement
his policy agenda, and the racism that informed his immigration policy goals. Deepa Fernandes,
Targeted: Homeland Security and the Business of Immigration (New York: Seven Stories Press, 2007),
212.
201
    Schrag, A Well-Founded Fear, 42. For a copy of the WITAN memo cited by Schrag, see:
https://www.splcenter.org/fighting-hate/intelligence-report/2015/witan-memo-iii, accessed September 17,
2021.


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office on June 4, 1984. 202 FAIR also endorsed his so-called killer amendment or his aggressive

effort to strike the legalization provisions of a 1984 comprehensive immigration reform bill. 203

Two years later, McCollum himself drew upon anti-Hispanic sentiments in a failed attempt to

quash the legalization provisions of the 1986 IRCA; along with Rep. Henry Hyde (R-IL), he

stoked racist fears that legalization would ultimately lead to the migration of one-third to one-

half of the entire population of Mexico to the United States. 204

        McCollum further promoted an anti-Hispanic immigration policy agenda by serving as

one of the original co-sponsors of H.J. Res. 96, “A joint resolution proposing an amendment to

the constitution of the United States establishing English as the official language of the United

States.” 205 Introduced on January 24, 1985 by Rep. Norman Shumway (R-CA), the measure was

backed by U.S. English, an organization founded by Tanton to challenge “self-serving ethnic

politicians” who promoted multilingual education and election ballots. 206 As explained in a 1986

Miami Herald story about U.S. English, Tanton perceived multilingual education as a threat

because it preserved “’language ghettos’ of non-English speakers who vote as they were told.” 207

Although Shumway, who currently serves on the U.S. English Advisory Board, denied that anti-

Hispanic sentiment informed the measure, his description of the widespread use of the Spanish

language in Los Angeles suggested otherwise. 208 In a 1985 interview, he recounted:


202
    Agenda, Immigration Reform Briefing, June 4, 1983, box 30, folder 8, Federation for American
Immigration Reform Records, Special Collections MS2195, George Washington University.
203
    “Immigration amnesty provision will have House test Tuesday,” The El Paso Times, June 18, 1984,
A6; see also, “Immigration bill scheduled for major surgery,” St. Petersburg Times, August 19, 1984, A3.
204
    132 Cong. Rec. H9785 (October 9, 1986). See also, Bill Ong Hing, “No Place for Angels: In Reaction
to Kevin Johnson,” University of Illinois Law Review, vol. 2000, n. 2 (2000): 600.
205
    William E. Gibson, “Rule sought in Congress on making English official,” South Florida Sun Sentinel
(Fort Lauderdale, Florida), January 31, 1985, A6.
206
    Chris Chrystal, “Resolutions would designate English as official language,” Argus-Courier (Petaluma,
California), April 24, 1985, B4; William Trombley, “English-only proposition traced to small resort city
in Michigan,” The Miami Herald, October 21, 1986, A16.
207
    Trombley, “English-only proposition,” A16.
208
    See https://www.usenglish.org/advisory-board/, accessed September 17, 2021.


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        I was appalled to see that department stores in downtown Los Angeles have ads in their
        windows all in Spanish, the music inside the stores is all music you’d expect to here [sic]
        in Mexico. It’s Latin music. The whole commercial sector of Los Angeles – at least
        where I was – was just totally devoted to something non-English, non-American. 209

Meanwhile, other policymakers criticized U.S. English and its federal and state English-only

campaigns as xenophobic and racist; Jerry Tinker, an aide to Sen. Edward Kennedy (D-MA),

observed, “Long before they took the garb of U.S. English, this [FAIR] was an anti-immigrant

outfit . . .and their newsletters contained barely disguised racism.” 210 Author Norman Cousins

reinforced Tinker’s point when, in October 1986, he resigned from the board of U.S. English

because its campaigns “denigrated and demeaned” Latinos and other racial minorities. 211

        As further indicators of McCollum’s anti-Hispanic animus, he co-sponsored measures

that would deny birthright citizenship to children of undocumented immigrants. Advocates of

these measures argued that they would enable border states like California and Florida to

mitigate the supposed financial burdens created by undocumented immigration. 212 More broadly,

they sought to divest migrants of what they characterized as a reward (birthright citizenship) for

violating the nation’s immigration laws. 213 In response, critics frequently charged that these bills

were racially discriminatory, as Rep. Jose Serrano forcefully explained (D-NY) during a debate

over a bill co-sponsored by McCollum:

        This issue is part of the misguided immigrant bashing that is taking place in this country .
        . . this is also directed at the perception that there is a large number of Hispanics in the

209
    “Congressmen revive bid for official language,” Calgary Herald (Calgary, Alberta, Canada), January
31, 1985, D16.
210
     Trombley, “English-only proposition,” A16.
211
     Trombley, “English-only proposition,” A16.
212
    Societal and Legal Issues Surrounding Children Born in the United States to Illegal Alien Parents,
Joint Hearing before the Subcommittee on Immigration and Claims and the Subcommittee on the
Constitution of the Committee on the Judiciary, House of Representatives, One Hundred Fourth
Congress, First Session, on H.R. 705, H.R. 1362, H.J. Res 56, H.J. Res. 64, H.J. Res. 87, H.J. Res 88, and
H.J. Res, 93, December 13, 1995, 23-25, 40.
213
    “Societal and Legal Issues Surrounding Children Born in the United States to Illegal Alien Parents,”
23-25, 40.


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        country. This is not about people coming from Europe . . . If everyone in this country
        were coming from Europe right now, we would not be having these discussions right
        now. We’re concerned about language and the browning of America. 214

Despite these objections, McCollum repeatedly endorsed these bills. On January 23, 1996, he

elected to co-sponsor H.J. Res. 93 “Proposing an amendment to the Constitution of the United

States to provide that no person born in the United States will be a United States citizen unless a

parent is a United States citizen, is lawfully in the United States, or has a lawful immigration

status at the time of the birth” that was introduced by Rep. Mark Foley (R-FL) on May 5,

1995. 215 A year later, McCollum co-sponsored Rep. Brian Bilbray’s (R-CA) H.R. 7 “Citizenship

Reform Act of 1997,” which was introduced on January 7, 1997. 216

        For much of his career, McCollum also worked assiduously to transform the nation’s

asylum system to deter the entry of refugees from countries of the Global South. Claiming that

these migrants were not refugees but instead economic migrants and undocumented immigrants,

McCollum adopted a punitive rather than humanitarian approach to asylum seekers. In the early

1980s, he focused his efforts on Cuban and Haitian refugees in Florida and, in a 1982 speech

delivered before the Dade City Chamber of Commerce, offered a crude overview of his

legislative strategy when he recommended that President Reagan “find a hole in our fence at

Guantanamo and push these aliens [Cuban refugees] through it. And maybe we can do

something similar with the Haitians.” 217 In the months following the speech, McCollum




214
    “Societal and Legal Issues Surrounding Children Born in the United States to Illegal Alien Parents,”
62-63.
215
    In 2006, Foley abruptly resigned from his seat after the media alleged that he had been sending
sexually explicit internet messages to under-age Congressional pages. Kate Zernike and Abby
Goodnough, Lawmaker Quits Over Messages Sent to Teenage Pages, September 30, 2006,
https://www.nytimes.com/2006/09/30/us/30foley.html, accessed November 30, 2021.
216
    Bilbray currently serves on FAIR’s National Board of Advisors. See: https://www.fairus.org/about-
fair/board-directors, accessed September 17, 2021.
217
    Andy Taylor, “A Bum Rap? ‘Marielista’ fears unwarranted,” Tampa Tribune, March 3, 1982, A1.


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sponsored two bills that aimed to make his harsh recommendations a reality. H.R. 7234, “The

Immigration Emergency Act,” imbued the President with the authority to declare an

“immigration emergency” in response to future inflows of refugees and deploy the military to

carry out emergency orders. The bill would have also conferred explicit legal sanction for the

indefinite detention of migrants pending a determination of their admissibility. 218 Introduced a

year later in 1983, H. Con. Res. 215, recommended the return to Cuba those refugees

incarcerated in local, state, and federal prisons. 219

        Although neither of these proposals became law, McCollum was undeterred. Each new

group of asylum seekers from the Global South seemed to spur McCollum into action as he

sponsored additional measures that would block access to asylum and other humanitarian

protections for refugees. In response to the presence of 921 Nicaraguan refugees in Miami,

McCollum, between 1984 and 1989, proposed three bills that would enable immigration officers

to summarily exclude individuals suspected of making fraudulent asylum claims. While

McCollum expressed his sympathy for the plight of the refugees, he claimed that at least 50%

were economic migrants. McCollum further claimed that the 971 Nicaraguan refugees in Miami

imposed undue financial burdens estimated at $21 million.220 By 1990, McCollum emerged as

the main opponent of the law that would create temporary protected status (TPS); refusing to

refer to the prospective beneficiaries of the measure as refugees or even migrants, McCollum

described them as “El Salvador, Lebanon, Liberia, and Kuwait illegals” and “the illegals who are

here from Nicaragua.” In so doing, McCollum connoted that TPS unfairly benefited


218
    H.R. 7234, Immigration Emergency Act (September 30, 1982) McCollum introduced a similar
measure in 1983—H.R. 2304, Immigration Emergency Act (March 23, 1983).
219
    98 H. Con. Res. 215, Concurrent resolution to express the sense of Congress regarding the return to
Cuba of certain Cuban nationals who arrived in the Mariel boatlift and are currently incarcerated in the
United States (November 10, 1983).
220
    Rep. Bill McCollum, “U.S. Asylum Stretched too far,” The Miami Herald, February 5, 1989, C4.


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lawbreakers. 221 During the TPS debates, McCollum also argued that if these individuals needed

humanitarian protection such protections might be pursued through an application for asylum. 222

        This recommendation, however, rang hollow, particularly given McCollum’s ensuing

effort to bar the entry of Haitian refugees fleeing the violence and persecution that resulted from

the military overthrow of Father Jean-Bertrand Aristide, Haiti’s first democratically elected

president. As in the 1980s, McCollum, in 1991, supported measures that “impeded the flow of

immigration from Haiti and other ‘third world’ nations.” 223 At the federal level, the Bush

administration, like the Carter and Reagan administrations, insisted that the Haitians were

economic migrants rather than asylum seekers. Disinclined to take seriously Haitian asylum

claims, the administration authorized the US Coast Guard to intercept Haitian boats on which the

INS then conducted five-minute interviews and made an initial determination as to whether an

applicant had a credible fear of persecution. 224 Arguing that these abbreviated asylum

proceedings failed to meet the standards established under domestic and international law, the

Haitian Refugee Center of Miami won an injunction against the refugees’ return to Haiti. 225 Yet,

in response, the Bush administration created a refugee camp at a US navy base in Guantanamo


221
    136 Cong. Rec. 27129 (October 2, 1990).
222
    Commentators have observed that in making this claim, McCollum either ignored or failed to
understand that the conditions that qualified individuals for TPS status (typically war and natural
disasters) would not have rendered them eligible for refugee and asylum status under US law. Andrew I.
Schoenholt, The Promise and Challenge of Humanitarian Protection in the United States: Making
Temporary Protected Status Work as a Safe Haven, Northwestern Journal of Law and Social Policy, vol.
15, n. 1 (Fall 2019): 10.
223
    Carl Lindskoog, Detain and Punish, 105 (citing Christopher Mitchell, “The Political Costs of State
Power: U.S. Border Control in South Florida,” in The Wall around the West: State Borders and
Immigration Controls in North America and Europe, edited by Peter Andreas and Timothy Snyder
(Lanham, Md.: Rowman and Littlefield, 2000), 89-91; Reimers, Unwelcome Strangers, 30).
224
    Those who passed this initial screening were taken to the United States for a regular asylum interview.
But Schrag reports that the INS returned a majority to Haiti after determining that they were economic
migrants or individuals fleeing general conditions of political unrest rather than persecution. Schrag, A
Well-Founded Fear, 36. For more on the interdiction and detention policies adopted by the Bush
administration vis-à-vis the Haitians, see Lindskoog, Detain and Punish, 99-125.
225
    Schrag, A Well-Founded Fear, 36.


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Bay, Cuba. 226 Seeking an even more powerful deterrent to Haitian arrivals, Bush dismantled the

refugee camps at Guantanamo and issued his “Kennebunkport Order,” which instructed the

Coast Guard to “surround Haiti” and force fleeing refugees back to that country. 227 Since the

refugees were unable to reach US soil, the Bush administration argued that domestic and

international refugee law protections did not apply. 228

        During his presidential campaign, Bill Clinton condemned the Kennebunkport Order and

promised to end the policy. But, upon taking office, he reversed course after the Bush

administration “put forth exaggerated estimates” that 200,000 to 500,000 Haitian refugees”

planned to sail to the US during his inauguration and FAIR ran xenophobic radio ads in Florida

and Georgia about the Haitian arrivals. 229 Clinton further expanded the enforcement-minded

approach of his predecessors by continuing to detain Haitian and Cuban asylum seekers at

Guantanamo. Ultimately, Clinton decided to invade Haiti and restore Aristide to power,

believing that military intervention would bring stability to the nation and deter the departure of

Haitians for America’s shores. 230

        In a television interview, McCollum lauded the Bush and Clinton administrations for

their Haitian policies, stating,

        And I frankly believe also that it’s a problem for us in the sense that if we did not
        intercept the Haitian boat people and either repatriate them forcibly, as President Bush


226
    On the summary screening procedures and poor conditions at Guantanamo, see Schrag, A Well-
Founded Fear, 36; Lindskoog, Detain and Punish, 99-125.
227
    As Schrag explains, “When Coast Guard cutters arrived with refugees in the harbor at Port-au-Prince,
the Coast Guard officers used fire hoses to force them off the boats, into the hands of Haitian military
officials who were waiting to arrest them.” Schrag, A Well-Founded Fear, 36.
228
    A federal appeals court issued an injunction against the implementation of the Kennbunkport Order.
But the Supreme Court later stayed and reversed the injunction. Schrag, A Well-Founded Fear, 37.
229
    Joseph Nevins, Operation Gatekeeper: The Rise of the “Illegal Alien” and the Making of the U.S.-
Mexico Boundary (New York: Routledge), 88; Schrag, A Well-Founded Fear, 38; Lindskoog, Detain and
Punish, 188.
230
    On Clinton’s decision to continue detaining Cubans and Haitians at Guantanamo, see Lindskoog,
Detain and Punish, 115-131. On his invasion of Haiti, see Lindskoog, Detain and Punish, 124.


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        was doing and President Clinton did up until just recently, or do some other alternative
        that’s constructive, these boat people would come to Florida, and would inundate our
        state, as many of them have been doing. 231


He also contributed to their efforts by taking legislative action. From the late 1980s to the early

1990s, McCollum repeatedly introduced bills to bar the entry of individuals diagnosed with

AIDS 232-- bills that fueled racist stereotypes by associating Haitians with illness and disease. 233

By 1993, lawmakers used the language of one of these bills, H.R. 985 (“To include infection

with the agent for acquired immune deficiency syndrome as a communicable disease of public

health significance for which an alien is excludable under the Immigration and Nationality

Act” 234) to codify the exclusion of HIV-positive immigrants under the National Institutes of

Health Revitalization Act of 1993. 235 In so doing, they wrested control over the determination of

the excludability of AIDS sufferers from the Public Health Service (PHS). The agency garnered

the ire of anti-immigrant lawmakers when it proposed to lift the AIDS exclusion applied to HIV-

infected Haitians at Guantanamo between 1991 and 1993. 236 Concern for the well-being of the

Haitians as well as the unscientific premises of the exclusion motivated the agency’s



231
    Interview with Senator Bill McCollum, ABC News This Week With David Brinkley, ABC, July 10,
1994.
232
    These included H.R. 2590, A bill to amend the Immigration and Nationality Act to clarify that
immigrant visas may not be issued to aliens who are infected with the etiologic agent for acquired
immune deficiency syndrome,” introduced on June 3, 1987, and H.R. 278, To amend the Immigration and
Nationality Act to clarify that immigrant visas may not be issued to aliens who are infected with the
etiologic agent for acquired immune deficiency syndrome, introduced on January 3, 1989.
233
    On a 1983 “flawed declaration” by the Centers for Disease Control that created the racist stereotype of
Haitians a high-risk group for AIDS, see Lindskoog, Detain and Punish, 105.
234
    McCollum introduced H.R. 985 on February 18, 1993.
235
    National Institutes of Health Revitalization Act of 1993, Pub. L. 103-43, 107 Stat. 122 (1993). For an
account of the congressional debates regarding the 1993 Act and the inclusion of H.R. 985, see, Juan P.
Osuna, “The Exclusion from the United States of Aliens Infected with the AIDS Virus: Recent
Developments and Prospects for the Future,” Houston Journal of International Law, vol. 16, n. 1 (Fall
1993): 18-39.
236
    On the HIV exclusion, see Michael Ratner, “How We Closed the Guantanamo HIV Camp: The
Intersection of Politics and Litigation,” Harvard Human Rights Journal, vol. 11 (1998): 187-220.


                                                    64
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recommendation; more specifically, the agency’s research demonstrated that “[t]he risk of (or

protection from) HIV infection comes not from the nationality of the infected person, but from

the specific behaviors that are practiced.” 237 In response, conservative lawmakers such as Connie

Mack (R-FL) argued that the admission of the detained Haitians would impose unfair fiscal

burdens on their states. 238

        Senator Ted Kennedy (D-MA) rebutted these arguments by observing that immigrants

with other types of diseases, such as kidney failure and cancer, were not excluded due to cost

concerns. He further cited to recent immigrant admission statistics to deflect claims that the

lifting of the ban would result in the admission of thousands of HIV noncitizens. 239 Finally, he

argued that anti-Haitian racism and homophobia inspired the HIV ban: “[W]hat the supporters of

the Nickles amendment are saying--and we all know what they are saying here today-- is you

have 268 black Haitians in Guantanamo Bay, 40 children and 2 have HIV, and 20 pregnant

women . . . The proponents of this amendment say, 'Send them back. Send them back. We do not

care'.” 240 By June 1993, the Clinton administration paroled 139 HIV-infected Haitians who had

been held at Guantanamo since early 1992; yet the administration did so without challenging the

new HIV exclusion.



237
    Osuna, “The Exclusion from the United States of Aliens Infected with the AIDS Virus,” 19. Yet, in
response to the outcry about its proposal, the PHS reversed course and retained HIV on its list of
communicable diseases. Widespread public criticism of its reversal ensued; Rep. Jim McDermott (D-
Wash.) charged, “[o]ur immigration policy toward HIV infected people reflects the Bush administration’s
continuing capitulation to hysteria, bigotry, and irrational fear.” Perhaps most prominently, the Eighth
Annual Conference on AIDS moved its conference to Amsterdam in protest of the revived PHS ban.
Osuna, “The Exclusion from the United States of Aliens Infected with the AIDS Virus,” 20-21 (citing 138
Cong. Rec. H6253 (daily ed. July 21, 1992) (statement of Rep. Jim McDermott (D-Wash.)).
238
    Osuna, “The Exclusion from the United States of Aliens Infected with the AIDS Virus,” 30 (citing 139
Cong. Rec. S1766 (daily ed. February 18, 1993)).
239
    Kennedy observed that “only 450 out of 700,000 immigrants tested positive for the AIDS virus and
were thus excluded. Last year only 600 tested positive.” Osuna, “The Exclusion from the United States of
Aliens Infected with the AIDS Virus,” 31.
240
    Osuna, “The Exclusion from the United States of Aliens Infected with the AIDS Virus,” 31-32.


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          In a 1994 televised interview with ABC News host David Brinkley, Carrie Meek (D-FL),

a recently elected congresswoman and member of the Congressional Black Caucus, challenged

McCollum’s anti-Haitian policies, 241 alleging that they created a “double standard” between

Haitians and other immigrants:

          I think we need to remember that the Haitian immigration is less than six percent of the
          total immigration coming into the United States. There’s a loud furor about Haitians but
          not about other immigrants. Certainly, there is a double standard between the
          immigration policies as they are inflicted upon Haitians vis-à-vis Cubans and other
          immigrants. I think it’s an unfair policy and it should be corrected. 242

Meek also contested McCollum’s claim that the Haitians were economic migrants, arguing that

they, like Cubans, were asylum seekers fleeing political persecution particularly given the

documented and widespread violence inflicted upon the Haitian people by coup leader

Lieutenant General Raoul Cedras and the military. McCollum was unmoved by Meek’s appeals.

On the eve of the US invasion of Haiti, McCollum recommended that Clinton assist Aristide in

establishing a new government on a neighboring island--an island that, in lieu of the United

States, would serve as an asylum for Aristide’s supporters.

          By the 1990s, McCollum’s restrictionist initiatives received a boost from the virulent

xenophobia that emerged as a result of an economic recession, the first bombing of the World

Trade Center, the arrival of Chinese asylum seekers in New York City in 1993, the Oklahoma

City bombing, and increases in both the legal and undocumented immigrant population in the

United States, among others. Capturing the popular mood, the headline on the April 1990 cover

of Time magazine declared, “America’s Changing Colors: What Will the U.S. Be Like When

Whites Are No Longer the Majority?” and depicted an image of an American flag composed of




241
      Interview with Senator Bill McCollum.
242
      Interview with Senator Bill McCollum.


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black, brown, and yellow stripes 243 Meanwhile public opinion polls traced Americans’

increasing hostility toward migrants as an unprecedented 54 percent expressed their support for a

reduction in immigration in 1992; that figure grew to 61 percent in 1993 and 65 percent in

1994. 244 Placing these statistics in perspective, Joseph Nevins writes: “Although opinion polls

have consistently shown that since 1945 Americans have wanted lower levels of immigration,

the 1993 results reflected the highest level of hostility toward immigrants ‘since the heyday of

nativism in the 1920s.’” 245 Right wing intellectuals flourished in this milieu, publishing best

sellers that “promoted a white supremacist and nativist . . . . vision of the United States.” 246

White nationalist Peter Brimelow characterized the arrival of new migrants from Africa, Asia,

and Latin America as “de facto discrimination against Europe” and called for the restoration of

the nation’s “specific ethnic core. . . And that core has been white.” 247 Summing up the

xenophobia of the 1990s, one New York Times reporter wrote, “Americans have felt freer to

voice a rude inhospitality that at other times they might have considered racist or at least

xenophobic.” 248

       Yet, as Lee observes, the anti-immigrant sentiment of the 1990s “did not treat all new

immigrants the same.” 249 Thus, while Asian immigrants were increasingly represented as so-

called model minorities, Latin American migrants—and particularly Mexican migrants—were



243
    Time, April 9, 1990, vol. 135, n. 15,
http://content.time.com/time/magazine/0,9263,7601900409,00.html, accessed November 19, 2021.
244
    Coleman, The Walls Within: The Politics of Immigration in Modern America (Princeton: Princeton
University Press, 2021), Kindle Loc. 109.
245
    Nevins, Operation Gatekeeper, 90.
246
    Lee, America for Americans, Kindle Loc. 278.
247
    Lee, America for Americans, Kindle Loc. 278 (citing Peter Brimelow, Alien Nation: Common Sense
About America’s Immigration Disaster (New York; Harper Perennial, 1995), xvi, xvii, 79, 219 [emphasis
in original]).
248
    Coleman, The Walls Within, Kindle Loc. 109 (citing Debora Sontag, “Calls to Restrict Immigration
Come from Many Quarters,” New York Times, December 13, 1992).
249
    Lee, America for Americans, Kindle Loc. 260.


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represented in negative terms that cemented the association between a Mexican identity and

undocumented status. 250 Indeed, numerous studies found that from the 1960s to the 1990s, the

media “paired the terms “undocumented, illegal, and unauthorized with Mexico or Mexican

immigrants and crisis, flood, or invasion.” 251 Undocumented Mexican migrants, moreover, were

blamed for nearly all of the nation’s economic, social, and political problems. 252 Conservative

writers and policymakers also believed that Mexican immigrants, unlike European immigrants,

were incapable of adjusting or assimilating to American society. 253 Former presidential candidate

and political commentator Patrick Buchanan revived the early twentieth century eugenicist

notion of “race suicide,” arguing that declining white birth rates and increasing Mexican birth

rates would render Americans of European descent a minority in a nation that supposedly

belonged to them. 254 Given the popular embrace of anti-immigrant sentiment, politicians and

policymakers began to adopt stronger approaches to immigration law enforcement, particularly

with respect to asylum seekers and undocumented immigrants.

       In the early 1990s, the battle for stronger border enforcement measures began at the state

and local level where FAIR and other restrictionist organizations launched grassroots


250
    Lee, America for Americans, Kindle Loc. 260. On the ways in which the model minority myth was
used to mask the ongoing racism faced by Asian Americans, denigrated African Americans, and
promoted the notion of a colorblind society, see Ellen Wu, The Color of Success: Asian Americans and
the Origins of the Model Minority (Princeton: Princeton University Press, 2015).
251
    Emphasis in original. Lee, America for Americans, Kindle Loc. 261. (citing Leo Chavez, The Latino
Threat: Constructing Immigrants, Citizens, and the Nation (Stanford, CA: Stanford University Press,
2013), 24, 27, 31-33; Otto Santa Ana, Brown Tide Rising: Metaphors of Latinos in Contemporary
American Public Discourse (Austin: University Texas Press, 2002), 77).
252
    Lee, America for Americans, Kindle Loc. 281 (discussing the contributions of former Harvard
University professor Samuel Huntington to anti-Mexican animus in the late twentieth century and early
aughts).
253
    Lee, America for Americans, Kindle Loc. 280 (citing Patrick Buchanan, The Death of the West: How
Dying Populations and Immigrant Invasions Imperil Our Country and Civilization (New York: St.
Martin’s Press, 2001), 3).
254
    Lee, America for Americans, Kindle Loc. 280 (citing Buchanan, Death of the West, 12; Patrick
Buchanan, State of Emergency: The Third World Invasion and Conquest of America (New York: St.
Martin’s Press, 2006), 12).


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campaigns. 255 In California, local restrictionists, former INS officials such as Harold Ezell, 256

and members of the California Coalition for Immigration Reform (an organization funded by

Tanton’s US Inc.) met in October 1993 to discuss their shared concerns regarding legal and

undocumented immigration. 257 By the end of the meeting, they decided to create the Save our

State Committee (SOS) and sponsor a ballot initiative (Proposition 187) that would prohibit

undocumented immigrants in California from non-emergency medical care, public schools, and

social services. It also required state and local officials to report suspected undocumented

immigrants to the state attorney general and the INS. Elaborating on the committee’s strategy,

one committee member explained, “It made sense to target the most objectionable recipients

first—illegals. Then we could put the issue of too much legal immigration on the table.” 258 Even

though the federal courts issued an injunction against Proposition 187, the resounding support of

California voters for the measure (they approved it by a 59 to 41 margin 259) reflected the vigor of

anti-immigrant sentiment in the state.

        Proposition 187 garnered the attention of local, state, and federal officials. In Arizona,

Texas, and Florida, anti-immigration forces sought to pass similar ballot measures. 260 It also


255
    Tichenor writes, “. . . FAIR and other restrictionist groups set about to build strong grassroots
opposition to immigration in key receiving states like California, Texas, and Florida.” Tichenor, Dividing
Lines, Kindle Loc. 402.
256
    On Ezell, Lee writes that he “famously stated that ‘illegal aliens’ should be caught, skinned and fried”
and that Californians were “tired of watching their state run wild and become a third world country.” Lee,
America for Americans, Kindle Loc. 269 (citing Daniel B. Wood, “Ballot Vote on Illegal Immigrants Set
for Fall in California,” Christian Science Monitor, June 1, 1994, 1, 18).
257
    On CCIR’s stance on undocumented immigration, Coleman writes, “CCIR claimed that immigration
was an ‘invasion” that was destroying the cultural fabric of the nation and that unauthorized immigration
was a crippling problem for the state. CCIR’s literature noted ‘illegal aliens . . . [brought] their values and
culture into our midst, are major contributors to our mounting financial burdens and moral and social
degradation.” Coleman, The Walls Within, Kindle Loc. 121 (citing Dave Lesher and Eric Lichtblau, “O.C.
Group Helps Fuel Anti-Immigrant Furor,” Los Angeles Times, August 30, 1993).
258
    Tichenor, Dividing Lines, Kindle Loc. 403 (citing author’s interview with Harold Ezell and
anonymous interview with SOS staffer).
259
    Coleman, The Walls Within, Kindle Loc. 126.
260
    Coleman, The Walls Within, Kindle Loc. 126.


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fulfilled the wishes of CCIR leaders by becoming a “blueprint” at the federal level for the

passage of anti-immigrant measures. 261 Indeed, Proposition 187 compelled both the Democratic

Party and the GOP to adopt hardline stances on the issue of immigration law enforcement

particularly given the importance of winning California’s electoral votes in the 1996 election. 262

Clinton, who closely watched the progress of Proposition 187 and the re-election of Governor

Pete Wilson, realized he had to “placate restrictionists.” 263 As a result, he remained silent on the

litigation that ensued after the passage of Proposition 187 and reassured California voters he was

working to curtail undocumented immigration. 264 From early in his presidency, Clinton began to

develop an aggressive approach to immigration law enforcement that co-opted the rhetoric and

policies of the right. 265 He “took a hard line on mass asylum,” prohibiting the entry of Cubans

and Haitians intercepted at sea. 266 With the approach of the 1994 midterm elections, Clinton

endorsed the recommendations of the Jordan Commission for aggressive enforcement with

respect to undocumented immigration. 267 During his two terms in office, Clinton would pen


261
    Coleman, The Walls Within, Kindle Loc. 127.
262
    Coleman, The Walls Within, Kindle Loc. 116, 124, 127 (citing Melissa Healy, “House GOP Charts
California Agenda Congress,” Los Angeles Times, November 13, 1994.
263
    Coleman, The Walls Within, Kindle Loc. 116.
         In the early 1990s, Governor Pete Wilson became one of the leading anti-immigrant voices in the
country. As Joseph Nevins writes, “Wilson undoubtedly set the stage for immigrant bashing,” particularly
with respect to undocumented immigration from Mexico. His xenophobic rhetoric and policy proposals
escalated with Clinton’s election and his own race for a second gubernatorial term. Nevins, Operation
Gatekeeper, 85, 87.
         During his 1994 campaign, Wilson pushed Clinton further to the right by placing full page
advertisements in the New York Times, USA Today, and the Washington Times that called on the
administration to end birthright citizenship and deny education and public services to undocumented
immigrants. Wilson’s strategy paid off as Californians voted to return him to the governor’s office.
Nevins, Operation Gatekeeper, 87; Coleman, The Walls Within, Kindle Loc. 115.
264
    Tichenor, Dividing Lines, Kindle Loc. 413.
265
    Nevins, Operation Gatekeeper; Coleman, The Walls Within, Kindle Loc. 127.
266
    As Tichenor observes, this decision broke with a three-decade long precedent by which Cubans were
treated as refugees. Tichenor, Dividing Lines, Kindle Loc. 413.
267
    Established by the Immigration Act of 1990, the Commission on Immigration Reform (CIR) was led
by former representative Barbara Jordan (D-TX) and generated a series of reports on legal and
undocumented immigration. The reports were used by both policymakers on both the left and the right to


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tough immigration enforcement bills and ultimately sign three of the most draconian law

enforcement measures in United States history: the Violent Crime Control and Law Enforcement

Act of 1994, the Antiterrorism and Effective Death Penalty Act of 1996, and the Illegal

Immigration Reform and Immigrant Responsibility Act of 1996.

        Meanwhile, restrictionist forces, led by then House minority leader Newt Gingrich, took

precedence within the GOP. They shunted aside the concerns of other GOP leaders, such as

Governor-elect George W. Bush and William Bennett, regarding the potentially harmful impacts

of Proposition 187; the latter accused Wilson of “scapegoating . . . stirring up nativist juices.” 268

Although Jack Kemp supported the rescission of services to undocumented immigrants, he also

felt that a national version of Proposition 187 could cost the GOP the immigrant vote and land

the party “on the wrong side of the civil rights debates of the 1950s and 1960s.” 269 Despite these

concerns, Gingrich, upon assuming the speakership, created the Speaker’s Task Force on

Immigration Reform in December 1994. In so doing he paid heed to the importance of the recent

developments in California by assigning Rep. Elton Gallegly (R-CA) as chair and ensuring that

almost half of the Task Force’s fifty-four members were from California. 270 The year before,

GOP restrictionists formed the House Republican Research Committee’s Task Force on Illegal

Immigration and held hearings in four US cities. In Los Angeles, much of the testimony

reinforced the themes articulated by Governor Wilson regarding the negative impact of



justify their policy proposals with respect to legal and undocumented immigration. Tichenor, Dividing
Lines, Kindle Loc. 407.
268
    Coleman, The Walls Within, Kindle Loc. 128-129 (citing Andrew Wroe, The Republican Party and
Immigration Politics: From Proposition 187 to George W. Bush (London: Palgrave Macmillan, 2008,
121-22).
269
    Coleman, The Walls Within, Kindle Loc. 129 (citing Marc Sandalow, “Republicans Battle Over
Immigration for ‘Soul of Party,’” San Francisco Chronicle, November 22, 1994, A3).
270
    Coleman explains that Gingrich created task forces to shift power from congressional committee chairs
to the GOP leadership. Gingrich appointed the members of the task forces and his aides served as staff.
Coleman, The Walls Within, Kindle Loc. 128.


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undocumented migrants on the state’s economy, crime rate and social services. Witnesses

demanded stronger border controls, including the assignment of the US military to the border,

and the denial of citizenship to US-born children of undocumented immigrants, among others. 271

        In response to the anti-immigrant fervor of the early 1990s, members of Congress from

both sides of the aisle “began tripping over one another to take a tough stand on boundary

enforcement and unauthorized immigration.” 272 Republicans and Democrats paid multiple visits

to the border and held many congressional hearings on the issues of undocumented immigration,

so-called criminal aliens, and border enforcement to signal their dedication to these issues. 273

The also proposed numerous immigration enforcement bills. Thus, for example, Representatives

Becerra (D-CA) and Nadler (D-NY) introduced bills on summary exclusion (H.R. 3162) and

asylum reform (H.R. 3223). In the Senate, Simpson (R-WY) introduced a summary exclusion

bill (S. 667) while Senator Bryan (D-NV) addressed asylum and alien smuggling in S. 1348.

Meanwhile, California Senators Feinstein (D-CA) and Boxer (D-CA) proposed to increase

resources for border enforcement under S. 1571. 274 In proposing these bills, many followed the



271
    Others protested the Los Angeles hearing by marching outside the event venue and chanting in
Spanish, “We are not illegal here.” Pasadena Mayor Rick Cole attended the meeting and told the Los
Angeles Times, “The issue of immigration is a profound one, and deserves attention and goodwill, but the
demonization of immigrants is inhumane and wrong, particularly if it’s for partisan gain.” Lee Romney,
“Illegal Immigration Targeted at Hearing,” Los Angeles Times, August 17, 1993, A21.
272
    Nevins, Operation Gatekeeper, 89; Coleman, The Walls Within, Kindle Loc. 128.
273
    Among others, see Criminal Aliens: A Federal Responsibility and a State and Local Burden, Eleventh
Report by the Committee on Government Operations, Committee of the Whole House, One Hundred
Third Congress, second session, August 1, 1994; The Impact of Federal Immigration Policy and INS
Activities on Communities, Hearings before the Information, Justice, Transportation, and Agriculture
Subcommittee of the Committee on Government Operations, House of Representatives, One Hundred
Third Congress, First and Second Sessions, June 2, August 31, and March 28, 1994; and Federal Prison
Population: Present and Future Trends, Hearings before the Subcommittee on Intellectual Property and
Judicial Administration of the Committee on the Judiciary, House of Representatives, One Hundred Third
Congress, First Session, May 12 and July 29, 1993.
274
    For an overview of these and other immigration-related bills proposed in 1993, see, Larry M. Eig,
Joyce C. Vialet, Ruth Ellen Wasem, “CRS Issue Brief, Immigration: Illegal Entry and Asylum Issues,”
January 24, 1994 (Washington, D.C.: Library of Congress, 1994). For an account of the rightward shift of


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lead of Clinton who, during a July 27, 1993 press conference, announced his Immigration

Initiative, a series of proposals to strengthen border enforcement. 275 During the event, Clinton

expressed support for an amendment introduced by Rep. Duncan Hunter (R-CA) that would add

600 officers to the Border Patrol. 276 He also transmitted to Congress his own immigration

enforcement bill, the Expedited Exclusion and Alien Smuggling Enhanced Penalties Act of 1993.

Despite criticism from civil rights groups 277 about provisions that would deny due process to

asylum applicants, various features of the administration bill eventually made their way into a

bipartisan bill, H.R. 3363, the Immigration Enforcement and Asylum Reform Act, sponsored by

Representatives Mazzoli (D-KY), McCollum (R-FL), and Schumer (D-NY). 278

       Political scientist Daniel Tichenor observes that in the 1990s, “neither Republican nor

Democratic leaders wanted to appear lax in their response to unpopular illegal immigration.” 279

In this context, members of Congress made no effort to examine or expunge the racial animus

from the laws criminalizing undocumented entry. Indeed, as in the 1950s, 1980s, and the 1990s,

it would have been politically imprudent for both conservatives and liberals to propose such an

examination. Opinion polls attested to Americans’ antipathies toward undocumented immigrants



Democrats on immigration detention in the early 1990s, see Ghosh and Hoopes, “Learning to Detain
Asylum Seekers,” 1007-1013.
275
    In July 1993, Clinton asked Congress for $172.5 million to support the Border Patrol, legislation
increasing criminal penalties for alien smugglers, and a corps of immigration officers who would hear
asylum claims at ports of entry, among other things. Associated Press, “Immigration crackdown unveiled:
Clinton’s plan gets bipartisan support,” Daily Press (Newport News, Virginia), July 28, 1993, 15
276
    Nevins, Operation Gatekeeper, 89.
277
    Associated Press, “Immigration crackdown unveiled” (citing Lucas Guttentag, ACLU who said of the
asylum provisions of the administration bill, It “panders to America’s most primitive fears about
immigration.”).
278
    Message from the President of the United States Transmitting A Draft of Proposed Legislation
Designed to Address the Growing Abuse of Legal Immigration and Political Asylum Systems by Illegal
Aliens Holding Fraudulent Documents and by Alien Smugglers; Including a Section-by Section Analysis,
103rd Cong., 2d sess., July 27, 1993. The administration’s bill was introduced as S. 1333 in the Senate
and H.R. 2836 in the House. See also, Eig, Vialet, Wasem, CRS Issue Brief, 10.
279
    Tichenor, Dividing Lines, Kindle Loc. 413.


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and the passage of Proposition 187 reflected their frustration with federal immigration law

enforcement efforts. 280 By taking an aggressive stance on immigration enforcement, politicians

saw their own poll numbers rise and increased their chances of reelection. For Democrats and

Republicans from border states (including Florida), the issue of undocumented entry and re-entry

was of particular concern; as a result, while McCollum drafted the language of the §1326 re-

enactment, members of both parties paved the road to its incorporation in and passage under the

1994 VCCLEA.



Legislative History

        By 1993, McCollum was the ranking member of both the House Subcommittee on Crime

and the House Subcommittee on International Law, Immigration, and Refugees. As such, he

played an active and prominent role in the debates on the many crime and immigration bills

introduced on the floor of the House and even the Senate. Moreover, McCollum was well

positioned to consolidate his interests on these issues by advancing the amendment of the

nation’s immigration laws via the major crime measures of the late twentieth century. On March

24, 1993, McCollum introduced the Criminal Aliens Deportation Act of 1993 (H.R. 1459, “To

amend the Immigration and Nationality Act to expand the definition of “aggravated felony,” to

eliminate the administrative deportation hearing and review process for aliens convicted of

aggravated felonies who are not permanent residents or for other purposes”). 281 His bill proposed


280
   For a discussion of the polls, see Tichenor, Dividing Lines, Kindle Loc. 405.
281
   Days before presenting this measure, McCollum held a press conference announcing his plan to
reintroduce his summary exclusion bill. In so doing, he role the wave of anti-immigrant sentiment aroused
by a 60 Minutes interview with Dan Stein (FAIR) and William Slattery, the New York INS district
director. During the segment, Stein and Slattery used the asylum application of Sheik Omar Abdel
Rahman, a cleric who incited the 1993 World Trade Center bombers, to impugn the US asylum system as
a whole. Having anticipated the media attention that would follow the CBS interview, FAIR presented a
detailed legislative proposal the very next day. Two days later, McCollum, as Schrag describes it, “was


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to expand the definition of an aggravated felony to widen the net of deportable aliens, expedited

the removal of criminal aliens upon the completion of their sentences, conferred upon US district

court judges the authority to issue deportation orders during sentencing, and restricted various

deportation defenses for certain criminal aliens. H.R. 1459 also modified §1326 to enlarge the

class of individuals subject to criminal prosecution for unauthorized reentry; as McCollum

explained, “Currently, an alien convicted of a felony other than an aggravated felony who re-

enters is subject to 5 years in prison and a criminal fine: this subsection extends the penalties to

aliens convicted of three or more misdemeanors and increases the maximum prison sentence to

10 years. Language is also added to make it clear that any alien who stipulates to deportation

during a criminal trial shall be considered to have been formally deported.” 282 Finally, H.R.

1459 added a section (c), “Collateral Attacks on Underlying Deportation Order,” that served as

the precursor to section (d) of 8 U.S.C. 1326.

        Although H.R. 1459 never became law, its proposed modifications to the criminal

penalties for illegal reentry served as the basis for its re-enactment under the 1994 VCCLEA. As

McCollum himself explained, “Many of the provisions of H.R. 1459 have been incorporated into

other bills, including H.R. 2872, the House Republican Crime bill; H.R. 3320, Mr. Bilbray’s

Immigration Stabilization Act of 1993, Mr. Smith’s Illegal Immigration Control Act of 1994;




ready to legislate.” Schrag, A Well-Founded Fear, 42-44. On McCollum’s 1993 summary exclusion bill,
see Schrag, A Well-Founded Fear, 44, 47-48, 70-71.
        During his press conference, McCollum succumbed to the anti-Muslim sentiment that emerged in
the wake of the bombing and used a racial slur to describe an asylum seeker featured in the Sixty Minutes
interview. He specifically stated, “If you watched the 60 Minutes thing, you watched that Paki fellow
wander off to go get a cab or something. . .This brings us back to the fact that – you’ll remember it was a
Pakistani who has been accused . . ..” Schrag, A Well-Founded Fear, 44 (citing News Conference,
Introduction of a bill on immigration, Federal News Service, March 16, 1993).
282
    139 Cong. Rec. E749 (March 24, 1993).


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and the Senate-passed crime bill.” 283 Sponsored by Senate Judiciary Chair Joe Biden (D-DE),

the Senate crime bill to which McCollum referred originally contained no immigration

enforcement provisions and instead focused exclusively on the issues of crime control and

prevention. 284 Yet, by November 19, 1993, the Senate chose to pass a much tougher crime bill,

substituting Biden’s bill for H.R. 3355, a House crime bill sponsored by congressmen Jack

Brooks (D-TX) and Charles Schumer (D-NY), with substantial amendments. 285 In drafting these

amendments, Biden worked primarily with Orrin Hatch (R-UT), 286 the ranking member of the

Judiciary Committee, although both acknowledged the many contributions of their colleagues.

The amended Senate crime bill (referred to as the Biden-Hatch bill) incorporated new

immigration provisions proposed by Senators Simpson, Bob Smith (R-NH), 287 and Robert Dole

(R-KS) as well as Rep. McCollum. Indeed, McCollum had helped Hatch and Dole draft their

own crime bill, 288 S. 1356, which they introduced on August 3, 1993. 289 Unlike the original




283
    The Smith bill referenced by McCollum was H.R. 3860, introduced by Rep. Lamar Smith (R-TX) on
February 10, 1994. Criminal Aliens: Hearing Before the Subcommittee on International Law,
Immigration, and Refugees of the Committee on the Judiciary House of Representatives, One Hundred
Third Congress, Second Session, H.R. 723, H.R. 1067, H.R. 1279, H.R. 1459, H.R. 1496, H.R. 2041,
H.R. 2438, H.R. 2730, H.R. 2993, H.R. 3302, H.R. 3320 (Title IV), H.R. 3860 (Titles II, V, VI), H.R.
2872, and H. Con. Res. 47, February 23, 1994, 157.
284
    S. 1607, A Bill to Control and Prevent Crime, November 1, 1993.
285
    In its original form, H.R. 3355 contained no immigration provisions. H.R. 3355, To amend the
Omnibus Crime Control and Safe Streets Act of 1968 to allow grants to increase police presence, to
expand and improve cooperative efforts between law enforcement agencies and members of the
community to address crime and disorder problems, and otherwise to enhance public safety, October 26,
1993.
286
    140 Cong. Rec. 30099 (November 18, 1993).
287
    140 Cong. Rec. 30106 (November 18, 1993),
288
    While speaking in support of S. 1356, Senator Connie Mack (R-FL), thanked Bill McCollum, along
with Dole and Hatch, for working on the measure; Mack said, “I am very grateful to all those who have
helped formulate this program, especially Congressman Bill McCollum and my colleagues Senator Hatch
and Senator Dole and I am confident we can pass this amendment with bipartisan support.” 139 Cong.
Rec. 27477 (November 4, 1993).
289
    S. 1356, To restore order, deter crime, and make our neighborhoods and communities safer and more
secure places in which to live and work, August 4, 1993. On the same day, McCollum introduced his own
crime bill, H.R. 2872, To prevent and punish crime, to strengthen the rights of crime victims, to assist


                                                  76
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Biden bill (S. 1607), Title III of Dole-Hatch bill, “Criminal Aliens and Alien Smuggling,”

proposed substantial revisions to the laws regarding deportation, immigrant smuggling, and the

Border Patrol. 290 Section 304 of the bill, “Enhancing Penalties for Failing to Depart, or

Reentering, After Final Order of Deportation,” revised §1326 (b) and added a new section --

§1326 (c), on collateral attacks to underlying deportation orders in terms that were nearly

identical to McCollum’s H.R. 1459.

        On November 19, 1993, the Senate passed the Biden-Hatch bill (S. 1607/H.R. 3355) by a

vote of 95 to 4 and sent the measure to the House. It, however, took almost another year for

House to debate, further amend, and ultimately pass the measure. During the floor debates,

Congress said very little regarding the proposed changes to §1326. Yet, on February 23, 1994,

the House Subcommittee on International Law, Immigration, and Refugees held a hearing to

review the numerous immigration enforcement bills that had been introduced by Republicans

and Democrats to address the so-called criminal alien problem. 291 During the session, the

American Bar Association and the American Immigration Lawyers Association, among others,

expressed their concerns about H.R. 1459, particularly its summary deportation provisions,

expanded definition of aggravated felony, and limits on deportation relief available to long-term

permanent residents. 292 Yet, they offered no substantive analysis or commentary on §1326.

        In its testimony during the February 23 hearing, the INS also expressed its concerns

regarding the new aggravated felony definition and the judicial deportation provisions of




State and local efforts against crime, and for other purposes, August 4, 1993. This bill incorporated the
modifications to §1326 that he first presented in March 1993 under H.R. 1459.
290
    Hatch explained the differences between his bill and Biden’s bill at length. See, 139 Cong. Rec.
27207-212 (November 3, 1993).
291
    In so doing, the Subcommittee acknowledged that debates regarding these measures would continue in
the debates regarding the Senate-passed crime bill. Criminal Aliens, February 23, 1994, 2.
292
    Criminal Aliens, February 23, 1994, 199-219.


                                                   77
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McCollum’s bill. 293 It was also one of the only witnesses that addressed and endorsed the bill’s

amendments to §1326. Speaking for the INS, Deputy Commissioner Chris Sale observed of the

section’s increased penalties, “Such an increase in penalties is necessary and helpful and would

apply only in cases where the underlying offense was criminal in nature or constituted a security-

related ground. These penalties are needed to deter the many aliens who abscond and then

continually attempt illegal reentries into the United States.” With respect to the new section (c),

she wrote, “The amendment would appropriately limit collateral attacks on prior deportation

orders to questions of basic due process. It would deter frivolous challenges during criminal

prosecutions for illegal reentry into the United States. Deportation and exclusion adjudications

provide ample due process protection. Collateral attack in a distant, unrelated criminal

proceeding is unnecessary and inefficient.” 294

       While he did not discuss Section §1326, Senator Harry Reid also sanctioned the provision

insofar as he incorporated it into his own immigration enforcement bill, S. 1351, “To curb

criminal activity by aliens, to defend against acts of international terrorism, to protect American

workers from unfair labor competition, and to relieve pressure on public services by

strengthening border security and stabilizing immigration into the United States.” Introduced on

September 4, 1993, its proposed amendment of §1326 was more stringent than that of

McCollum’s bill. Whereas H.R. 1459 subjected to criminal prosecution those who had

committed three or more misdemeanors, S. 1351 would include those who had committed “two

or more misdemeanors.” Reid’s version of section (c) simply stated “In any criminal proceeding



293
    At the hearing, the INS was represented by Chris Sale, Deputy Commissioner, Immigration and
Naturalization Service. She was accompanied by G. H. Kleinknecht, Associate Commissioner for
Enforcement, and Paul Virtue, Deputy General Counsel, U.S. Department of Justice. Criminal Aliens,
February 23, 1994, 174-183.
294
    Criminal Aliens, February 23, 1994, 178-79.


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under this section, no alien may challenge the validity of the deportation order described in

subsection (a)(1) or subsection (b).”

        In 2006, Reid apologized 295 for introducing S. 1351 and the September 3, 1993 floor

speech defending the bill’s proposal to revoke birthright citizenship for children born to

undocumented immigrants. In the impassioned speech, Reid declared that “no sane country”

would confer birthright citizenship to out-of-status parents. 296 Cognizant of the racism

underlying his proposal, Reid explained in his 2006 apology:

        . . . I want to relate to the Senate that the biggest mistake I ever made, the largest error I
        ever made was 15 or 18 years ago …A group of people came and talked to us and
        convinced us that the thing to do would be to close the borders between Mexico and the
        United States; in effect, stop people from coming across our borders to the United States.
        This period of time for which I am so apologetic — to my family, mostly — lasted about
        a week or two. I introduced legislation. My little wife is 5 feet tall. We have been
        together for soon to be 50 years. As I said here on the floor a few days ago, her father was
        born in Russia. He was run out of Russia. His name was Goldfarb, his family. They were
        Jewish. My wife heard that I had done this. She does not interfere with my legislation.
        Only when I ask her does she get involved in what I am doing. I didn’t ask her about this.
        She, in effect, said: I can’t believe that you have done it. But I had done it. 297

        On August 21, 1994, H.R. 3355 passed in the House and on August 25, 1994, it was

approved by the Senate. During the ten months of debate in the House, the bill underwent several

changes and by August 21, 1994, section (b) qualified the phrase “three or more misdemeanors”

to include “drugs, crimes against the person, or both.” In addition, a House conference

committee decided to drop section (c) regarding limits on collateral attacks. 298 The latter


295
    In 2018, Reid apologized again when former President Trump, in a tweet, cited to Reid’s 1993 speech
and used it as support for his own efforts to end birthright citizenship. Michael Brice-Saddler, “Harry
Reid once said “no sane country” would allow birthright citizenship. He regrets it again,” Washington
Post, October 31, 2018, https://www.washingtonpost.com/politics/2018/10/31/harry-reid-once-said-no-
sane-country-would-allow-birthright-citizenship-he-regrets-it-again/, accessed November 21, 2021.
296
    140 Cong. Rec., S21710 (September 20, 1993).
297
    Jon Ralston, “An immigration push Reid regrets,” Las Vegas Sun, July 21, 2010,
https://m.lasvegassun.com/news/2010/jul/21/immigration-push-reid-regrets/, accessed November 22,
2021.
298
    140 Cong. Rec. S23481 (August 21, 1994).


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alteration as well as many others made with respect to the criminal and immigration provisions

of the bill enraged Senate and House Republicans, including McCollum. 299 They charged that

the bill was “soft” on crime and that its crime prevention programs functioned as forms of

welfare. 300 McCollum himself voted against the bill and immediately began pursuing

amendments to the nation’s criminal and immigration laws, including 8 U.S.C. §1326.

        Upon its signing by President Clinton on September 13, 1994, the VCCLEA became the

largest crime bill passed by Congress, a status it retains to this day. 301 It enabled the hiring of

100,000 new police officers, authorized $9.7 billion for prisons, and $6.1 billion for prevention

programs. It also addressed the so-called criminal alien problem by allocating $1.2 billion for

border control, deportation, asylum reform, and the creation of a criminal alien tracking center. It

also established a $1.8 billion fund to reimburse states for the costs surrounding immigrant

detention. 302 Even though the law contained provisions that aimed to protect communities

through an assault weapons ban and protected women in abusive relationships, the VCCLEA

also created the “three strikes” sentencing rules and authorized the application of the death

penalty to dozens of federal crimes. 303 It also became a “major driver of mass incarceration” of

citizens and immigrants alike. 304 Yet, the unprecedented spending on crime control had little

impact on crime rates and an outsized impact on Black and Latino communities that were




299
    140 Cong. Rec. H23570-23604 (August 21, 1994); 140 Cong. Rec. S23655-656; S23677-678; S23685-
687 (August 22, 1994).
300
    140 Cong. Rec. H7200-201 (August 9, 1994).
301
    Lauren-Brooke Eisen, “The 1994 Crime Bill and Beyond: How Federal Funding Shapes the Criminal
Justice System,” The Brennan Center for Justice, https://www.brennancenter.org/our-work/analysis-
opinion/1994-crime-bill-and-beyond-how-federal-funding-shapes-criminal-justice, accessed November
21, 2021.
302
    U.S. Dep't of Justice, Violent Crime Control and Law Enforcement Act of 1994: Fact Sheet
(1994), https://www.ncjrs.gov/txtfiles/billfs.txt, accessed November 22, 2021.
303
    Eisen, “The 1994 Crime Bill and Beyond.”
304
    Eisen, “The 1994 Crime Bill and Beyond.”


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disproportionately sentenced and imprisoned under the new law. 305 One 2019 study found that

while Blacks and Hispanics represented 31% of the U.S. population, they constituted 53% of

death row inmates. 306

        Despite the scope and scale of the measure, Clinton continued to face criticism from the

right and the left that he was not doing enough to stop undocumented border crossings. On the

same day that he signed the VCCLEA, Democratic gubernatorial candidate Kathleen Brown

called upon the Clinton administration to implement a border enforcement operation in

California similar to Operation Hold-the-Line. Trailing behind Governor Wilson in the polls, she

hoped that the announcement of such a campaign would help improve her election day

chances. 307 In response, Clinton launched Operation Gatekeeper on October 1, 1994. Rather than

pursue immigrants beyond the international boundary (as had been INS strategy since mid-

century), the INS placed hundreds of officers at the line itself as a “visible show of force” to

block undocumented entries. 308 The line strategy, in turn, forced migrants to alter their crossing



305
    Ed Chung, Lea Hunter, and Betsy Pearl, “The 1994 Crime Bill Continues to Undercut Justice
Reform—Here’s How to Stop It,” Center for American Progress, March 26, 2019,
https://americanprogress.org/article/1994-crime-bill-continues-undercut-justice-reform-heres-stop/,
accessed November 21, 2021 (citing John L. Worrall and Tomislav V. Kovandzic, “COPS Grants and
Crime Revisited,” Criminology 45 (1) (2007): 159–190; National Research Council, The Growth of
Incarceration in the United State: Exploring Causes and Consequences (Washington: The National
Academies Press, 2014)).
306
    Ranya Shannon, “3 Ways the 1994 Crime Bill Continues to Hurt Communities of Color,” Center for
American Progress, May 10, 2019, https://americanprogress.org/article/3-ways-1994-crime-bill-
continues-hurt-communities-color/, accessed November 21, 2021.
         The harsh legacies of the VCCLEA led Clinton to acknowledge that the law “overshot the mark.”
Michelle Alexander, “Why Hillary Clinton Doesn’t Deserve the Black Vote,” The Nation, February 10,
2016, https://www.thenation.com/article/archive/hillary-clinton-does-not-deserve-black-peoples-votes/,
accessed November 25, 2021. During his presidential campaign, Biden proposed a crime plan that would
reverse some of the policies created by the 1994 crime law. German Lopez, “Joe Biden’s criminal justice
reform plan, explained,” Vox, August 12, 2020, https://www.vox.com/policy-and-
politics/2019/7/23/20706987/joe-biden-criminal-justice-reform-plan-mass-incarceration-war-on-drugs,
accessed November 25, 2021.
307
    Nevins, Operation Gatekeeper, 92.
308
    Nevins, Operation Gatekeeper, 90.


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routes; rather than crossing at or near urban ports of entry, they attempted dangerous journeys

through the Sonoran Desert. The ensuing increase in migrant deaths transformed the Arizona

borderlands, in the words of anthropologist Jason De Léon, into a “killing field.” 309

        The political landscape had tilted in McCollum’s favor as he began seeking amendments

to the VCCLEA. Two months after its passage, the Republican Party had taken control of

Congress for the first time in 40 years and supplanted Democrats from the chairs of the Senate

and House immigration committees. 310 In the House and the Senate, members of the GOP

worked to draft legislation based on the policy proposals authored by Gingrich in his Contract

with America. 311 While the book said little about border enforcement, Gingrich’s Task Force on

Immigration Reform issued a June 1995 report that supplied the talking points for Republicans’

immigration agenda, particularly with respect to the issue of undocumented immigration. 312 Yet,


309
    Jason De Léon, The Land of Open Graves: Living and Dying on the Migrant Trail (Berkeley:
University of California Press, 2015); Joseph Nevins, Operation Gatekeeper, 145; Ana Minian,
Undocumented Lives: The Untold Story of Mexican Migration, (Cambridge: Harvard University Press,
2018), 231. One humanitarian organization estimated that 3496 migrants had died in the Sonoran Desert
between October 1999 and December 2019. Humane Borders/Fronteras Compasivas, “1999-2019
Recorded Migrant Deaths and Human Borders Water Stations,” https://humaneborders.org/wp-
content/uploads/deathpostercumulative_2019_stewardship_mid_letter.pdf, accessed December 6, 2021.
310
    In the Senate, Senator Alan Simpson (R-WY) replaced Sen. Kennedy as chair; in the House, Rep.
Lamar Smith (R-Tex.) supplanted Rep. Romano Mazzoli (D-KY). Both members of FAIR’s National
Advisory Board, Simpson and Smith “envisioned a fresh round of restrictive immigration reform to limit
legal admissions, to make immigrants ineligible for welfare benefits, and to finally curb illegal
immigration.” Tichenor, Dividing Lines, Kindle Loc. 406.
311
    Ed Gillespie and Bob Schellhas, eds., Contract with America: The Bold Plan by Rep. Newt Gingrich,
Rep. Dick Armey and the House Republicans to Change the Nation (New York: Times Books, 1994).
312
    To remove undocumented immigrants from the United States, the Task Force specifically proposed
dramatic increases in detention space, expedited exclusion at the ports of entry, streamlined deportation
proceedings, federal reimbursement of state and local government expenses for the costs of immigration
detention, and more “resources to prosecute deported felons who illegally re-enter” the country, among
many other proposals. To deter unauthorized entry, it called for increased support for immigration law
enforcement along the US-Mexico border and legislative changes. Such legislation would include
mandatory fines of no less than $50 and no more than $250 for migrants attempting to enter illegally,
asset seizures for undocumented migrants caught re-entering the country twice in one year, mandatory
prosecution and full sentencing of all undocumented immigrants caught re-entering the United States over
two times, and increased penalties for immigrant smuggling. Finally, the Task Force also recommended
the denial of public education and public benefits to undocumented immigrants and an end to birthright
citizenship to children of undocumented immigrants. Congressional Task Force on Immigration Reform,


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McCollum, who now chaired the House Subcommittee on Crime and led the Political Asylum

Working Group of the Task Force on Immigration Reform, didn’t wait for the issuance of the

report to present his new crime and immigration enforcement bills. On January 4, 1995, he

introduced H.R. 3, “Taking Back Our Streets Act of 1995” and, on January 25, H.R. 668, the

“Criminal Alien Deportation Improvements Act of 1995.” While the House Subcommittee on

Crime held hearings on H.R. 3, Congress took no further action on the measure. Despite this, the

bill served as a Republican rejoinder to the VCCLEA; sponsored by 124 Republicans and 5

Democrats, it took a hardline on punishment and would have repealed all of the VCCLEA

subtitles that pertained to crime prevention and community support. 313 Through H.R. 3,

McCollum also aimed to further streamline deportation procedures; as part of this effort, the bill

reintroduced the language from H.R. 1459 that limited collateral attacks on underlying

deportation orders.

       A few weeks after introducing H.R. 3, McCollum presented H.R. 668 because the

VCCLEA, in his words, “not gone far enough.” 314 The new bill replicated nearly all of the

immigration provisions of H.R. 3. 315 Yet, unlike H.R. 3, H.R. 668 received strong bipartisan

support and passed in the House on February 10, 1995 by a 380-20 margin. After passage in the

House, H.R. 668 was incorporated into S. 735, the Antiterrorism and Effective Death Penalty

Act of 1996 (AEDPA). 316 Among other things, H.R. 668 provided additional resources for

immigration law enforcement, added new offenses to the definition of an aggravated felony,



Report to the Speaker, The Honorable Newt Gingrich, June 29, 1995 (Washington, D.C.: The Task Force,
1995), 3-6, Law Library of Congress, Washington, D.C.
313
    Title IX, Amendments to Violent Crime Control and Law Enforcement Act, H.R. 3.
314
    141 Cong. Rec. H1586 (February 10, 1995).
315
    H. Rpt. 104-22, Criminal Alien Deportation Improvements Act of 1995, 9.
316
    Charles Doyle, “Terrorism: Comparison of House and Senate Versions of S. 735 of the 104th
Congress,” March 29, 1996 (Washington, DC: Congressional Research Service, the Library of Congress,
1996).


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eliminated long term residency as a defense to a deportation or exclusion order, expanded

expedited deportation to permanent residents convicted of an aggravated felony, and rendered

certain immigrant smuggling crimes RICO offenses, and authorized wiretap authority for

immigrant smuggling investigations. H.R. 668 also added new clauses to §1326 that limited

collateral attacks on deportation orders.

       During the few congressional debates on §1326, policymakers made clear that the

amended section, like H.R. 668 as a whole, aimed to streamline the deportation process. As Rep.

Lamar Smith (R-TX) explained, “The deportation process can be years in length. H.R. 668 will

streamline the process by eliminating frivolous challenges to deportation orders . . . This bill

addresses the concerns of the American people by giving the INS and prosecutors the tools they

need to expedite the deportation of criminal aliens.” 317 McCollum himself explained that

challenges to the original deportation order could only occur in limited circumstances:

       The penalties for illegal reentering were enhanced by the Violent Crime Control and Law
       Enforcement Act of 1994. This section amends the INA to provide that the alien charged
       with this crime may only challenge the validity of the original deportation order if the
       alien can show that he or she has exhausted all administrative remedies, that the
       deportation order improperly deprived the aliens of the opportunity for judicial review,
       and that the deportation order was fundamentally unfair. 318

In addition to McCollum’s proposed changes to §1326, the House agreed to a last-minute

amendment proposed by Mark Foley (R-FL) and Richard Burr (R-NC). Both first term

congressmen, they quickly established their restrictionist credentials through this proposal as

well as their sponsorship of measures that would have denied birthright citizenship to children of

undocumented immigrants. 319 Responding to the concerns of border states regarding the

perceived lapses in federal immigration law enforcement, Foley and Burr amended H.R. 668 to


317
    141 Cong. Rec. E325 (February 13, 1995).
318
    H. Rpt. 104-22, Criminal Alien Deportation Improvements Act of 1995, 6, 16.
319
    In 1995, Burr co-sponsored H.R. 1363, the Citizenship Reform Act of 1995.


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magnify the civil and criminal penalties for undocumented entry. With respect to §1326, they

created a new section (c) that mandated incarceration for individuals who reentered after being

deported. Their amendment also authorized the deportation of noncitizens convicted of

nonviolent crimes prior to the completion of their sentences and it precluded the early release of

noncitizens convicted of violent crimes. 320 While Foley publicly denied that racism had

anything to do with his views on undocumented immigration, one of his constituents thought

otherwise. In an op-ed, she objected to Foley’s description of undocumented immigrants:

        [Foley] claims that these unwanted illegal immigrants come here “with no intention of
        learning the language, no willingness to obey our laws and no desire to work hard like
        many of our ancestors.” How is it possible for him to know their intentions? Which group
        is he referring to? Is he talking about Cuban refugees who choose to continue using
        Spanish? Or is he talking only about Mexican illegal aliens? Do all legal aliens intend to
        work hard and learn English? Or are the only immigrants that Rep. Foley approves of
        those who already speak English? According to the standards Rep. Foley is putting in
        place, my grandmother – who emigrated from Poland and never learned to read or write
        English – should not have been allowed to come here. 321


        While a few congressmen raised objections to other provisions of HR 668, none

challenged the additions to §1326. 322 Indeed, during the House Judiciary markup of the bill,

McCollum reported that the Department of Justice, speaking for the administration, supported


320
    The amendment also contained language drafted by Burr that explicitly authorized the Attorney
General to deport nonviolent noncitizen offenders prior to the completion of their sentences; this language
was not included in the final bill. 141 Cong. Rec. H1595-96 (February 10, 1995).
321
    Bonnie S. Cohen, “Foley shows only bigotry in ideas on immigration,” The Palm Beach Post, April
22, 1996, A17; U.S. Representative Mark Foley, “Tightening immigration isn’t bigotry,” The Palm Beach
Post, May 2, 1996, A19.
322
    During the House Judiciary markup of the bill, Becerra tried in vain to amend the provisions regarding
the expedited deportation of legal residents. H. Rpt. 104-22, Criminal Alien Deportation Improvements
Act of 1995, 10.
         A few days later, Rep. Jerrold Nadler (D-NY) spoke against the bill’s proposed Prisoner Treaty
Transfer because it would return asylum seekers to persecution. As he stated, “People should be punished
for their crimes, but do we want them to have the death penalty for car theft? That is what this bill would
do. A person convicted of trafficking in stolen cars could be deported and could not even have a court
hear evidence that he would be persecuted or murdered if deported. Is that really what our constituents
want? Send car thieves summarily back to the Nazis? Is that what America stands for?” 141 Cong. Rec.
H1594 (February 10, 1995).


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the limiting of collateral attacks on deportation orders in reentry prosecutions as stipulated by

H.R. 3 and, by extension, H.R. 668. 323 Proposals to add section (b)(3) received further bipartisan

support; indeed, the Clinton administration first drafted the amendment as part of its

antiterrorism bill. Introduced by Biden in the Senate and Schumer in the House on February 10,

1995, S. 390/H.R. 896 amended section 276(b) so that a noncitizen terrorist excluded under

235(c) who attempted an unauthorized entry would be imprisoned for ten years. Thanks to its

provisions regarding the deportation of suspected noncitizen terrorists based on secret

information, the Clinton bill generated a tremendous amount of controversy and opposition. 324

Yet, none objected to its proposal to add the new language to §1326. As a further indicator of the

bipartisan support for §1326(b)(3), it appeared in measures proposed by Republicans and

Democrats, including the following: H.R. 1635 introduced by Richard Gephardt (D-MO) on May

15, 1995; H.R. 1710 and H.R. 2703 introduced by Henry Hyde (R-IL) on May 25, 1995.

        By December 5, 1995, the entirety of H.R. 668 was added to H.R. 1710 or the

“Comprehensive Antiterrorism Act of 1995.” 325 (H.R. 1710, as just noted, also included an

iteration of §1326(b)(3).) Sponsored by Rep. Henry Hyde (R-IL), it was one of many bills

presented in Congress that sought to strengthen national security, crime control, and border

control in response to the April 19, 1995 bombing of the Alfred P. Murrah Federal Building in

Oklahoma City. Yet, by December 19, 1995, the House Republican leadership, in Schumer’s

words, “abruptly yanked” the bill from the floor schedule. 326 In its stead, the House began its



323
    H. Rpt. 104-22, “Criminal Alien Deportation Improvements Act of 1995, 18.
324
    Counterterrorism Legislation: Hearing before the Subcommittee on Terrorism, Technology, and
Government Information of the Committee on the Judiciary, United States Senate, One Hundred Fourth
Congress, First Session on S. 390, A Bill to Improve the Ability of the United States to Respond to the
International Terrorist Threat and S. 735, A Bill to Combat Terrorism, May 4, 1995.
325
    141 Cong. Rec. H13977 (December 5, 1995).
326
    141 Cong. Rec. E2416 (December 19, 1995).


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consideration of H.R. 2703, the Effective Death Penalty and Public Safety Act of 1996. (H.R.

2703 incorporated the additions to §1326 first proposed under H.R. 668 and S. 390/H.R. 896.)

By March 14, 1996, the House tabled H.R. 2703 and passed S. 735, the Antiterrorism and

Effective Death Penalty Act of 1996, after amending it to include the text of H.R. 2703. By mid-

April, S. 735 passed with broad bipartisan support (91-8 in the Senate and 293-133 in the

House). 327 On April 24, 1996, President Clinton signed the measure that became AEDPA.

       During the debates regarding H.R. 668, H.R. 1710, H.R. 2703, and S. 735, Congress

made no effort to review and cleanse the racial animus that informed §1326. As with the

VCCLEA of 1994, both Democrats and Republicans strove to win the votes of anti-immigrant

electorate in anticipation of the 1996 elections. In this context, policymakers were reluctant to

raise questions about the immigration laws that could cost them votes on election day. Instead,

members on both sides of the aisle deployed restrictionist arguments. Thus, during the debates on

H.R. 668, Bob Menendez (D-NJ) and Porter Goss (R-FL) expressed their frustration with federal

immigration law enforcement efforts and argued that the bill’s streamlined deportation

procedures would ease the burden on the states for noncitizen incarceration. 328 Rep. Gerald

Solomon (R-NY), also during debates regarding H.R. 668, reinforced racist stereotypes of

Mexican immigrants and complained about the numbers of children born to undocumented

immigrants in California, Texas, and Florida. 329

       Even more prominently, H.R. 1710, S. 390, and S. 735 triggered much criticism about

how they perpetuated racist stereotypes of Arabs and Muslims. 330 During a Senate Judiciary


327
    https://www.govtrack.us/congress/votes/104-1996/h126, accessed November 29, 2021.
328
    141 Cong. Rec. H1589-90 (February 10, 1995).
329
    141 Cong. Rec. H1586 (February 10, 1995).
330
    Counterterrorism Legislation. On the anti-Muslim sentiment that emerged after the 1993 World Trade
Center bombing and the 1995 bombing of the federal building in Oklahoma City, see Lee, America for
Americans, Kindle Loc. 303.


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Committee hearing on S. 390 and S. 735, Khalil E. Jahshan of the National Association of Arab

Americans (NAAA) reminded the members that many Americans wrongly assumed that Arabs

and Muslims were to blame for the Oklahoma City bombing. “By reinforcing stereotypes and

implying collective guilt,” Jahshan continued, “the rumors induced a backlash against the Arab

and Muslim communities and caused considerable anguish and pain for many Americans of

Arab descent, particularly to our children.” 331 Jahshan and other advocates further argued that

H.R. 1710 and S. 390 did nothing to unseat these racist views; as Mary Moura Ramada of the

American-Arab Anti-Discrimination Committee (AAADC) wrote:

       In section after section of the proposed legislation, we hear echoes from dark moments in
       this nation’s struggle for national civil and political rights. Those grievous periods are
       remembered most painfully by members of many once-persecuted groups or ethnic
       minorities, including Chinese-Americans in the late 1800’s, Japanese Americans interned
       during the Second World War, and victims of McCarthyism in the 1950’s. 332


Jahshan and Moura Ramada went on to offer detailed critiques of the bills, highlighting how they

would prevent the Arab American community from fully enjoying their constitutionally

protected freedoms pertaining to speech, association, and privacy, among others. Both

organizations also opposed the creation of a special immigration court that would have the

authority to deport individuals on the basis of secret evidence as well as illegally collected

evidence. 333 On the latter issue, Moura Ramada cautioned, in the same way that a spurned lover

served as the source of the government’s secret evidence in the famous case of Ellen Knauff,



331
    Counterterrorism Legislation, 56. At least 13 national Jewish organizations and 177 local Jewish
agencies joined the NAAA in its expression of concern about the two bills.
332
    Counterterrorism Legislation, 97.
333
    Counterterrorism Legislation, 56-57, 101-103. On June 13, 1995, the NAAA, AAADC, and the
American Muslim Council testified before the House Judiciary Committee on the racial discriminatory
impacts of H.R. 1710. International Terrorism: Threats and Responses, Hearings Before the Committee
on the Judiciary, House of Representatives, One Hundred Fourth Congress, First Session on H.R. 1710,
Comprehensive Antiterrorism Act of 1995, April 6, June 12 and 13, 1995, 420-427, 440-445, 496-502.


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“”informants” with their own self-serving political agenda will rush at the opportunity to play a

role in ex parte proceedings” against members of the Arab American community. 334

        Three years later McCollum expressed his regrets about the punitive turn in the nation’s

immigration laws. Speaking about the Illegal Immigration Reform and Immigrant Responsibility

Act, he stated, “The 1996 law went too far. We are a just and fair nation and must strike a just

and fair balance in our immigration laws.” On October 1, 1999, he introduced H.R. 2999, “The

Fairness for Permanent Residents Act of 1999,” a measure that would enable permanent

residents convicted of minor crimes to receive a waiver of deportation. It also would provide

relief for permanent residents indefinitely detained and awaiting deportation for crimes

committed in the past. 335 He explained that his measure would “’right’ a wrong that was created

by the 1996 changes to the immigration law.” 336 To illustrate the harsh impacts of the 1996 law,

McCollum recounted the story of Bob, a permanent resident unjustly deported to Scotland with

his family due to a crime he had committee thirteen years prior. Yet, during his presentation,

McCollum neglected to mention that he himself had authored the provisions of the law that

resulted in Bob’s misfortune. 337

        Despite McCollum’s effort to soften his aggressive approach to immigration law

enforcement, he did not go far enough. He was careful to stress that H.R. 2999 did not apply to

foreigners but only permanent residents. He also retracted nothing with respect to his revisions of


334
    Counterterrorism Legislation, 102. In an exclusion case, Ellen Knauff was detained on Ellis Island for
two and a half years based on classified evidence. United States ex. rel. Knauff v. Shaughnessy, 388 U.S.
537 (1950).
335
    H.R. 2999, To permit the Attorney General to grant relief to certain permanent resident aliens of good
moral character who are adversely affected by changes made in 1996 to the definition of aggravated
felony under the Immigration and Nationality Act, and to amend certain provisions of such Act relating to
detention of an alien pending and after a decision on whether the alien is to be removed from the United
States.
336
    145 Cong. Rec. 23794 (October 4, 1999)
337
    145 Cong. Rec. 23794 (October 4, 1999)


                                                   89
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§1326 under the VCCLEA and AEDPA. Perhaps most tellingly, McCollum had sought relief

from the 1996 law for two permanent residents from Global North countries. 338 He made no

mention of permanent residents from the Global South who might benefit from H.R. 2999. Most

importantly, he made no moves to expunge the racism from the 1996 law by acknowledging the

various forms of racial animus that inspired its creation.



Part IV: The Illegal Immigration Reform and Immigrant Responsibility Act of 1996

Historical Background and Legislative History

        FAIR was “elated” by the GOP victory in 1994. It began promoting its immigration

agenda in Congress more aggressively than it had before, as Dan Stein explained, “We expected

to see the tightening up of the whole deportation process, eliminating needless appeals,

presumption in favor of detention, curtailing of asylum, and summary exclusion at the

border.” 339 To this end, it greatly benefited from the contributions of Cordelia A. Strom, Esq.

who was a favorite of Tanton’s and had once worked for Dan Stein as a staff attorney at the

Immigration Reform Law Institute, the nonprofit litigation arm of FAIR. 340 She later served as

one of two senior immigration experts on Senator Simpson’s staff. By 1995, Rep. Lamar Smith

(R-TX) hired her to be the chief counsel to the House immigration subcommittee, which he


338
    In addition to seeking relief for Bob and his family, McCollum tried in vain to obtain a private relief
bill for Robert A. Broley, the son of the Republican Party treasurer in Orange County, Florida. Convicted
on felony and fraud charges in 1993, Broley was deported to Canada in December 1998. Richard H. P.
Sia, “Deportation Law Now Alien to McCollum,” National Journal, October 30, 1999, 3141; 145 Cong.
Rec. E62 (January 6, 1999) (Relief for Robert Anthony Broley).
339
    Schrag, A Well-Founded Fear, 56 (citing Marcus Stern, “U.S. Poised to Reform Immigration,” The
San Diego Union Tribune, November 10, 1994).
340
    As one indicator of her elite status within FAIR and her own views on white supremacy, she regularly
participated in the organization’s WITAN retreats. Journalist Deepa Fernandes describes the retreats as
follows: “After the exposure of the WITAN memos, even the most conservative Republicans tied to
Tanton anti-immigration groups could not deny the organization’s racist intent. Thus, those like Strom,
who chose to continue participating in WITAN retreats, appear unequivocal in their support of these
groups’ racist ideals.” Fernandes, Targeted, 217.


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chaired from 1994 to 2000. 341 With her positive working relationships with the House and

Senate immigration chairs (both of whom had longstanding relationships with FAIR and

currently serve on its National Board of Advisors 342), Strom could greatly influence the

legislation that emerged from both committees. 343 Indeed, policymakers credited Strom with

“ghostwriting” the bill that became the 1996 Illegal Immigration Reform and Immigration

Responsibility Act; former INS commissioner, Doris Meissner was more emphatic about Strom’s

role and declared “she [Strom] directly wrote it.” 344 More broadly, Strom’s work led some

observers to conclude that “Lamar Smith, in effect, turned the congressional immigration

subcommittee over to FAIR.” 345

       While Strom may have written H.R. 2202 (the bill that became IIRIRA), Smith served as

its principal sponsor and introduced the bill on August 4, 1995. In so doing, he aimed to correct

what he perceived to be the missteps of the Immigration and Nationality Act of 1965; it, in

Smith’s words rendered “immigration as a form of ‘civil right’ that is owed to an unspecified

portion of the world’s population without regard to objective criteria of selection based in the

national interest.” 346 The increases in both legal and undocumented entry that followed the

passage of the Act, moreover, supposedly created numerous economic, social, and cultural

crises. As a result, Smith concluded “there exists an inchoate sense among the American people

that our culture is changed by immigration and that the pace of and direction of that change


341
    Jake Bernstein, “Lamar’s Alien Agenda: Why is Mr. Smith Still in Washington?” Texas Observer,
October 25, 2002, https://www.texasobserver.org/1120-lamars-alien-agenda-why-is-mr-smith-still-in-
washington/, accessed December 1, 2021; Schrag, A Well-Founded Fear, 59. See also, Fernandes,
Targeted (citing interview with Doris Meissner, August 25, 2005), 216.
342
    https://www.fairus.org/about-fair/board-directors, accessed December 1, 2021.
343
    Schrag, A Well-Founded Fear, 59.
344
    Fernandes, Targeted (citing interview with Doris Meissner, August 25, 2005), 216, 218.
345
    Fernandes, Targeted (citing interview with Ira Kurzban, Esq., November 2005), 217.
346
    Rep. Lamar Smith and Edward R. Grant, “Immigration Reform: Seeking the Right Reasons,” St.
Mary’s Law Journal, vol. 28, n. 4 (1997): 888.


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ought to be debated more openly.” 347 Through H.R. 2202, Smith not only provoked this debate

but also sought to alter the “pace and direction” of migration to the United States.

        Unlike recent immigration measures, Smith’s bill addressed both legal and

undocumented immigration. 348 With respect to the former, it reduced legal immigration by

eliminating family reunification visas for siblings and adult children, capped humanitarian

admissions at 70,000, and limited access to public benefits. With respect to the latter, it

strengthened border and worksite enforcement, limited the adjudication of asylum claims,

expanded the definition of an aggravated felony, and expedited the deportation of criminal

aliens. On March 19, 1996, the House agreed by voice vote to an amendment authored by Smith,

which added a fourth paragraph to §1326(b). It added a penalty of up to 10 years imprisonment

for individuals convicted of nonviolent offense who had been removed while on parole,

supervised release, or probation, who then reenter. 349

        While the change to §1326 stirred no debate in Congress, the bill was repeatedly

characterized as mean-spirited and racist. During floor debates, Jerrold Nadler (D-NY) criticized

H.R. 2202,

        Let there be no mistake; This Nation has every right and obligation to control our borders
        and to enforce our immigration laws. But absurd boondoggles, like building a giant fence,
        mindless cruelty, like sending legitimate refugees back to be murdered or tortured by
        their oppressors, and good old-fashioned Xenophobia, have nothing to do with legitimate
        protection of our borders. 350




347
    Smith and Grant, “Immigration Reform,” 905.
348
    In this regard, Smith’s bill echoed recommendations made by Stein before the Task Force on Illegal
Immigration to restrict both legal and undocumented immigration. Testimony of Dan Stein, Executive
Director of the Federation for American Immigration Reform before the Task Force on Illegal
Immigration of the House Republican Research Committee, August 30, 1993, box 158, folder 14,
Federation for American Immigration Reform, Special Collections MS2195, George Washington
University.
349
    142 Cong. Rec. H2441 (March 19, 1996).
350
    142 Cong. Rec. H2390 (March 19, 1996).


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As the debates continued, some members similarly attacked the immigration enforcement

provisions of the bill. Becerra opposed an amendment that authorized state and local law

enforcement officials to undertake the work of federal immigration law enforcement and warned

that it might lead to racial profiling. As support for his argument, he referred to a report by the

Commission on Civil Rights that found that local law enforcement officials had a history of

“detain[ing] people because of their foreign-looking appearance or because of their racial or

ethnic appearance.” 351 Taking a broader perspective on the questions raised by Becerra, Rep.

Sheila Jackson Lee (D-TX) asked why local law enforcement needed to be engaged in

immigration law enforcement when the Justice Department, FBI, and local law enforcement

agencies “indicate[d] that over the last couple of years crime has gone down.” 352

       Becerra and others further questioned the disparate treatment of undocumented border

crossers and visa overstays. Thus, in debates with Rep. Tate (R-WA) over his “one-strike”

proposal – an amendment that would forever bar undocumented immigrants from future legal

admission to the United States, Becerra pointed out that least 50% of all undocumented persons

in the United States were visa overstays. He, then, questioned why Tate’s proposal “would do

nothing to those individuals who have come into the country under legal means, yet overstayed

and are now undocumented.” 353 Becerra further argued that Tate’s measure singled out Mexican

migrants:

       Here again we seem to see an amendment that attacks the issue with a very small
       perspective, with blinders, and says only to those who have crossed a border, and
       certainly the focus is on the southern border, and certainly it is in regard to people who
       look like they come from across the southern border, and it says to those individuals,
       “Forever more you will be denied access to this country.” 354


351
    142 Cong. Rec. H2478 (March 20, 1996).
352
    142 Cong. Rec. H2478 (March 20, 1996).
353
    142 Cong. Rec. H2458 (March 19, 1996).
354
    142 Cong. Rec. H2458 (March 19, 1996). See also 142 Cong. Rec. H2487 (March 19, 1996).


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Becerra conceded that undocumented border crossing merited punishment but that the Tate

amendment meted out an excessive penalty for such an infraction. As Rep. John Bryant (D-TX),

emphatically added, “There is no point in putting these folks in the same category that you put an

international terrorist.” 355

        Ultimately, Becerra, Bryant, and Jackson Lee voted against H.R. 2202. Yet, they were in

the minority as 79% of the House voted to pass the bill on March 21, 1996. 356 Republicans and

Democrats who initially opposed the bill because it reduced legal immigration supported it once

those legal immigration provisions had been struck from the measure. As in earlier congresses,

pro-immigration policymakers recognized that they had little “leverage” 357 against the

Republican bill. 358 Thus, by splitting the bill, they hoped to “limit the damage” by blocking

restrictions on legal immigration and some of the restrictions on asylum. 359 Yet, even though

Becerra, Bryant, and Jackson Lee drew attention to the racial animus underlying the immigration

enforcement provisions of the bill, the “criminal alien provisions,” as immigration journalist

Dara Lind observes, “were too popular to stop—not only among Republicans, but among

congressional Democrats and the Clinton White House.” 360 Moreover, the pressure to appear


355
    142 Cong. Rec. H2459 (March 29, 1995).
356
    https://www.govtrack.us/congress/votes/104-1996/h89, accessed December 1, 2021.
357
    Dara Lind, “The disastrous, forgotten 1996 law that created today’s immigration problem,” Vox, April
28, 2016 (citing Charles Kamasaki of the National Council of La Raza),
https://www.vox.com/2016/4/28/11515132/iirira-clinton-immigration, accessed December 2, 2021.
358
    Indeed, prior to the issuance of the final conference report on September 25, 1996, Republicans made
sweeping changes to the bill, in Becerra’s words, “in the back room in the dead of night.” Becerra further
asserted, “procedurally it is disappointing to see, in the greatest democracy in the world, that the
Republicans, the majority in this Congress, saw fit not to allow anyone to participate in the structuring of
this final version of the bill unless one happened to be Republican.” 142 Cong. Rec. 11076 (September
25, 1996). Bernstein explains, “Many of the harsh revisions in the law occurred behind closed doors
during conference committee meetings to reconcile the House and Senate versions of the legislation.
Immigration advocates say that Democrats in Congress didn’t get to see the sweeping changes until four
days before they were supposed to vote on it.” Bernstein, “Lamar’s Alien Agenda.”
359
    Lind, “The disastrous, forgotten 1996 law,” (citing Charles Kamasaki of the National Council of La
Raza).
360
    Lind, The disastrous, forgotten 1996 law.”


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tough on undocumented immigration was particularly acute given that 1996 was an election year.

As a result, the bill also passed in the Senate and was signed by Clinton in late September. 361

        The final version of IIRIRA enhanced immigration law enforcement at the borders,

established a consolidated removal process that applied to immigrant arrivals and noncitizens in

the United States, expanded the offenses (including the definition of “aggravated felony”) that

led to removal, severely limited avenues of relief from removal, instituted expedited removals

for undocumented migrants and asylum seekers apprehended at the border, created a one-year

filing deadline for affirmative asylum applications, expanded mandatory detention to a broader

range of noncitizens as well as asylum seekers, increased the penalties for immigration-related

crimes, and rendered a new set of immigration offenses crimes. IIRIRA also made it more

difficult for previously deported individuals to adjust their status, engaged state and local law

enforcement agencies in the work of federal law enforcement under 287(g), and limited

immigrant access to public benefits.

        IIRIRA, as Smith himself wrote, was “the toughest legislation against illegal immigration

enacted in our lifetimes.” 362 Yet, by 1999, many, including Smith himself, argued that the law

had gone too far. In November, he, along with 28 members of Congress, penned a letter to the

Attorney General and INS urging the use of prosecutorial discretion in the case of legal

permanent residents with citizen children. 363 Earlier that year, organizations such as the National

Immigration Forum, the American Immigration Lawyers’ Association, and the ACLU initiated



361
    Tichenor, Dividing Lines, Kindle Loc. 415.
362
    Smith and Grant, “Immigration Reform,” 913.
363
    Patrisia Macías-Rojas, “Immigration and the War on Crime: Law and Order Politics and the Illegal
Immigration Reform and Immigrant Responsibility Act of 1996,” Journal on Migration and Human
Security, vol. 6, n. 1 (2018), 15 (citing Lamar Smith, “Guideline for Use of Prosecutorial Discretion in
Removal Proceedings,” Letter to Janet Reno, Attorney General and INS Commissioner Doris Meissner,
Interpreter Releases 76: 1730).


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the “Fix ‘96” campaign to amend a broader swath of IIRIRA’s provisions, including mandatory

detention, expedited removal, and retroactive deportation, among others. While Smith opposed

changes to the law itself, Democrats and Republicans proposed five bills, including McCollum’s

H.R. 2999, that would amend the 1996 law. 364

       Since 1999, immigration advocates, legal experts, investigative journalists, and scholars

have continued to challenge the legacies of IIRIRA. Their investigations have found that the law

failed to achieve its principal goal of reducing undocumented immigration. Indeed, as Lind

reports, IIRIRA itself facilitated the growth of the undocumented population from 5 million in

1997 to 12 million in 2006; its aggressive border enforcement provisions led many to settle in the

United States while its barriers to legalization prevented them from adjusting their status. 365

Nevertheless, the federal government continues to expend vast resources in the detention,

deportation, and prosecution of undocumented immigrants. Since IIRIRA, the detention system

has expanded from 9000 beds to more than 38,000. 366 Deportation, according to Lind, “went

from a rare phenomenon to a relatively common one.” 367 And, between 1996 and 2013,

immigration prosecutions, primarily under §1325 and §1326, increased by a factor of ten. 368 As a

result of IIRIRA and Operation Streamline, immigration prosecutions “monopolized the




364
    Eric Lipton (New York Times), “Tough deportation laws questioned,” Pittsburgh Post-Gazette,
December 22, 1999, A19.
365
    Lind, “The disastrous, forgotten 1996 law” (citing to studies conducted by Douglas Massey and Karen
Pren of Princeton University).
366
    Donald Kerwin, “From IIRIRA to Trump: Connecting the Dots to the Current US Immigration Policy
Crisis,” Journal of Migration and Human Security, vol. 6, n. 3 (2018): 197.
367
    Lind, “The disastrous, forgotten 1996 law.”
368
    Kerwin, “From IIRIRA to Trump,” 198 (citing TRAC (Transactional Records Access Clearinghouse),
“Criminal Immigration Prosecutions Down 14% in FY 2017,” http://trac.syr.edu/tracreports/crim/494/).


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resources of magistrate courts, federal prosecutors, and public defenders . . . with the predictable

effect of limiting prosecutions for more serious offenses.” 369

        Even more fundamentally, numerous social scientific studies have undermined the

assumptions that drove the passage of IIRIRA, AEDPA, the VCCLEA, and the ADAA, among

others. For decades, social scientists have found no evidence to support the claim that

immigrants are more likely to commit crime than the native born. 370 In a widely cited 2007

study, Rubén Rumbaut and Walter A. Ewing find that “contemporary and historical data,

including investigations carried out by major government commissions over the past century,

have shown repeatedly and systematically that immigration is actually associated with lower

crime rates.” 371 When it comes to incarceration rates, in 2019, Alex Nowrasteh of the Cato

Institute wrote, “All immigrants have a lower incarceration rate and there are lower crime rates

in the neighborhoods where they live, according to the near-unanimous findings of the peer-

reviewed evidence.” 372 Since forty-nine states do not compile immigration status data on

convicted and incarcerated persons, it has been difficult for experts to draw conclusions about



369
    Kerwin, “From IIRIRA to Trump,” 198 (citing Joanna Lydgate, “Assembly-Line Justice: A Review of
Operation Streamline,” January, The Chief Justice Earl Warrant Institute on Race, Ethnicity and
Diversity, University of California, Berkeley Law School,
https://www.law.berkeley.edu/files/Operation_Streamline_Policy_Brief.pdf).
370
    See, for example, Anna Flagg, “Is There a Connection Between Undocumented Immigrants and
Crime?” The Marshall Project, May 13, 2019, https://www.themarshallproject.org/2019/05/13/is-there-a-
connection-between-undocumented-immigrants-and-crime, accessed December 5, 2021; Alex Nowrasteh,
“Illegal Immigrants and Crime – Assessing the Evidence,” Cato Institute, March 4, 2019,
https://www.cato.org/blog/illegal-immigrants-crime-assessing-evidence, accessed December 5, 2019;
Robert J. Sampson, “Open Doors Don’t Invite Criminals,” New York Times, March 11, 2006, A15;
Matthew T. Lee, Ramiro Martinez, Richard Rosenfeld, “Does Immigration Increase Homicide? Negative
Evidence from Three Border Cities,” The Sociological Quarterly, vol. 42, n. 4 (2001): 559-580; Kristen
F. Butcher and Anne Morrison Piehl, “Recent Immigrants: Unexpected Implications for Crime and
Incarceration,” ILR Review, vol. 51, n. 4 (July 1998): 654-679.
371
    Rubén Rumbaut and Walter A. Ewing, “The Myth of Immigrant Criminality,” Social Science Research
Council, May 23, 2007, https://items.ssrc.org/border-battles/the-myth-of-immigrant-criminality/, accessed
December 5, 2021. See also, Nowrasteh, “Illegal immigrants and Crime.”
372
    Nowrasteh, “Illegal immigrants and Crime.”


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the relationships between undocumented immigrants and crime. But, in a 2017 study, Nowrasteh

and Michelangelo Landgrave estimated that undocumented immigrant incarceration rates were

approximately half those of native-born Americans. 373 Multiple studies have also examined the

conviction and incarceration data from Texas, the only state to record the immigration status of

its inmates. 374 These have repeatedly found that undocumented immigrants have “substantially

lower rates of crime compared to both native US citizens and legal immigrants.” 375 The authors

of the most recent Texas study further conclude, “these findings clearly run counter to some of

the basic assumptions behind strict immigration enforcement strategies.” 376



Conclusion

       Even though Helena Torrez, the President of the Hispanic Chamber of Commerce in

Merced, California wanted the federal government to assist states and localities with the issues

related to legal and undocumented immigration, she was troubled by the tone of the congressmen

who had solicited her testimony on this subject. As she explained to Chairman Gary Condit (D-

CA), who led the 1993 and 1994 hearings on federal immigration policy,

       I would like to ask that, if you take one thing back with you, please take back the fact that
       referring to an immigrant as a criminal or an alien or any other referral to a resident

373
    Michelangelo Landgrave and Alex Nowrasteh, “Criminal Immigrants in 2017: Their Numbers,
Demographics, and Countries of Origins,” March 4, 2019,
https://www.cato.org/publications/immigration-resgearch-policy-brief/criminal-immigrants-2017-their-
numbers-demographics, accessed December5, 2021; Flagg, “Is There a Connection Between
Undocumented Immigrants and Crime?”
374
    Alex Nowrasteh, “Criminal Immigrants in Texas: Illegal Immigrant Conviction and Arrest Rates for
Homicide, Sex Crimes, Larceny, and Other Crimes,” Cato Institute, February 26, 2018,
https://www.cato.org/publications/immigration-research-policy-brief/criminal-immigrants-texas-illegal-
immigrant, accessed December 5, 2021.
375
    Michael T. Light, Jingying He, and Jason P. Robey, “Comparing crime rates between undocumented
immigrants, legal immigrants, and native-born US citizens in Texas, Proceedings of the National
Academy of Sciences of the United States of America, vol. 117, n. 51 (December 22, 2020),
https://www.pnas.org/content/117/51/32340, accessed December 5, 2021.
376
    Light, He, and Robey, “Comparing crime rates between undocumented immigrants, legal immigrants,
and native-born US citizens in Texas.”


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           coming from another country is disturbing. That word, I don’t know where it came from;
           I am sure I could research back. But it is very disturbing. And, if anything, please cross it
           out of your policies, procedures, whatever may be occurring. 377

 Torrez understood that references to immigrants as “alien,” “criminal,” or “criminal aliens” were

 derogatory, insulting, and racist. Her comments underscored the fact that such terms were by no

 means objective or merely legal terms of art. Instead, she recognized that they had a history. As

 this affidavit has shown, the very notion of the “criminal alien” emerged in response to some of

 the most virulent strains of racism in the twentieth century. One cannot separate the history of

 this term, the history of the criminalization of undocumented immigration, and the history of 8

 U.S.C. §1326 from the histories of racism and xenophobia in the United States. From 1929 to

 1996, several varieties racial animus, particularly anti-Hispanic and anti-Black racism, informed

 the development of §1326 and the nation’s immigration laws.

           In the early twentieth century, anti-Mexican animus informed the passage of the 1929

 Undesirable Aliens Act and its 1952 revision. Racist conceptions of Mexican immigrants as

 exploitable and deportable farm workers led to the passage of laws that facilitated the labor

 management needs of southwestern agribusiness. In times of prosperity, agricultural labor

 programs, such as the Bracero Program, welcomed Mexicans to the United States; in moments of

 economic crisis, however, laws such as the Undesirable Aliens Act and Sections 275 and 276 of

 Public Law 414 could be used to deter prospective arrivals. In short, the 1929 and 1952 criminal

 penalties for undocumented re-entry reinforced the precarious status of Mexican workers in the

 US and reflected the racist notion that Mexican migrants were unfit for citizenship.

           The subsequent amendments to 8 U.S.C. §1326 failed to extinguish the racial animus of

 the 1929 and 1952 laws. Instead, they reproduced the anti-Mexican sentiments that first inspired



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       The Impact of Federal Immigration Policy and INS Activities on Communities, 134.


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 the criminalization of undocumented immigration. In the early 1990s, anti-Mexican animus

 clearly informed McCollum’s immigration policy agenda as he repeatedly lobbied for measures

 that would deny undocumented Mexican migrants a pathway to legal status and US citizenship,

 penalize Mexican nationals for unauthorized entry and re-entry, limit the access of ethnic

 Mexicans to Spanish-language resources in schools and at the ballot box, and strip Mexican

 Americans of birthright citizenship as guaranteed by the Constitution.

        McCollum not only bolstered the racial animus underlying the 1929 and 1952 laws, he,

 along with Chiles and Graham, drew upon other varieties of racial animus in drafting the 1988,

 1990, 1994, and 1996 iterations of §1326. The legislative history reveals that anti-Black racism

 led Chiles, Graham, and McCollum to use the immigration laws to prevent Mariel Cuban and

 Haitian refugees from becoming members of their South Florida communities. The three

 lawmakers drew upon racist stereotypes to characterize these refugees as lawbreakers, criminals,

 and public health threats and, in turn, rationalize their exclusion and expulsion from the polity.

 On other occasions, they relied upon the race-neutral vocabulary of population control, English-

 only campaigns, and the War on Drugs to make the same point—that Cubans and Haitians were

 not welcome in Florida. They also collaborated with or received the endorsement of FAIR, a hate

 group that articulated virulently anti-Latin American sentiments and argued that the nation’s very

 existence hinged on the exclusion of Haitian and other Global South refugees.

        Over the course of two decades, Chiles, Graham, and McCollum worked to transform US

 immigration and asylum law to deter the arrival of Black refugees on Florida’s shores. Each

 attempted to retrench the few humanitarian protections available to refugees and asylum seekers

 under US immigration law; Chiles, for instance, tried to expand INS enforcement capacities,

 reduce refugee admissions, and check detained asylum seekers’ right to habeas corpus. In an




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 even more aggressive attack on asylum, McCollum proposed legislation that would activate the

 military during so-called immigration emergencies, authorize indefinite detention, deny TPS

 protections, render HIV a justification for exclusion, and create a summary exclusion procedure

 for suspect asylum claims and a thirty-day deadline for the filing of affirmative asylum

 applications.

           The Florida congressmen routinely characterized the Mariel Cubans and Haitians as

 undocumented immigrants and criminals rather than asylum seekers. As such, each recognized

 the importance of the criminal penalties against undocumented entry and re-entry as additional

 deterrents to the arrival of these refugees. At the same time, racial stereotypes of the Haitian

 refugees as drug traffickers led Chiles and Graham to enhance the deterrent effect of these laws

 by increasing the criminal penalties for undocumented re-entrants with previous felony and

 aggravated felony convictions. In the process, Chiles and Graham played a key role in

 transforming the immigration statute so that its provisions might be deployed in crime campaigns

 such as the War on Drugs. Building on the work of Chiles and Graham, McCollum further

 increased the penalties for undocumented re-entry for those migrants with felony and aggravated

 felony convictions.

           By the early 1990s, the nativist campaign to criminalize undocumented immigration

 achieved one of its greatest victories in the passage of IIRIRA. Drafted by a former FAIR staffer

 and sponsored by Rep. Lamar Smith, a member of FAIR’s National Board of Advisors, it aimed

 to cure what Smith referred to as the “excesses of multiculturalism.” 378 It would do so by

 curtailing undesirable immigration to the United States and expanding the civil and criminal

 penalties for undocumented entry and re-entry, particularly vis-à-vis Mexican nationals. During



 378
       Smith and Grant, “Immigration Reform,” 906.


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 floor debates, the bill was regularly criticized as racist and cruel. To this day, journalists, legal

 experts, and scholars continue to compile data and publish much research on the racially

 discriminatory impacts of the law’s enforcement provisions. Meanwhile, cognizant of the racial

 animus underlying §1325 and §1326, lawmakers, in 2019 and 2021, authored bills that would

 repeal these provisions of the immigration code. 379

         The historical record reveals that the racial animus informing the 1929 law and its

 subsequent re-enactments was not limited to the laws’ sponsors. The passage of the reenactments

 rested upon the complicitly of both liberal and conservative lawmakers who co-opted racist and

 restrictionist talking points to improve their election day chances. At other times, pro-

 immigration lawmakers conceded that structural factors—such as the power wielded by Senate

 Judiciary Chair McCarran and House Speaker Gingrich or Republican majorities in the 1994

 House and Senate—led them to compromise their own values and vote for patently racist

 measures. In other words, these factors – the ballot box and the congressional balance of power –

 frequently led lawmakers to conclude that any attempt to examine and cleanse the racial animus

 from the nation’s immigration laws would be futile and even antithetical to their own survival in

 Congress.

         The legislative history of the Undesirable Aliens Act reveals that various forms of racial

 animus motivated the creation of the original act and its subsequent revisions. These revisions,

 moreover, not only failed to acknowledge and expunge the racial animus of the 1929 Act, they

 also propagated it. In sum, the racial animus that has infected the Undesirable Aliens Act and its

 revisions is profound.




 379
    H.R. 5383, A New Way Forward Act (December 10, 2019); H.R. 536, A New Way Forward Act
 (January 28, 2021).


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